     Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 1 of 183. PageID #: 15603




                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

REBECCA BUDDENBERG,                         )     Case No. 1:18-cv-00522
                                            )
        Plaintiff,                          )     Judge J. Philip Calabrese
                                            )
v.                                          )     Magistrate Judge
                                            )     Jennifer Dowdell Armstrong
ESTATE OF ROBERT K.                         )
WEISDACK, et al.,                           )
                                            )
         Defendants.                        )
                                            )

                               OPINION AND ORDER

        This case involves a fairly routine employment dispute between Plaintiff

Rebecca Buddenberg and her former employer, Defendant Geauga County Health

District, and its former Commissioner, the late Robert Weisdack. Describing as

routine any public-sector wrongful termination claim implicating the First

Amendment and allegations of retaliation for whistleblowing might not be fair. To

the extent it is, this action started out as such a case. Its litigation has been anything

but. After two interlocutory appeals, the parties engaged in contentious scorched-

earth discovery that required intensive supervision and involvement by the Court,

culminating in competing allegations of spoliation and misconduct and a motion for

sanctions. Even that high-level summary does not do justice to the level of resources

the parties dedicated to litigation of what should have been a fairly straightforward

case.
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 2 of 183. PageID #: 15604




      Ruling on the parties’ competing motions for summary judgment presents the

primary task before the Court. Additional evidentiary issues complicate what the

Supreme Court characterizes under the best of circumstances as the difficult job of

balancing a public employee’s free speech rights and a public employer’s interest in

efficient operations, Garcetti v. Ceballos, 547 U.S. 410, 418 (2006); Connick v. Myers,

461 U.S. 138, 150 (1983), which will never be easy “unless one side of the scale is

relatively insubstantial,” United States v. National Treasury Emps. Union, 513 U.S.

454, 482 (1995) (O’Connor, J., concurring). This is not an easy case. Neither side of

the scale is insubstantial. On the one hand, Ms. Buddenberg brought matters of

public concern about her boss, a public official, to the District’s governing body. On

the other hand, she strategically pursued these issues, and the District has an

interest in efficiently managing its operations and providing governmental services

to the public.

      To resolve the difficult issues bound up with these questions, the parties

compiled a massive record, particularly relative to the size of the case. And that

record applies not just to the primary claims of retaliation that have driven this

litigation but to the numerous claims and defenses under federal and State law that

the parties litigate. Beyond the inherently difficult questions on the merits, this case

presents additional challenges. There are several threshold questions regarding

certain evidentiary matters and other objections to the record on summary judgment.

These issues implicate, among other things, the testimony of three prominent lawyers

tendered as expert witnesses in this case. Then, the parties make competing requests



                                           2
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 3 of 183. PageID #: 15605




to reopen discovery on the basis of the crime-fraud exception to the attorney-client

privilege and for sanctions based on alleged spoliation of evidence. In this omnibus

ruling, the Court addresses all these pending matters.

                              STATEMENT OF FACTS

      Plaintiff and Defendants filed cross-motions for summary judgment. In this

procedural posture, the Court construes the facts in Defendants’ favor in ruling on

Plaintiff’s motion for summary judgment, and in Plaintiff’s favor in ruling on

Defendants’ motions for summary judgment. Where the record presents material

disputes or competing versions of the facts, the Court so notes. With that, the record

on summary judgment consists of over 425 pages of briefs and more than 10,500 pages

of evidentiary materials. It establishes the following facts.

      A.     The Geauga County Health District

      Ohio law divides the State into health districts made up of the political

subdivisions with certain geographical areas. See Ohio Rev. Code §§ 3709.01 &

3709.051. The Geauga County Health District is a public health district organized

under Ohio law located in Geauga County, Ohio, approximately 30 miles east of

Cleveland. (See ECF No. 31, ¶ 7, PageID #365.) It serves over 95,000 residents and

has as many as thirty employees. (ECF No. 206-1, PageID #9558.) The District is

responsible for “protecting and promoting the health of the residents of Geauga

County through programs and activities designed to address safety, health, and

general well-being.” (ECF No. 195-36, PageID # 5278; ECF No. 195-14, PageID

#5007.) Additionally, it maintains “wells, plumbing, sewage, and septic tanks.” (ECF

No. 195-36, PageID # 5278.)
                                           3
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 4 of 183. PageID #: 15606




       A board of health consisting of five members governs a health district. Ohio

Rev. Code § 3709.02(A). The board of health appoints a commissioner who operates

as the “executive officer of the board” and “enforce[s] all sanitary laws and regulations

in the district.” Id., § 3709.11.

       On February 2, 2015, Plaintiff Rebecca Buddenberg began work as the Fiscal

Coordinator for Defendant Geauga County Health District. (ECF No. 203-1, PageID

#8477.) Defendant Robert Weisdack, the District’s Health Commissioner at the time,

hired Ms. Buddenberg. (ECF No. 180-1, PageID #1978.) For most of the time she

worked for the District, Dan Mix was Ms. Buddenberg’s direct supervisor. (ECF

No. 203-1, PageID #8482–83; ECF No. 180-1, PageID #1981, #1985–86.) Mix served

as the fiscal officer for the District, worked closely with Mr. Weisdack and, along with

Mr. Weisdack, reported to the volunteer Board of Health. (ECF No. 180-1, PageID

#1987.)

              A.1.   Ms. Buddenberg’s Work at the District

       Ms. Buddenberg’s official job description included duties like managing the

District’s accounts payable, handling payroll, preparing fiscal reports for the Board,

and maintaining personnel records. (ECF No. 194-38; ECF No. 180-1, PageID# 1980.)

But her daily duties differed from her job description. (ECF No. 204-1, PageID

#8847–54.) For example, she never met with the Health District Advisory Council or

registered birth and death records.      (ECF No. 204-1, PageID #8846 & #8848.)

Mr. Weisdack testified that Ms. Buddenberg’s “ordinary or ad hoc” job duties did not

include reporting to the Board possible ethics violations, perceived violations of

contracts or policies, or gender equity issues. (ECF No. 180-1 Page ID #1988.) Indeed,
                                           4
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 5 of 183. PageID #: 15607




her formal job description does not include reporting ethical issues to the Board.

(ECF No. 194-38, PageID #4830–34.)            Moreover, Plaintiff maintains that

Ms. Buddenberg was not a policymaker for the District (ECF No. 221, PageID

#12036)—a fact Defendants do not dispute (ECF No. 258, PageID #14684).

      Ms. Buddenberg received generally favorable performance reviews.           (See

generally ECF No. 194-39; ECF No. 195-36, PageID #5279.) Four months after she

started with the District, Mr. Weisdack conducted her first performance evaluation

and made positive comments. (ECF No. 194-39, PageID #4835–37.) An area needing

improvement was that Ms. Buddenberg should “not be so aggressive on policy issues.”

(Id., PageID #4836; ECF No. 180-1, PageID #1991.) In April 2016, Mr. Weisdack gave

Ms. Buddenberg another positive performance review.        (ECF No. 180-1, PageID

#1995–96.) After this review, Ms. Buddenberg received a raise in excess of the

average for other employees that year. (Id., PageID #1997–98.)

             A.2.   Mr. Weisdack’s Alleged Mismanagement

      At the center of Plaintiff’s claims lie three areas of alleged mismanagement on

the part of Mr. Weisdack: (1) a failure to correct a gender-pay gap; (2) an unapproved

personal labor contract; and (3) his general unprofessional and domineering

management style. At his deposition, Mr. Weisdack agreed that these issues present

matters of public concern. (ECF No. 180-1, PageID #2038.) These issues arose

against the backdrop of the end of Mr. Weisdack’s contract with the District in

November 2016, at which time he was expected to retire. (ECF No. 203-1, PageID

#8547–48.)



                                          5
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 6 of 183. PageID #: 15608




                   A.2.a. Gender Pay Disparity

      By June 2016, Ms. Buddenberg learned that a female District employee was

paid less than a male employee in the same position although the woman had better

credentials and experience. (ECF No. 203-1, PageID #8526–28.) After the employee

was hired, sometime between 2015 and October 24, 2016, Mix and the female

employee’s supervisor, Mike Tusick, complained to Mr. Weisdack about the unequal

pay between the two employees. (ECF No. 180-1, PageID #2089–90.) Mr. Weisdack

agreed that their concerns were reasonable (id., PageID #2090) and that he did not

handle the situation as well or as quickly as he should have (id., PageID #2133–34).

      Sometime in June 2016, the female employee and Tusick came to

Ms. Buddenberg with their concerns about the pay disparity.        (ECF No. 203-1,

PageID #8527–29.) Ms. Buddenberg raised this issue with Mr. Weisdack, Mix, and

Tusick.   (ECF No. 203-1, PageID #8535.)        When confronted with the issue,

Mr. Weisdack said, “We are going to look at it” and that he “wasn’t a lawyer.” (ECF

No. 180-1, PageID #2095 & #2100.) Also, he told Ms. Buddenberg that she was not a

lawyer either. (Id.) Mr. Weisdack did not address the pay disparity with the Board

until a compliance review several months later, in December 2016. (ECF No. 180-1,

PageID# 2095.)    Eventually, the District corrected the disparity but only after

Ms. Buddenberg raised the issue with the Board. (ECF No. 180-1, PageID #2073–74;

ECF No. 197-42, PageID #6784.)

                   A.2.b. Unapproved Tire Contract

      In the fall of 2016, Mr. Weisdack performed tire removal services for the

District without an approved contract. (ECF No. 180-1, PageID #2010–15.) By way

                                         6
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 7 of 183. PageID #: 15609




of background, the District received a grant of approximately $23,000 from the Ohio

Environmental Protection Agency for tire removal. (Id., PageID #2010–11.) Without

a competitive bidding process, Mr. Weisdack and two other employees of the District

performed the work themselves, removing some 2,000 tires, without a contract from

the State. (Id., PageID #2013–15.) Mr. Weisdack personally paid the two employees

$500 each and compensated himself as well.         (Id., PageID #2014–15 & #2017.)

Because the three men performed the work before approval of a contract,

Mr. Weisdack claimed that they served as volunteers.            (Id., PageID #2013.)

Nonetheless, all three men expected to be paid for their work.           (Id., PageID

#2047–48.)   Even so, Mr. Weisdack knew that he was not permitted to benefit

personally from a contract that he oversaw. (Id., PageID #2031.)

      Mr. Weisdack’s conduct concerned Ms. Buddenberg, because as the fiscal

coordinator, she had to seek outside approval to process certain payments when

Mr. Weisdack was paid for his services. (ECF No. 203-1, PageID #8504–05.) Without

an approved contract and other required paperwork, it would have been difficult for

her to deliver payment to Mr. Weisdack. (ECF No. 203-1, PageID #8566–67.)

                    A.2.c. Management Style and Commissioner Contract

      Ms. Buddenberg testified that Mr. Weisdack treated staff in degrading and

demoralizing ways throughout her tenure with the District. (ECF No. 203-1, PageID

#8595–96.) She said that he yelled, threatened, intimidated, and ignored staff. (Id.;

id., PageID #8501–02; ECF No. 194-26, PageID #4749.) At one point, Mr. Weisdack

hung a pacifier on his office door with a sign that read “for those who disagree.” (ECF

No. 180-1, PageID #2154.)      Defendant Alta Wendell, Mr. Weisdack’s assistant,
                                          7
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 8 of 183. PageID #: 15610




described Mr. Weisdack as having a “volatile temper.” (ECF No. 190-1, PageID

#4298.)

      At the end of 2016, Mr. Weisdack’s contract was due to expire, and he

contemplated retiring. (ECF No. 203-1, PageID #8547–48.) Alternatively, he might

have retired and been immediately rehired into the same role—a generally lawful, if

unseemly, practice under Ohio law.            (ECF No. 180-1, PageID #1975–76.)

Ms. Buddenberg was interested in Mr. Weisdack’s removal or retirement—she

described him as the “main barrier” to the District’s functionality. (ECF 208-2,

PageID #10432.)     Also, Ms. Buddenberg expressed her personal antipathy for

Mr. Weisdack to Mix for months. For example, she described Mr. Weisdack in private

texts to Mix as “scum,” “evil,” and a “truly horrible human.” (ECF No. 208-2, Page

ID #10444, #10445, #10448, #10451, #10475, #10502 & #10505.) She testified that

she meant that she disliked the way Mr. Weisdack was treating her and his behavior.

(ECF No. 205-1, PageID #9118.)

      At the same time, she “wanted to work in an environment that was ethical and

protected the citizens. . . . Whether or not it was him as the commissioner or not, it

was irrelevant.”    (ECF No. 203-1, PageID #8550–51.)         She “wanted a work

environment where [she] could be proud to attach [her] name to, where [she] knew

that taxpayer dollars were being used appropriately.”      (Id., PageID #8699.)    To

another employee, Ms. Buddenberg discussed how “lovely” it would be if

Mr. Weisdack left his position at the District.    (ECF No. 205-5, PageID #9371.)




                                          8
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 9 of 183. PageID #: 15611




Mr. Weisdack knew that Ms. Buddenberg and Mix wanted him gone. (ECF No. 215-1,

PageID #11804.)

      B.     Board Meeting (October 24, 2016)

      Another central component of Plaintiff’s allegations in this case involves

Ms. Buddenberg’s report to the Geauga County Board of Health in an executive

session of a special meeting held on October 24, 2016 at which she presented her

grievances about Mr. Weisdack.        (See ECF No. 186-1, PageID #3268–70.)

Mr. Weisdack was scheduled to meet with the Board at that meeting to discuss his

employment contract. (ECF No. 203-1, PageID #8547–48.)

      Ms. Buddenberg requested the opportunity to speak to the Board to raise

concerns about the District’s leadership. (ECF No. 186-1, PageID #3268–70; ECF

No. 188-1, PageID #3679; ECF No. 203-1, PageID #8542–43.)               According to

Ms. Buddenberg, Board member David Gragg, a Defendant in this case, asked her to

attend the meeting. (ECF No. 203-1, Page ID #8543–45.) Whether requested to speak

or affirmatively approaching the Board on her own initiative, Ms. Buddenberg had

not previously spoken directly to the Board. (ECF No. 188-1, PageID #3680–81.)

             B.1.   Ms. Buddenberg’s Report to the Board

      At the Board meeting, Ms. Buddenberg expressed concern about the tire

contract, specifically that Mr. Weisdack was benefitting from a public contract, which

might present a conflict of interest. (ECF No. 203-1, PageID #8483, #8508, #8521–22

& #8541.)   After discussing the tire contract, the Board asked Ms. Buddenberg

whether she had any other concerns to raise.          (Id., PageID #8541.)      Then,

Ms. Buddenberg presented the issue regarding the gender pay that she had learned

                                          9
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 10 of 183. PageID #: 15612




about and raised with Mr. Weisdack several months earlier. (Id., PageID #8538.)

She “wanted to address the Board regarding [her] concerns and the liability that the

Health District might have in regards to an unequal pay.” (Id., PageID #8537–38.)

Although she first learned about the pay disparity five months earlier, she did not

immediately go to the Board because she felt like her supervisors should have

addressed it. (Id., PageID #8535.) Once prompted at the meeting, she thought it was

an appropriate time to discuss the issue. (Id., PageID #8541–42.)

      Additionally, Ms. Buddenberg presented several other complaints about

Mr. Weisdack that she broadly categorized as “operational concerns.” (ECF No. 31,

PageID #370–71; ECF No. 194-26, PageID #4747–50.) These concerns included,

among other things, that: (1) Mr. Weisdack ignored her request to install GPS units

in agency vehicles to ensure that field staff were doing their jobs (ECF No. 179-1,

PageID #1596); (2) Mr. Weisdack refused to use the District’s progressive discipline

policy with employees (ECF No. 189-1, PageID #4011–12) or to enforce the District’s

policies for attendance, paid breaks, and background checks (ECF No. 179-1, PageID

1598–1600); and (3) Mr. Weisdack accepted gifts from contractors with whom the

District did business (ECF No. 189-1, PageID #4009).

      This meeting marked the first time Ms. Buddenberg reported perceived ethical

violations to the Board. (ECF No. 188-1, PageID #3680–91.) In deciding whether to

bring Mr. Weisdack’s alleged mismanagement to the Board, Ms. Buddenberg stated

she had “nothing to lose . . . someone must be held accountable.” (ECF No. 208-2,

PageID #10433.)



                                        10
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 11 of 183. PageID #: 15613




      On November 10, 2016, one Board member asked Ms. Buddenberg to

summarize the issues she raised in a letter. (ECF No. 194-26, PageID #4744.) In

response, the letter Ms. Buddenberg drafted spans five pages and provides additional

detail regarding the issues involving District policies and procedures on which she

presented. (Id., PageID #4745–50.) It also identified issues of workplace morale and

staff wellbeing. (Id., PageID #4748.)

             B.2.   Motivation and Immediate Reaction

      After the meeting, Ms. Buddenberg told Mix that she hoped Mr. Weisdack

would leave his job.      (ECF No. 208-3, PageID #10533.)        Ms. Buddenberg also

suggested that she and Mix “build a proposal to present to [the] [B]oard” and “show

them some ideas on how we can function without [Mr. Weisdack].” (ECF No. 208-4,

PageID #10537.)     Ms. Buddenberg said that the District “will be fine without

[Mr. Weisdack] but the [B]oard does not know it until we show them.”               (ECF

No. 208-4, PageID #10537.) Referring to Mr. Weisdack’s contract nearing an end,

Ms. Buddenberg told another District employee: “Timing on these tires was perfect!”

(ECF No. 205-5, PageID #9366.) Still, Ms. Buddenberg told that employee that if the

Board decided to rehire Mr. Weisdack, he would accept and continue on in the

position. (Id., PageID #9368.) Such a possibility gave her doubts about such a

storybook ending. (Id.)

      Ms. Buddenberg repeatedly described her decision to go to the Board as “just

doing [her] job.” (ECF No. 205-5, PageID #9366.) For example, she texted a co-worker

that her actions were “[n]ot vindictive . . . just doing my job.” (Id.) In a draft ethics

complaint, she wrote, “I was mandated to report his actions by law . . . [b]y neglecting
                                           11
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 12 of 183. PageID #: 15614




to do so I would have placed myself subject to disciplinary proceedings.”        (ECF

No. 215-1, Page ID #11806.) In her letter responding to the Board’s request to put

the issues she raised in the executive session in writing, Ms. Buddenberg wrote that

she “felt it necessary to address the board” after “[w]eeks of attempting to do my job

and ensure we remained in compliance” with the policies governing the tire contract.

(Id., PageID #11814.) Later, she wrote to another Board member, “I came forward

and addressed the board because I was required to.” (ECF No. 195-35, PageID

#5275.)

      In contrast, during her deposition, Ms. Buddenberg emphasized that she felt a

moral and ethical obligation to report Mr. Weisdack’s conduct to the Board. (See, e.g.,

ECF No. 203-1, Page ID #8538–42.)

      C.     Retaliation

      When Ms. Buddenberg appeared at the special Board meeting on October 24,

2016, Mr. Weisdack saw her walk into the meeting with one of the Board members—

an usual event. (ECF No. 181-1, PageID #2233–34.) At that point, Mr. Weisdack

knew that Ms. Buddenberg expressed concern about the gender pay gap issue, and

he believed that she brought some concern about him to the Board. (Id., PageID

#2236 & #2238–39.)

      In speaking to the Board, Ms. Buddenberg expressed concern about potential

retaliation. (ECF No. 186-1, PageID #3297.) In response, the Board said that it

“would investigate the allegations and determine what was going on in the

department.” (Id., PageID #3329.) Also, it told Ms. Buddenberg that the Board

members “appreciated her honesty” and her willingness “to come to us in a private
                                          12
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 13 of 183. PageID #: 15615




meeting to discuss workplace issues and her interactions with the Health

Commissioner and that she should not feel threatened.” (ECF No. 188-1, PageID

#3710.) Although the Board told Ms. Buddenberg not to worry about retaliation, one

Board member testified that it made no promises to her in that regard. (Id., PageID

#3712.)    Another testified that the Board gave assurances that members would

protect her. (ECF No. 189-1, PageID #4021.)

       After Ms. Buddenberg’s appearance before the Board, she experienced what

she perceived to be retaliation from Mr. Weisdack and other employees. Within the

lengthy record, Plaintiff principally points to the following instances of retaliation.

              C.1.   Change in Work Hours

       Two days after the Board meeting, on October 26, 2016, Mr. Weisdack directed

Mix to change Ms. Buddenberg’s working hours. (ECF No. 194-47, PageID #4870.)

Previously, she worked from 7:00 am to 3:30 pm to accommodate care for a grandson

who had cancer. (Id.; ECF No. 179-1, PageID #1661; ECF No. 181-1, PageID #2271.)

Mr. Weisdack changed her hours to 8:00 am to 4:30 pm. (ECF No. 194-47, PageID

#4870.) He knew that this change affected care for Ms. Buddenberg’s grandchild.

(ECF No. 181-1, PageID #2271.) Also, it affected her ability to complete college course

credits.   (ECF No. 189-1, PageID #4030.)          Mr. Weisdack did not explain to

Ms. Buddenberg why her schedule changed. (Id., PageID #2264.) But she knew—

before her reports to the Board—that her schedule could change at any time. (ECF

No. 181-1, PageID #2271.)

       As additional evidence of retaliation based on the change in her work hours,

Plaintiff points to an email (ECF No. 194-6, PageID #4611), which is the subject of
                                           13
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 14 of 183. PageID #: 15616




some controversy between the parties. The email was sent on Sunday, October 30,

2016, and it appears that Mr. Weisdack sent it to another employee of the District,

Darla Andrews. (Id.) In the email, Mr. Weisdack says: “there has been a lot of BS

going on in the office and I think you know who is stirring it up. So, I said everyone

must start at 8:00 and I can explain when I see you face to face. This needs to remain

between you and [me]. . . . Do not mention anything to anyone until you and I talk.”

(Id.)

        At his deposition, Mr. Weisdack disputed the authenticity of this email,

testifying, “I’m certain I didn’t write it.” (ECF No. 181-1, PageID #2278.) Defendants

did not produce this email in discovery. (ECF No. 221, PageID #12045.) Instead,

Andrews provided it. (ECF No. 194-6, ¶ 15, PageID #4608.) Defendants maintain

that they “could stipulate that the email came off [the District’s] server” but they do

not concede that Mr. Weisdack wrote it. (ECF No. 195-49, PageID #5445.) For

purposes of summary judgment only, the Court assumes that a trier of fact would

determine that Mr. Weisdack wrote and sent the message, then deleted it from his

sent items folder to prevent it from saving to the server.

        In any event, Mr. Weisdack testified that he changed Ms. Buddenberg’s work

hours to simplify the procurement process for supplies because Ms. Buddenberg was

not able to get purchase orders done.          (ECF No. 181-1, PageID #2265–69.)

Notwithstanding the change to Ms. Buddenberg’s schedule, two other District

employees continued to have flexible working hours. (ECF No. 181-1, PageID #2269.)

This change to her schedule motivated Ms. Buddenberg to push harder for



                                          14
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 15 of 183. PageID #: 15617




Mr. Weisdack’s retirement, as she texted a colleague: “He is dumber than I thought.

I was neutral before . . . now I am pissed. He messed with the wrong girl!” (ECF

No. 205-5, PageID #9366 (ellipsis in original).)

             C.2.   Work Environment

      Within a day or two of her report to the Board, Mr. Weisdack was particularly

upset with Ms. Buddenberg and told his assistant as much (ECF No. 190-1, PageID

#4278–79, #4293–94 & #4313–14; ECF No. 191-1, PageID #4434), but Mr. Weisdack

denied that he did so (ECF No. 181-1, PageID #2240–42). His assistant testified that

Mr. Weisdack spoke negatively about Ms. Buddenberg to others and that the entire

staff within the Department knew how he felt. (ECF No. 190-1, PageID #4356–58.)

Ms. Buddenberg testified that she experienced retaliation: her work environment

was “very hostile” and “impact[ed] every minute of [her] life,” and she was “very

uncomfortable” in her job. (ECF No. 203-1, PageID #8599–8600.)

      Mix provided a declaration attesting that, after Ms. Buddenberg’s report to the

Board, Mr. Weisdack’s “behavior was so intimidating that there were times Rebecca

and I communicated about whether it was safe for her to be at the office. On some

occasions, I steered him out of the building when he was angry.” (ECF No. 194-5,

¶ 27, PageID #4594.) At the same time, Ms. Buddenberg texted a colleague, “You

missed good days! lol Bob is angry and won’t look at or talk to me. . . . Retaliation!”

(ECF No. 205-5, PageID #9365.)

      Further, she identified an “immediate change in the interactions” at work, and

Mr. Weisdack and others limited communication and “refus[ed] to converse” with her

to the point that she did not receive information needed to perform “elements of her
                                          15
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 16 of 183. PageID #: 15618




job.”   (Id., PageID #8634–35 & #8636–40.)       At her deposition, Ms. Buddenberg

identified delayed responses from Mr. Weisdack’s assistant and two other employees

as examples of the retaliation she experienced. (ECF No. 203-1, PageID #8640–42.)

        Plaintiff argues that Mr. Weisdack’s assistant stopped responding to inquiries

from Ms. Buddenberg. (ECF No. 221, PageID #12045.) But the record does not go

that far. (See ECF No. 190-1, PageID #4296.) More accurately, Mr. Weisdack’s

assistant did what she could to stay in his “good graces.” (Id., PageID #4296–97; ECF

No. 204-1, PageID #8926.) In light of Mr. Weisdack’s “volatile temper,” a finder of

fact would be justified in finding that his assistant tried to appease him by not talking

to Ms. Buddenberg. (ECF No. 190-1, PageID #4298.)

        D.    Ms. Buddenberg’s Follow-Up Reports to the Board

        In response to the conduct at work, Ms. Buddenberg reported Mr. Weisdack’s

retaliation against her to the Board. For example, on October 31, 2016, she emailed

all four Board members to report retaliation. (ECF No. 195-28, PageID #5258.) In

this email, Ms. Buddenberg reported the change in her working hours, which she

described as “a minor event.” (Id.) Also, she noted that Mr. Weisdack “is angry at”

her, “has avoided all contact with” her, and made his anger known to her co-workers.

(Id.) At this time, she texted Mix: “I hope he goes, I love this place.” (ECF No. 208-

3, PageID 10533.)

        On November 4, 2016, Ms. Buddenberg emailed Board member Christina

Livers, a Defendant in this case, concerning Mr. Weisdack’s continued employment

as Commissioner. (ECF No. 195-29, PageID #5260.) This email came a day after a

staff meeting at the District during which Mr. Weisdack announced his intention not
                                           16
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 17 of 183. PageID #: 15619




to leave his position and instead to work another two years. (Id.) Ms. Buddenberg

sought to confirm the accuracy of this development because, if true, “I will need to

begin seeking other employment.”          (Id.)   Ms. Buddenberg reported that

Mr. Weisdack’s response to her report to the Board “has created a toxic work

environment.” (Id.)

      On the morning of Saturday, November 5, 2016, Ms. Buddenberg emailed Mix,

suggesting a more active approach to bring about a change in the District’s

leadership. (ECF No. 208-4, PageID #10537.) Specifically, she proposed building a

case to present to the Board to “show them some ideas on how we can function without

[Mr. Weisdack so] they may feel more confident.” (Id.) “We know we will be fine

without [Mr. Weisdack] but the board doesn’t know it until we show them.” (Id.)

      Later that afternoon, Ms. Buddenberg spoke with Ms. Livers over the phone.

(ECF No. 197-3, PageID #6050; ECF No. 203-1, PageID #8617.) Ms. Buddenberg told

Ms. Livers about the retaliation she was experiencing, specifically the change to her

schedule, Mr. Weisdack’s failure to communicate with her, and his anger toward her

that Mr. Weisdack made known to staff within the Department. (ECF No. 203-1,

PageID #8617–18.)

      Ms. Buddenberg emailed Ms. Livers again on Sunday, November 13, 2016.

(ECF No. 194-26, PageID #4744.) After complaining that Mr. Weisdack changed the

procedure for requesting leave to require his personal approval, she raised concern

about her work environment and retaliation. (Id.) Specifically, she wrote:

      Staff approached me Thursday after learning from their supervisors
      there will be interviews in the near future by a third party. Many stated

                                         17
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 18 of 183. PageID #: 15620




      they are not willing to speak because the retaliation that will occur.
      Everyone is convinced [Mr. Weisdack] is staying two more years. There
      is great confusion and frustration expressed by staff. They see how he
      is acting towards me, looking for any reason to cause me difficulty and
      do not want that for themselves.

(Id.) Ms. Buddenberg attached a summary of her report to the Board on October 24.

(Id., PageID #4745–49 & #4750–55.) She concluded that report by saying, “Steps

need to be in place to protect public money.” (Id., PageID #4749.) At her deposition,

Ms. Buddenberg testified that this sentence reflects her “primary concern as a

taxpayer, as someone who lives in Geauga County, that our funds were utilized in the

way that they should be.” (ECF No. 203-1, PageID #8576.) She thought that, by

making the Board aware of the issues she raised, it would “hold leadership

accountable and . . . be ethical.” (Id., PageID #8598–99.)

      E.     Outside Investigation

      At a special meeting held on November 9, 2016, the Board engaged attorney

Jeffrey Embleton of the law firm Mansour Gavin to conduct a compliance audit and

review of the District. (ECF No. 195-1, PageID #4876.)

             E.1    Staff Meeting

      At a subsequent special staff meeting, the President of the Board explained

that, although Mr. Weisdack was retiring at the end of the month, the Board was

considering extending his contract for two years and had engaged Embleton to

investigate the District under Mr. Weisdack’s leadership. (ECF No. 195-2, PageID

#4878.) Through its President, the Board asked each staff member at the District to

respect the process, speak openly and honestly with Embleton, and cooperate with

the investigation. (Id.)

                                          18
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 19 of 183. PageID #: 15621




        Ms. Buddenberg met with Timothy Goergen, the President of the Board, and

Catherine Whitright, another Board member—both Defendants in this case—that

same day after the staff meeting. (ECF No. 186-1, PageID #3353–54.) Mix also

attended this meeting. (Id., PageID #3354.) Ms. Buddenberg was visibly upset, cried,

and expressed concern that Mr. Weisdack remained on the job. (Id.; see also ECF

No. 189-1, PageID #4090; ECF No. 206-1, PageID #9562–63.) During that meeting,

at least some complaints of Mr. Weisdack’s mistreatment of Ms. Buddenberg were

aired. (ECF No. 206-1, PageID #9563.)

              E.2.   Subsequent Board Actions

        The next day, on November 16, 2016, Mr. Goergen met with Mr. Weisdack to

tell him about the compliance audit. (ECF No. 181-1, PageID #2326–27.) After that,

the relationship between Mr. Weisdack and Mix was never the same. (ECF No. 181-1,

PageID #2342–43; see also ECF No. 206-1, PageID #9564.) Previously, the two men

were close friends, and Mr. Weisdack wanted Mix to succeed him at the District.

(ECF No. 181-1, PageID #2283–85.) But Mr. Weisdack thought Mix was trying to

protect Ms. Buddenberg. (ECF No. 181-1, PageID #2347.) Also, he knew that Mix

was “trying to force [him] out.” (ECF No. 215-1, PageID #11804.) Mr. Weisdack

summarized the situation in an email:

        He and our financial office have said I have been bad to the staff. I have
        to retire by the end of November due to [changes in Ohio retirement
        plans] and the Board want to rehire me back but Dan and this woman
        see this as a opportunity to stop the Board from rehiring me. This is a
        mess and Dan thinks he is entitled to be the [Health Commissioner]. I
        think the Board sees through this little game but that remains to be seen.

(Id.)


                                           19
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 20 of 183. PageID #: 15622




      On November 17, 2016, Mr. Weisdack directed Mix to edit the job description

for the Health Commissioner to add qualifications that made Mix ineligible for the

position.   (ECF No. 181-1, PageID #2331; ECF No. 186-1, PageID #3450; ECF

No. 189-1, PageID #4096.) In a special meeting that day, the Board approved the

revised job description. (ECF No. 195-30, PageID #5263.) When Ms. Buddenberg

heard the news, she texted a colleague: “I despise that man. I am disgusted and

devastated.” (ECF No. 205-5, PageID #9375.)

      On November 18, 2016, Ms. Buddenberg drafted an ethics complaint. (ECF

No. 215-1, PageID #11805–08.)      In that draft, Ms. Buddenberg wrote:        “I was

mandated to report [Mr. Weisdack’s] actions by law, Ohio Ethics Policy and our

Geauga County Board of Health Personnel Policy.” (Id., PageID #11806.) Failure to

report would have subjected her “to disciplinary proceedings up to termination.” (Id.)

She described her “sole purpose” in going to the Board as seeking “to reduce and

hopefully, avoid a greater risk to the agency based on what should be perceived as his

neglect of duties.” (Id.) Doing what she saw as “fulfilling the obligations of [her]

position and reporting wrong doing” resulted in retaliation and a hostile work

environment. (Id.) Ms. Buddenberg complained that the Board knew all of this,

disregarded it, and allowed Mr. Weisdack’s actions and retaliation to continue. (Id.)

      At the end of the month, on November 29, in a special meeting, the Board

unanimously voted to extend Mr. Weisdack’s contract for four months, with an option

to extend it for another two years. (ECF No. 195-31, PageID #5270.)




                                         20
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 21 of 183. PageID #: 15623




              E.3.   Additional Reports from Ms. Buddenberg

        The next day, on November 30, 2016, Ms. Buddenberg emailed Embleton to

request estimates for budgeting purposes. (ECF No. 195-32, PageID #5271.) At the

end of her email, Ms. Buddenberg commented on the Board’s action extending

Mr. Weisdack’s contract:

        I just learned the board has placed back in authority the individual who
        has betrayed residents [sic] trust, who has mismanaged this department
        and has verbally attacked my character, making my workplace very
        uncomfortable. He has verbalized a desire to terminate my employment
        so I imagine I will not be here much longer. I appreciate your efforts. It
        is obvious by the lack of communication and protection of employees that
        the board is as negligent as Mr. Weisdack.

(Id.)

        On December 14, 2016, Ms. Buddenberg responded to Ms. Livers in an email

discussion about ethics policies. (ECF No. 193-33, PageID #5272.) She took the

opportunity again to raise concern about retaliation: “I do find it ironic that the ideas

and concerns I had identified and were substantiated resulted in my work

environment becoming even more hostile.             Perhaps I should have followed

Mr. Weisdack’s directive to keep my mouth shut.” (Id.)

        On December 15, 2016, Ms. Buddenberg emailed Embleton again, raising

complaints about Mr. Weisdack’s continuing behavior creating a hostile work

environment. (ECF No. 195-34, PageID #5273–74.) Ms. Buddenberg reported that

Mr. Weisdack told other employees that she was “part of setting him up” to sabotage

him and that she was “the cause of the problems currently taking place at [the

District].” (Id., PageID #5273.) Regarding the tire contract and the gender pay

disparity, Ms. Buddenberg advised that Mr. Weisdack told colleagues and affected

                                           21
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 22 of 183. PageID #: 15624




individuals false information. (Id.) Because of Mr. Weisdack’s position and authority,

Ms. Buddenberg found his words “very impactful and damaging” (id.) and wrote that

Mr. Weisdack “has turned the performance of my job responsibilities into an attack

on my credibility and my character” (id., PageID #5274.) Also, she advised that

she viewed the Board as supporting Mr. Weisdack and complicit in his “attacks

on my character and intentions” that negatively affected her employment. (Id.)

      She explained that her purpose in speaking to the Board was to (1) ensure that

the District complied with the law and the Ohio Code of Ethics, and (2) avoid legal

action against the District based on unfair wage discrimination. (Id., Page ID #5274.)

She requested that Embleton instruct Mr. Weisdack “to stop all slanderous

communication.” (Id., PageID #5273.) She threatened to make a public request

for all of Mr. Weisdack’s communications regarding her and the relevant

circumstances since her report to the Board on October 24, 2016. (Id.)

      Embleton responded that any claims of retaliation or hostile work environment

fell outside the scope of his engagement.        (ECF No. 197-8, PageID #6060.)

Accordingly, he forwarded Ms. Buddenberg’s email to the Board President and the

assistant county prosecutor in her capacity as counsel for the Board. (Id.) At least

one Board member recognized that Ms. Buddenberg believed these allegations and

that, if true, they were serious. (ECF No. 188-1, PageID #3786–87.) Another agreed

that Ms. Buddenberg acted reasonably in bringing her concerns and claims to the

Board. (ECF No. 189-1, PageID #4067–68.)




                                         22
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 23 of 183. PageID #: 15625




              E.4.   The Conclusion of the Outside Investigation

       By mid-January 2017, Embleton corresponded with Ms. Buddenberg on behalf

of the Board, advising her that he had presented the findings from his investigation

to the Board. (ECF No. 196-47, PageID #5995.) Further, he stated that the Board

was taking action to address many of the issues she had raised at the Board meeting

on October 24, 2016. (Id.) Although Embleton’s letter did not mention retaliation

expressly, and by addressing the concerns Ms. Buddenberg presented to the Board

on October 24, 2016 appears not to extend to her claims of retaliation, one Board

member specifically testified that the Board took steps to ensure that Mr. Weisdack

changed his behavior and did not retaliate. (ECF No. 189-1, PageID #4064.)

       Around the same time, Ms. Buddenberg reached out to former employees to

learn additional information and seek help. (ECF No. 205-8, PageID #9504.) In

connection with this effort, Ms. Buddenberg told a former employee that she was

waiting on the final report from the Board and recommendations from the

investigation. (Id., PageID #9505.) But she said, “If he stays I will take legal action.

If he goes I will see if it improves.” (Id.)

       On January 24, 2017, Ms. Buddenberg emailed Ms. Livers “in complete

frustration” by being left “in limbo for months, waiting patiently for something to

improve.” (ECF No. 195-35, PageID #5275.) She said that she made her report to

the Board in the first place “because I was required to” and had exhausted “every

effort to resolve my concerns with the Health Commissioner to no avail.” (Id.) As a

result, “I have been punished for my sincere effort to fulfill my job responsibilities. I

have been the victim of a personal attack by Mr. Weisdack. I have had my credibility
                                               23
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 24 of 183. PageID #: 15626




undermined, impacting my ability to perform essential job functions” and causing

“sleepless nights.” (Id.) She criticized the Board for making “no visible effort to

counteract Mr. Weisdack’s negative actions towards me.” (Id.) It appears that a

recent Board action triggered the email. Specifically, minutes of a Board meeting

held on January 10, 2017 referenced a deadline for a financial report about which

Ms. Buddenberg did not know. (Id.) Her email included a plea: “Please protect

myself and others from the retaliation Mr. Weisdack is eager to dole out.” (Id.,

PageID #5276.) In doing so, she expressed “grave concern for my future ability to

remain employed” with the District. (Id., PageID #5275.)

      Mr. Weisdack testified that no Board member raised any issue or concern

about retaliation with him. (ECF No. 181-1, PageID #2330 & #2369–70.) One Board

member corroborated this testimony (see ECF No. 188-1, PageID #3713), even as he

conceded that the Board had an obligation to stop any retaliation (id., PageID #3787).

But at least one Board member disputes Mr. Weisdack’s testimony on this point,

recalling that the Board sought and received assurances from Mr. Weisdack that he

was not retaliating against Ms. Buddenberg. (ECF No. 189-1, PageID #4053–57.)

But the Board accepted Mr. Weisdack’s representations about retaliation without

further investigation. (Id., PageID #4058–59.) And this particular Board member

did not ask to hear directly from Ms. Buddenberg about her experience of retaliation.

(Id., PageID #4136–37.)

      F.     The End of Ms. Buddenberg’s Employment at the District

      In January 2017, the Board retained attorney James Budzik as outside counsel

in connection with civil service matters relating to the appointment, retention, and
                                         24
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 25 of 183. PageID #: 15627




discipline of public employees. (ECF No. 183-1, PageID #2701.) Like Embleton,

Mr. Budzik practices at the Mansour Gavin firm, and he represents public sector

employers in contract negotiations, grievances, arbitration, and civil service matters.

(Id., PageID #2697 & #2699.)

      The record contains some disagreement about the scope of Mr. Budzik’s

representation. One Board member, its President, testified that Mr. Budzik’s role

included investigating whether Ms. Buddenberg experienced retaliation.           (ECF

No. 186-1, PageID #3393.) He described Mr. Budzik’s role as acting as a “chaperone”

given “the sensitivity and history” of Ms. Buddenberg’s allegations. (Id., PageID

#3384.)

      But Mr. Budzik testified that investigating the allegations of retaliation that

Ms. Buddenberg made fell outside the scope of his representation and that of his firm.

(Id., PageID #2702–03.)     Because the District did not produce an agreement

specifically relating to Mr. Budzik’s engagement, Plaintiff contests whether

Mr. Budzik provided legal services at all. (ECF No. 252-2, PageID #14549; ECF

No. 259, PageID #14710.)     Whatever the case, his responsibilities included civil

service issues involving Mix and Ms. Buddenberg.           (ECF No. 183-1, PageID

#2729–30.)

             F.1.   Mix’s Separation from Employment

      Effective February 1, 2017, Mix resigned. (ECF No. 194-16, PageID #4664.)

Mix resigned after receiving a notice of disciplinary action “recommending and

proposing” his termination for numerous stated reasons. (ECF No. 194-37, PageID

#4819–22.) Mr. Weisdack and the Board’s President provided Mr. Budzik with the
                                          25
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 26 of 183. PageID #: 15628




information contained in the notice, and Mr. Budzik wrote it. (ECF No. 180-1, PageID

#2168; ECF No. 181-1, PageID # 2374–75.) Among the reasons listed for the District’s

action, the first involved Mix’s conduct during an investigation unrelated to the

events at issue in this lawsuit. (ECF No. 206-8, PageID #9786–89.) Specifically, the

notice explained that Mix disclosed confidential information about an ongoing

criminal investigation of certain employees. (Id.)

      Some grounds for Mix’s separation directly or indirectly relate to

Ms. Buddenberg. For example, the compliance review uncovered that Mix had a key

without authorization to an office containing personnel files.   (ECF No. 194-37,

PageID #4821.) His personnel file and that of Ms. Buddenberg were missing and

located in her office, even though she was not their custodian and did not have

authorization to have these files. (Id.) Additionally, the notice references Mix’s

failure to discipline Ms. Buddenberg (though not mentioned by name) over obtaining

cloth chairs for use in the lunchroom that might harbor contamination contrary to

District policy. (Id., PageID #4820–21; ECF No. 181-1, PageID #2386; ECF No. 206-

1, PageID #9681–82.)

             F.2.   Ms. Buddenberg’s Reaction to Mix’s Termination

      After learning of Mix’s resignation, Ms. Buddenberg emailed Ms. Livers on

February 1, 2017, with a copy to Embleton, stating, “Dan’s dismissal was directly a

result of my reporting and his defending me for reporting.” (ECF No. 194-29, PageID

#4759.) She based this belief on rumors about a termination letter addressed to Mix

reportedly left open on a District laptop that she never saw. (ECF No. 203-1, PageID

#8660–62.) Also, Ms. Buddenberg wanted to ensure the Board knew that she was
                                         26
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 27 of 183. PageID #: 15629




“doing [her] job” when she initially reported Mr. Weisdack’s conduct.             (ECF

No. 194-29, PageID #4759.) She reiterated that her report to the Board led to “great

hostility.” (Id.) With Mr. Weisdack still serving as commissioner, Ms. Buddenberg

advised that he “will be permitted to continue his harassment” and the “primary

factor of dysfunction continues.” (Id.)

      Following     Mix’s   resignation,   Ms.   Buddenberg     reported   directly   to

Mr. Weisdack. (ECF No. 179-1, PageID #1705.)

             F.3.   EEOC Charge

      On February 15, 2017, Ms. Buddenberg filled out an EEOC intake

questionnaire to start the process of filing a charge of discrimination. (ECF

No. 203-10, PageID #8789–94.) In it, she stated that retaliation occurred days after

her October 24, 2016 report to the Board. (ECF No. 203-10, PageID #8791.) She

reported that Mix offered no reason for the change to her scheduled working hours

but told her “to be cautious as Mr. Weisdack was out to hurt [her] for reporting.” (Id.)

She added that Mix was “forced to resign [and] threatened with termination.” (ECF

No. 203-10, PageID #8792.)

      On February 22, 2017, the EEOC provided notice to the District of

Ms. Buddenberg’s charge, but the notice did not include the questionnaire or provide

any substantive information about Ms. Buddenberg’s charge.          (ECF No. 197-14,

PageID #6116–18). Instead, the notice indicated that Ms. Buddenberg had filed a

claim under Title VII of the Civil Rights Act and that “no action is required [by the

District] at this time.” (ECF No. 197-14, PageID #6116.) Also, it advised that the



                                           27
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 28 of 183. PageID #: 15630




claim alleged retaliation occurring on October 26, 2016. (Id.) The following day, the

District provided a copy of the notice to Mr. Budzik. (ECF No. 184-1, PageID #3115.)

      When Mr. Weisdack received the notice, “he was dismayed” and “upset” that

Ms. Buddenberg filed the charge and “was not thrilled about it.” (ECF No. 190-1,

PageID #4351–52.) He thought that Ms. Buddenberg was out to get him and said as

much to others. (ECF No. 181-1, PageID #2416.)

             F.4.   Notice of Disciplinary Action against Ms. Buddenberg

      On February 28, 2017, Mr. Weisdack provided Ms. Buddenberg with a notice

of proposed disciplinary action. (ECF No. 195-19.) Citing a “repeated pattern” of

violating the District’s policies since mid-January 2017, Mr. Weisdack and the Board

proposed demotion to a clerical-secretarial position, with a concomitant reduction in

pay, and a three-day unpaid suspension.       (Id., PageID #5163 & #5166.)      As an

example, the notice cited rude, unprofessional, and disrespectful communications

with Mr. Weisdack, including in front of other employees.         (Id.)   It identified

Ms. Buddenberg’s email to Ms. Livers dated February 1, 2017 stating that Mix was

dismissed as a result of his defense of Ms. Buddenberg as false, intended to obtain a

benefit for herself and create an adverse work environment for all District employees.

(Id.) Mr. Weisdack testified that Mr. Budzik included that email as a ground for

discipline. (ECF No. 181-1, PageID #2406.) Also, it listed the following additional

grounds for discipline:

      1.     Attempting to mandate her attendance at a meeting to obtain revisions
             to the 2017 budget appropriations.

      2.     Insubordination in connection with an unauthorized transfer of chairs
             within District offices as part of the lunchroom renovation project.
                                         28
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 29 of 183. PageID #: 15631




      3.     Failure to complete payroll by the deadline.

      4.     Improper storage of Mix’s personnel file in her office.

      5.     Failure properly to maintain other employees’ personnel files.

      6.     Failure to familiarize herself with the Ohio District of Health financial
             report/subsidy and to maintain prior reports.

      7.     Improper shredding of District records.

(ECF No. 195-19, PageID #5163–65.)         This notice advised Ms. Buddenberg of a

hearing three days later. (Id., PageID #5166.) It advised her that “You have the right

to be represented at this pre-deprivation hearing.” (Id.) And it did not include the

possibility of termination as discipline. (Id.)

      Mr. Weisdack and the President of the Board provided the information

included in the notice to Mr. Budzik. (ECF No. 180-1, PageID #2168–69, #2377–78

& #2393.) Then, Mr. Budzik drafted the notice. (Id., PageID #2169.) Mr. Weisdack

also shared the notice with the Board. (ECF No. 31, ¶ 79, PageID #385; ECF No. 37,

¶ 59, PageID #463.)

             F.5.   Pre-Disciplinary Hearing (March 3, 2017)

      On March 3, 2017, Ms. Buddenberg had a pre-disciplinary hearing. (ECF

No. 210-4, PageID #11325.) Usually, Mr. Weisdack conducted such hearings; but,

due to recent facial surgery affecting his ability to speak, Mr. Budzik conducted the

hearing instead. (ECF No. 181-1, PageID #2376; ECF No. 182-1, PageID #2567; ECF

No. 183-1, PageID #2835; ECF No. 186-1, PageID #3395.) Additionally, Mr. Weisdack

testified that Mr. Budzik conducted the hearing because he was “told not to be directly

involved with any staff members while this report was going to be made.” (ECF

                                           29
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 30 of 183. PageID #: 15632




No. 180-1, PageID #2161 & #2168–70.) For these reasons, Mr. Budzik conducted the

hearing as Mr. Weisdack’s designee (ECF No. 182-1, PageID #2581), and

Mr. Weisdack said little at the hearing (ECF No. 184-1, PageID #3042–43.) Up to

this point in time, Ms. Buddenberg had no interaction with Mr. Budzik.          (ECF

No. 203-1, #8650, #8654–55 & #8658.) Mr. Budzik had no other control or influence

on Ms. Buddenberg’s day-to-day work activities, including the change in her work

hours. (ECF No. 203-1, PageID #8654–55 & #8658.)

      Mr. Budzik, Mr. Weisdack, Darla Andrews (a District employee), and

Ms. Buddenberg attended the hearing. (ECF No. 203-1, PageID #8671.) According

to District policy, Ms. Buddenberg was entitled to counsel at the hearing, and her

disciplinary notice stated that she had a “right to be represented.” (ECF No. 195-14,

PageID #5123, ECF No. 207-4, PageID #10092.) But Ms. Buddenberg did not request

or retain counsel or any other representation for the hearing. (ECF No. 203-1, PageID

#8671.) However, during the hearing, Ms. Buddenberg disclosed that she had counsel

by then. (ECF No. 210-4, PageID #11333.) The hearing was recorded and lasted

approximately 96 minutes. (ECF No. 210-4, PageID #11325 & #11376.)

                   F.5.a. Charges

      Mr. Budzik read the charges against Ms. Buddenberg nearly verbatim from

the notice of disciplinary action. (Id., PageID #11327–65.) After separately reading

each charge, Ms. Buddenberg had the opportunity to respond to each. (Id.) In

response to some, Ms. Buddenberg provided a specific response or rebuttal. (See, e.g.,

id., PageID #11328–29 & #11338–41.) In response to others, she declined to provide

specific supporting documentation or evidence. (Id., PageID #11329 & #11334–35.)
                                         30
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 31 of 183. PageID #: 15633




But she did provide documents to address certain charges. (See e.g., id., PageID

#11375; ECF No. 183-1, PageID #2798.)

       A transcript of the hearing establishes the following facts for the disciplinary

charges:

   •   Rude and Unprofessional Behavior: Ms. Buddenberg admitted raising her

       voice at Mr. Weisdack. (ECF No. 210-4, PageID #11329.)

   •   Mix’s Resignation:   Ms. Buddenberg admitted that she was aware that Mix

       resigned, under threat of termination, despite claiming in her email to

       Ms. Livers that he had been dismissed, which was her opinion based on what

       she knew. (Id., PageID #11331–33.)

   •   Unauthorized Transfer of Chairs (Contaminated Furniture): Ms. Buddenberg

       stated that she requested furniture from the District’s maintenance

       department without prior approval from the Commissioner. (Id., PageID

       #11338.) In this litigation, Ms. Buddenberg did not remember whether Mix or

       Mr. Weisdack told her not to get these chairs. (ECF No. 204-1, PageID #8910.)

       But Mr. Weisdack testified that Ms. Buddenberg had no authority to obtain

       this furniture.   (ECF 182-1, PageID #2571.)      Apparently, Mr. Weisdack’s

       assistant told Ms. Buddenberg that she could not bring the furniture to the

       District’s offices. (ECF No. 182-1, PageID #2572.)

   •   Payroll: Ms. Buddenberg admitted that she failed to attach the documentation

       necessary for timely processing of payroll as required. (ECF No. 210-4, PageID

       #11343.)



                                          31
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 32 of 183. PageID #: 15634




   •   Personnel Files: Ms. Buddenberg admitted that she stored her personnel file

       and that of Mix in her office.    (Id., PageID #11349–51 & #11356.)       She

       presented no proof that Mr. Weisdack authorized her to move the files into her

       office. (Id., PageID #11349–50.) In this case, Mr. Weisdack testified that any

       work Ms. Buddenberg did with the personnel records was to be done in his

       office. (ECF No. 180-1, PageID #1981–82.)

   •   Ohio Department of Health Report:          Ms. Buddenberg admitted being

       unfamiliar with this report. (ECF No. 210-4, PageID #11361.) Previously,

       Mix had responsibility for it. (Id., PageID #11361.)

   •   Shredding:   Ms. Buddenberg admitted that an intern shredded District

       documents at Ms. Buddenberg’s direction (id., PageID #11369) and provided a

       statement from the intern on the issue (ECF No. 203-1, PageID #8672).

Typically, the Board makes a decision about three to five days after the pre-

disciplinary hearing. (Id., PageID #11326.)

                    F.5.b. Ms. Buddenberg’s Responses

       One point of the pre-disciplinary hearing is to provide an employee with the

opportunity to respond to the charges. (ECF No. 183-1, PageID #2802–03.) In

response to each charge, Ms. Buddenberg offered explanations or justifications. (See

generally ECF No. 210-4.)     At times, Mr. Budzik questioned or challenged the

response from Ms. Buddenberg.      (See, e.g., ECF No. 210-4, PageID #11331–32.)

Generally, she also asserted that the charges were retaliatory and false. (See, e.g.,

id., PageID #11329, #11332, #11336, #11337, #11340, #11344 & #11372.)            But

Mr. Budzik did not follow up on her position or request facts to support it. (ECF
                                         32
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 33 of 183. PageID #: 15635




No. 183-1, PageID #2788, #2899 & #2933; ECF No. 184-1, PageID #3003–04 &

#3021.) At deposition, Mr. Budzik conceded that, as an experienced employment

lawyer, if he learned about retaliation against an employee in the course of his

representation, he might have to act on that information. (ECF No. 183-1, PageID

#2717–18.)

      Ms. Buddenberg maintains that Mr. Budzik knew the charges against her

were “baseless”—because “any reasonable intelligent person” would understand that

fact. (ECF No. 203-1, PageID #8673.) She described Mr. Budzik as “vindictive” and

conspiring against her during the hearing. (ECF No. 204-1, PageID #8928.) When

asked whether she wished to provide any statements from other employees to verify

or support her side of the story, Ms. Buddenberg responded that she would not offer

co-worker statements or names because “Mr. Weisdack has a history of retaliation

towards employees who question him.” (ECF No. 210-4, PageID #11329.)

                   F.5.c. Audio Recording of the Hearing

      Plaintiff submitted an audio recording of the pre-disciplinary hearing. (ECF

No. 194-14.) On the audio recording of the hearing, Mr. Budzik’s demeanor is best

described as calm, almost soporific. Nor did Mr. Weisdack raise his voice or express

emotion on the few occasions he spoke. Instead, he spoke slowly and evenly to

supplement and clarify the record. For her part, Ms. Buddenberg offered even-toned,

matter-of-fact rebuttals to the charges Ms. Budzik read.

      Mr. Budzik repeatedly encouraged Ms. Buddenberg to present all the evidence

she had to rebut the charges.       (See, e.g., ECF No. 210-4, PageID #11334.)

Ms. Buddenberg and Mr. Budzik interrupted each other at times—but that was a
                                         33
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 34 of 183. PageID #: 15636




bipartisan occurrence, with neither side doing so more than the other.             And

Ms. Buddenberg even shared a laugh with Mr. Budzik when she burped during the

hearing. (Id., PageID #11360.) Overall, the hearing proceeded professionally and as

cordially as could reasonably be expected under the circumstances.

                    F.5.d. Off-the-Record Settlement Discussions

      At the hearing, Ms. Buddenberg and Mr. Budzik had two conversations off the

record. In the first, Ms. Buddenberg asserted that Mr. Budzik “implied” that if he

and Mr. Weisdack presented their findings and her responses to the Board, she would

likely be terminated. (ECF No. 203-1, PageID #8675–76.) To avoid such an outcome,

Mr. Budzik broached the possibility of a settlement as an alternative.             (Id.)

Ms. Buddenberg asked to have a witness present for the conversation, but he denied

the request. (Id., PageID #8676; ECF No. 184-1, PageID #3030 & #3043.) Although

the notice of discipline did not reference termination, Ms. Buddenberg understood

based on her account of this discussion with Mr. Budzik that, once the Board received

the record, it was free to take whatever action it felt was appropriate. (ECF No. 203-1,

PageID #8676; ECF No. 204-1, PageID #8938–39.)

      In the second conversation, immediately following the hearing, Mr. Budzik

offered a settlement agreement at the direction of and with the authorization of

Mr. Weisdack, who was also present. (ECF No. 203-1, PageID #8677; ECF No. 204-1,

PageID #8938–39; ECF No. 184-1, PageID #3033 & #3047.)              He proposed that

Ms. Buddenberg agree to the discipline recommended:            a voluntary demotion,

reduction in pay, and three-day unpaid suspension with no record of discipline in her

personnel file.   (ECF No. 184-1, PageID #3037–38.)       But the disciplinary notice
                                          34
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 35 of 183. PageID #: 15637




already existed as a public record. (Id., PageID #3038.) Ms. Buddenberg had a few

days to consider the offer. (Id., PageID #3039.)

      Additionally, Ms. Buddenberg claims that this offer was contingent on

dismissing her pending EEOC charge. (ECF No. 203-1, PageID #8677.) Mr. Budzik

denies making a settlement proposal contingent on dismissing charges with the

EEOC.     (ECF No. 184-1, PageID #3030–33.)          Because the record shows that

Mr. Budzik received notice of the EEOC charge (id., PageID #3115), in the current

procedural posture, the Court construes the record in favor of Plaintiff and treats this

settlement proposal as directed at all of Ms. Buddenberg’s claims and actions,

including the EEOC charge.

      In her deposition, Ms. Buddenberg accused Mr. Budzik of not presenting her

side of the story to the Board. (ECF No. 204-1, PageID #8929–30.) But she admits

that she does not know what he presented to the Board. (ECF No. 204-1, PageID

#8930.) Mr. Budzik disputes that he denied her ability to speak to the Board and

stated that “[s]he could always ask the Board to discuss things with it.” (ECF

No. 184-1, PageID #3039–40.)        And the record shows that Ms. Buddenberg

communicated with Board members on several occasions. (See, e.g., ECF No. 194-29,

PageID #4759.) In any event, Ms. Buddenberg did not accept any settlement. (ECF

No. 195-17, PageID #5156.)

             F.6.   EEOC Charge of Retaliation

      On March 7, 2017, Ms. Buddenberg filed an EEOC charge alleging retaliation

based on the notice of disciplinary action dated February 28, 2017. (ECF #204-9,

PageID #8984.) That same day, Mr. Budzik discussed Ms. Buddenberg’s disciplinary
                                          35
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 36 of 183. PageID #: 15638




hearing with the Board in executive session, but the Board did not make any final

determination at that meeting. (ECF No. 197-6, PageID #6056–57; ECF No. 184-1,

PageID #3054.) During their deliberations, no Board member expressed concern that

imposing discipline might be retaliatory. (ECF No. 189-1, PageID #4173.) Nor did

the Board hear Ms. Buddenberg’s side of the story directly. (Id., PageID #4149; ECF

No. 187-1, PageID #3609.)

      On March 10, 2017, Ms. Buddenberg sent an email to Ms. Livers again alleging

retaliation. (ECF No. 197-4, PageID #6051.) In this email, Ms. Buddenberg identified

Mr. Budzik’s actions at the hearing and in attempting to intimidate her into settling

afterward as retaliatory. (Id.) She specifically called out being prevented from

having a witness present for that discussion. (Id.) She told Ms. Livers that she asked

to make a statement directly to the Board, but Mr. Budzik refused that request. (Id.)

      Further, Ms. Buddenberg advised Ms. Livers that, a few days earlier, on

March 7, Mr. Weisdack reassigned some of her duties as fiscal coordinator to other

employees. (Id.; ECF No. 204-1, PageID #8872–73.) Ms. Buddenberg testified that

an unknown person deleted her voicemails without her knowledge or consent and

that she also lost access to certain shared computer drives needed to do fiscal work.

(ECF No. 204-1, PageID #8864–66.)

             F.7.   Discipline (March 13, 2017)

      On March 13, 2017, the Board reconvened to discuss Ms. Buddenberg’s

discipline. (ECF No. 195-17, PageID #5154–55.) Mr. Budzik was not present or

consulted at this special meeting. (Id., PageID #5155; ECF No. 184-1, PageID #3059.)

All Board members except Mr. Gragg attended this meeting. (ECF No. 195-17,
                                         36
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 37 of 183. PageID #: 15639




PageID #5155; ECF No. 204-1, PageID #8875.)          After discussing the matter in

executive session for about an hour, the Board returned to open session and, on the

motion of Ms. Livers, voted 3-0 to discipline Ms. Buddenberg, suspending her without

pay for three days. (ECF No. 195-17, PageID #5155–56.) The order of discipline also

shows a reduction in pay and demotion to a clerical position and adoption of all but

one of the findings proposed in the notice of disciplinary action (ECF No. 204-13,

PageID #8990–92)—the one relating to Ms. Buddenberg’s attendance at a meeting to

seek budget revisions (ECF No. 195-19, PageID #5164), which she rebutted at the

hearing (ECF No. 210-4, PageID #11336–37). These disciplinary actions had the

effect of reducing the value of her accrued sick leave and vacation time. (ECF No. 31,

¶ 124, PageID #396; ECF No. 37, ¶ 86, PageID 467; ECF No. 195-14, PageID #5074.)

      Mr. Weisdack and the Board members present for the special meeting on

March 13, 2017 signed the disciplinary order (id., PageID #8990), and Mr. Weisdack

and the Board chair signed the findings, though he had missed the meeting (id.,

PageID #8992). Mr. Budzik drafted the disciplinary order. (ECF No. 184-1, PageID

#3059.) The findings identified seven offenses, classified under the Board’s policies

as Group III offenses. (ECF No. 195-19, PageID #5169–70.) Group III offenses are

“infractions which are of a very serious or possibly a criminal nature, and/or which

cause a critical disruption to the organization in terms of decreased productivity,

efficiency, and/or morale” and that, “if left undisciplined by a proper authority, may

have a long lasting and serious adverse impact on the organization.”            (ECF

No. 194-14, PageID #5124; see also ECF No. 179-1, PageID #1743–44.) On no prior



                                         37
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 38 of 183. PageID #: 15640




occasion had the Board signed off on disciplinary action against an employee other

than the commissioner. (ECF No. 186-1, PageID #3438; ECF No. 188-1, PageID

#3673.) Instead, Mr. Weisdack handled discipline. (ECF No. 195-14, PageID #5123.)

      Three days later, on March 16, 2017, the order of discipline was hand-delivered

to Ms. Buddenberg. (ECF No. 204-13, PageID #8990.) After receiving the order

imposing discipline, Ms. Buddenberg had no further direct contact with Mr. Budzik.

(ECF No. 203-1, PageID #8682.)      Ms. Buddenberg had the right to appeal her

demotion and suspension to the State Personnel Board of Review. (ECF No. 195-14,

PageID #5134.) She filed an appeal (ECF No. 194-43, PageID #5966–67), but dropped

that appeal in favor of proceeding with this lawsuit (ECF No. 208-2, PageID #10502).

            F.8.   Reassignment

      Although the disciplinary order directed that Ms. Buddenberg’s new position

would be in the personal health service division of the District (ECF No. 204-13,

PageID #8990), Mr. Weisdack placed her in the environmental health division (ECF

No. 194-12, PageID #4648; ECF No. 187-1, PageID #3619; ECF No. 31, ¶ 114, PageID

#395; ECF No. 37, ¶ 79, PageID #466.) As a result, Ms. Buddenberg would work

directly under Mr. Weisdack’s administrative assistant. (ECF No. 187-1, PageID

#3619; ECF No. 31, ¶ 114, PageID #395; ECF No. 37, ¶ 79, PageID #466.) At a later

Board meeting, this reassignment was reported as occurring “[d]ue to budgetary

constraints.” (ECF No. 194-12, PageID #4648.)

      On March 21, 2017, Ms. Buddenberg submitted a supplemental complaint to

the EEOC reporting this reassignment as additional retaliation. (ECF No. 196-49,

PageID #6006–09.) She appealed to the State Personnel Board of Review the same
                                        38
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 39 of 183. PageID #: 15641




day. (ECF No. 31, ¶ 109, PageID #394; ECF No. 37, ¶ 75, PageID #465.) On that

same day, her demotion took effect, cutting Ms. Buddenberg’s pay nearly in half.

(ECF No. 195-23, PageID #5235–37.)

        At a special Board meeting held on March 24, 2017, a new organization chart

omitted the position of fiscal coordinator. (ECF No. 194-12, PageID #4650.) The

Board adopted the reorganization reflected in that chart and approved a two-year

contract for Mr. Weisdack at that same meeting.        (Id., PageID #4649.)    When

Mr. Weisdack presented the reorganization at a staff meeting, he indicated that his

assistant, another clerk, and an independent contractor would perform the duties of

the fiscal coordinator position. (ECF No. 194-2, PageID #4584–85.)

        On April 3, 2017, Ms. Buddenberg was notified of her new role following the

reorganization. (ECF No. 204-1, PageID #8885.) In an email to Ms. Livers that same

day, Ms. Buddenberg expressed concern that this reassignment was retaliatory.

(ECF No. 196-51, PageID #6041.) After learning this information, Ms. Buddenberg

did not return to work. Instead, she took unpaid leave from April 3, 2017 to May 26,

2017.    (ECF No. 204-17, PageID #9002; ECF No. 204-18, PageID #9003; ECF

No. 204-1, PageID #8896–97.)

              F.9.   Resignation (May 27, 2017)

        On May 27, 2017, Ms. Buddenberg resigned from her position at the District

without working a day in her new role. (ECF No. 194-4, PageID #4587–89, ECF

No. 204-1, PageID #8896–97.)     She did work at the District for five days after

receiving notice of her demotion on March 16, 2017 before it took effect on March 21.

ECF No. 204-13, PageID #8990; ECF No. 195-19, PageID #5167.) Ms. Buddenberg
                                         39
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 40 of 183. PageID #: 15642




testified that she could not return to work knowing she would be working under

Mr. Weisdack’s assistant.   (ECF No. 204-1, PageID #8897.)       She added that the

personnel in the environmental health department treated her horribly. (Id.)

      In a resignation letter sent to the Board, Ms. Buddenberg noted that, as far as

she was concerned, she had been fired. (ECF No. 194-4, PageID #4589.) She wrote

that she “had no intention of leaving the organization and this is against my wishes.”

(Id., PageID #4587.) Because “conditions at [the District] have become so intolerable

for me,” Ms. Buddenberg said, “I feel I have no choice but to resign.” (Id.) Since

“bring[ing] serious concerns about Mr. Weisdack’s ethical violations” to the Board “as

a responsible citizen” on October 24, 2016, Ms. Buddenberg “lived in fear of

Mr. Weisdack’s retaliation and unprofessional actions,” which “continued despite my

efforts to correct them by reporting to the Board.” (Id., PageID #4587–88.) According

to Ms. Buddenberg, the “unchecked retaliatory conduct has had a negative impact on

my health and has created stress for both my family and me.” (Id., PageID #4588.)

Ms. Buddenberg’s ex-husband corroborated these effects the events at issue had on

her. (ECF No. 244-1, PageID #14081–83.)

      Finally, the letter identifies the actions Ms. Buddenberg says are retaliatory,

up to and including the reassignment to work under Mr. Weisdack’s assistant. (Id.,

PageID #4588–89.) Ms. Buddenberg concluded the letter by calling out the Board for

allowing “Mr. Weisdack to continue in leadership despite knowing of his repeated

intentional dishonest and unethical practices, and his retaliatory conduct.” (Id.,

PageID #4589.)



                                         40
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 41 of 183. PageID #: 15643




      In February 2018, Ms. Buddenberg began working at a new job.            (ECF

No. 203-1, PageID #8684–85.) Her starting salary exceeded her highest salary at the

District. (Compare id. with ECF No. 195-23.)

                         STATEMENT OF THE CASE

      A.    The EEOC and Commencement of This Litigation

      On October 20, 2017, the District submitted its EEOC position statement. (See

ECF No. 195-36.) In its position statement, the District asserted that most of the

events leading to Ms. Buddenberg’s discipline occurred between January 2017 and

February 2017—five months after her initial report to the Board. (ECF No. 210-4,

PageID #5284.) The District emphasized that the “impetus” of Ms. Buddenberg’s

discipline was her failure to complete the Ohio Department of Health Annual

Financial Report and “resulted in all then existing disciplinary issues being

addressed.” (ECF No. 195-36, PageID #5284.) The District summarized the basis for

each of Ms. Buddenberg’s disciplinary charges. (ECF No. 195-36, PageID #5280–85.)

Notably, the District said, “Ms. Buddenberg’s statement that [Mix] was terminated

was false and an appropriate basis for discipline.” (ECF No. 195-36, PageID #5282.)

      On January 25, 2018, Ms. Buddenberg received a right-to-sue letter from the

EEOC. (ECF No. 213-2.) On March 6, 2018, Plaintiff filed suit in federal court, and

the case was randomly assigned to Judge Polster (ECF No. 1.) Based on the events

set forth above, Plaintiff brings various claims under federal and State law.

Plaintiff’s second amended complaint asserts nine causes of action against eight

Defendants as follows:



                                        41
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 42 of 183. PageID #: 15644




 Count                     Claim                           Defendant(s)
   1               Title VII Retaliation,                    District
                  42 U.S.C. § 2000e-3(a)
   2                    Retaliation,                District; Weisdack; Goergen,
                Ohio Rev. Code § 4112.02            Whitright, Livers, and Gragg
   3            Fair Labor Standards Act        District; Weisdack; Budzik; Goergen;
                        Retaliation,                  Gragg; Livers; Whitright
                   29 U.S.C. § 215(A)(3)
   4                    Retaliation,            District, Weisdack; Budzik; Goergen;
               Ohio Rev. Code § 4111.17(D)            Gragg; Livers; Whitright
   5          First Amendment Retaliation,      District; Weisdack; Budzik; Goergen;
                     42 U.S.C. § 1983                 Gragg; Livers; Whitright
   6                    Retaliation,            District; Weisdack; Budzik; Goergen;
                      Ohio Rev. Code                  Gragg; Livers; Whitright
                  §§ 2921.05 & 2307.60
   7        Intimidation Using False Writing,            Weisdack; Budzik
                      Ohio Rev. Code
                  §§ 2921.03 & 2307.60
   8          Interfering with Civil Rights,     Weisdack; Goergen; Gragg; Livers;
                      Ohio Rev. Code                        Whitright
                  §§ 2921.45 & 2307.60
   9               Aiding and Abetting           District; Weisdack; Budzik; Gragg;
                      Discrimination,           Livers; Whitright; Goergen; Wendell
                      Ohio Rev. Code
                 §§ 4112.02(J) & 4112.99

(ECF No. 31.)

       B.      Interlocutory Appeal to the Sixth Circuit

       After Plaintiff filed suit, Mr. Budzik moved to dismiss the six claims brought

against him. (ECF No. 14.) Also, the District Defendants moved for partial judgment

on the pleadings on the claims in Counts 6 through 8 asserted against them. (ECF

No. 20.) The Court denied the motions. (ECF No. 38.) In doing so, the Court

determined that Mr. Budzik was not entitled to qualified immunity, at least at the



                                          42
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 43 of 183. PageID #: 15645




pleading stage before development of a sufficient factual record.           (Id., PageID

#482–83.) Mr. Budzik appealed this ruling. (ECF No. 43.) On appeal, the Sixth

Circuit affirmed. Buddenberg v. Weisdack, 939 F.3d 732, 742 (6th Cir. 2019).

       C.     Certification to the Ohio Supreme Court

       In August 2018, the Court granted in part Defendants’ motion to certify certain

questions of State law to the Ohio Supreme Court. (ECF No. 49.) Specifically, the

Court certified unsettled questions of State law regarding Plaintiff’s claims in Counts

6, 7, and 8 asserting civil liability for criminal acts. The Court certified the following

questions:

       1.     Does O.R.C. § 2307.60’s creation of a civil cause of action for
              injuries based on a “criminal act” require an underlying criminal
              conviction?

       2.     Is a criminal conviction a condition precedent to a civil claim
              pursuant to O.R.C. § 2921.03?

(ECF No. 49, PageID #566.)

       In July 2020, the Ohio Supreme Court ruled that a claim under Section 2307.60

does not require an underlying criminal conviction. Buddenberg v. Weisdack, 161

Ohio St. 3d 160, 2020-Ohio-3832, 161 N.E.3d 603, ¶¶ 13 & 14. Further, the Court

held that the plain language of Section 2921.03 also does not require a criminal

conviction as a prerequisite for civil liability. Id. at ¶ 18.

       D.     Discovery and Procedural History

       In the early stages of the case, Judge Polster engaged the parties in settlement

negotiations. (Minutes, July 2, 2018.) Following remand from the Sixth Circuit, he

conducted a settlement conference and stayed discovery, except that the Court


                                            43
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 44 of 183. PageID #: 15646




ordered Mr. Budzik to make initial disclosures, directed the parties to serve third-

party subpoenas, and ordered Defendants “to exchange assurances with Plaintiff

regarding document preservation.” (Minutes, Aug. 28, 2018.)

         After the initial appeals, the case returned to active litigation, and the Court

initially set a fact discovery cut-off of April 15, 2021. (Minutes, Aug. 19, 2020.) In

doing so, Judge Polster strongly encouraged counsel and their clients to pursue

settlement of the dispute. (Id.)

         On December 15, 2020, the case was reassigned to the undersigned pursuant

to General Order 2020-27, even though the case was not eligible for transfer because

it had been filed more than two years earlier. At a preliminary status conference

following reassignment, the Court vacated the operative schedule then actively

managed the contentious and protracted discovery. (Minutes, Jan. 26, 2021.) As

discovery proceeded, the parties agreed to extensions and changes to the discovery

cut-off. (See, e.g., Minutes, May 5, 2021; ECF No. 87 & ECF No. 94.) Following an

unsuccessful private mediation, the Court set January 31, 2022 as the cut-off for fact

discovery, other than issues relating to damages. (ECF No. 108; Minutes, Oct. 18,

2021).

         On January 31, 2022, the date of the fact discovery cut-off, the parties raised

various discovery disputes and issues with the Court.                 (ECF No. 130.)

Notwithstanding the deadline for fact discovery, the parties requested that the Court

remain available to resolve disputes as they completed discovery.          (Id., PageID

#885–86.) Accordingly, the Court held a series of status conferences from March 2022



                                            44
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 45 of 183. PageID #: 15647




to December 2022 to address various issues.         Without recounting all of these

numerous issues and developments, two merit a mention and bear on the issues

presently before the Court.

              D.1.   Mr. Budzik, Privilege, and the Crime-Fraud Exception

        One of the issues that Plaintiff raised on January 31, 2022 involved challenges

to certain claims of privilege involving Mr. Budzik. (Id., PageID #885.) At a status

conference on another issue a month later, the parties again raised issues regarding

privilege involving Mr. Budzik in advance of his deposition, scheduled for March

2022.    (Minutes, Feb. 24, 2022.)    After Mr. Budzik’s deposition, Plaintiff raised

concerns about certain issues and claimed inconsistencies in Mr. Budzik’s testimony.

(Minutes, Mar. 22, 2022.) In response, the Court directed the parties to submit

relevant excerpts of his testimony and errata for the Court’s review. (Id.)

        After reviewing relevant excerpts from Mr. Budzik’s deposition and the errata,

which disclosed for the first time, despite repeated previous denials, that he had

received notice of Ms. Buddenberg’s first EEOC charge, the Court ordered that

Mr. Budzik was subject to further deposition and determined that it would go forward

in the presence of the Court. (Minutes, Apr. 4, 2022.) In so ordering, the Court ruled

on certain objections made at his deposition, sustaining many but overruling others.

(ECF No. 133.) Further, at this deposition, the Court ruled that “Plaintiff is entitled

to inquire into Mr. Budzik’s errata and the basis for it.” (Minutes, Apr. 4, 2022.) To

facilitate completion of the deposition, including ruling on any and all objections,

including questions of privilege, the Court ordered Mr. Budzik and his counsel to have



                                          45
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 46 of 183. PageID #: 15648




present at the deposition all “privilege logs, billing records, and other relevant

documents.” (Id.; see also ECF No. 133, PageID #899.)

      That deposition proceeded on April 29, 2022. (See generally ECF No. 185-1.)

Plaintiff’s counsel questioned Mr. Budzik briefly about specific entries on the

privilege logs, but otherwise focused on issues related to the merits of Plaintiff’s

claims and inconsistencies in his previous testimony.     (Id., PageID #3192–93 &

#3201–02.)

      In a joint status report filed a month after the deposition, Plaintiff raised

several discovery issues. (ECF No. 140, PageID #932.) She sought leave to issue

subpoenas to Mr. Budzik’s law firm, Mansour Gavin LPA, and his partner Jeffrey

Embleton. (Id., PageID #931.) Also, Plaintiff requested that the Court conduct an

in camera review of items listed on Mr. Budzik’s privilege logs (which appear in the

record at ECF No. 197-9 and ECF No. 197-10), based on the crime-fraud exception to

the attorney-client privilege. (ECF No. 140, PageID #931.) Defendants opposed both

requests. (Id., PageID #931–32.)

      On June 7, 2022, the Court held a status conference and ordered Mr. Budzik

to submit certain documents and transcripts identified in the joint status report for

in camera review. (Minutes, June 8, 2022.) On June 15, 2022, the Court resolved

several of Ms. Buddenberg’s discovery issues.      First, the Court found that the

attorney-client privilege protected the documents submitted for in camera review and

that the crime-fraud exception did not apply.     (ECF No. 142, PageID #937–38.)

Second, the Court preemptively denied any future request for review of additional



                                         46
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 47 of 183. PageID #: 15649




items—whether privileged or not—because “discovery closed earlier [in 2022],” and

Plaintiff had the opportunity to inquire into such issues during Mr. Budzik’s

deposition, over which the undersigned presided, on April 29, 2022. (Id.) Accordingly,

“the record on this issue has been made.” (Id.) Third, the Court denied Plaintiff’s

subpoena requests because she previously had “ample opportunity to pursue

resolution of [her] issues using the formal tools of discovery.” (Id.)

      Plaintiff continued to raise the issue, doing so next at a status conference on

July 14, 2022. (ECF No. 144, PageID #942.) Plaintiff felt the issue “need[ed] to be

dealt with by briefing.” (ECF No. 150, PageID #1089–90.) And since Plaintiff finally

had “the record as a whole,” she could adequately address the issues. (Id., PageID

#1090.) Plaintiff’s counsel verified that he had not attempted to meet and confer with

Defendants’ counsel to exhaust efforts to resolve the issue. (Id., PageID #1086.)

Accordingly, the Court directed Plaintiff’s counsel to confer with defense counsel as

Rule 37, Local Rule 37.1, and the Court’s Civil Standing Order require. (ECF No. 144,

PageID #943–43.)

             D.2.   Spoliation Questions

      After the close of fact discovery, but before the deadline for dispositive motions

(ECF No. 141), Defendants raised questions regarding Ms. Buddenberg’s spoliation

of evidence. At the status conference on March 23, 2022, Defendants “raised an issue

regarding a late and incomplete production of documents after Plaintiff’s deposition.”

(Minutes, Mar. 22, 2022.)      Those issues relate to certain electronically stored

information, including text messages between Ms. Buddenberg and Mix, not

previously produced. Defendants represented that they were working through the
                                           47
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 48 of 183. PageID #: 15650




issues with Plaintiff. In their joint status report in May 2022, the parties reported

that they were working through these issues with their vendors. (ECF No. 140,

PageID #930–31.) As a preliminary matter, the parties staked out competing views

and interpretations of the evidence, which was still being analyzed. (Id.)

      On July 14, 2022, the Court held a status conference to discuss the potential

spoliation issue. (ECF No. 144, PageID #942.) At this status conference, the Court

discussed the record the parties needed yet to develop on the issue, ordered them to

supplement their expert reports as needed to address it, and directed Plaintiff to

serve third-party subpoenas to certain technology companies relevant to the

investigation of the loss or destruction of electronically stored information. (Id.)

             D.3.   Closing the Record on These Issues

      On August 5, 2022, the Court held a status conference during which Plaintiff’s

counsel again raised the privilege issue and indicated that he was working through

deposition transcripts. (ECF No. 289, PageID #15548.) When Defendants’ counsel

began to discuss additional development of the record relating to the potential

spoliation issue, Plaintiff’s counsel asserted that “my view is that discovery is closed.”

(Id., PageID #15550.) Further, Plaintiff’s counsel argued that, if the Court allowed

Defendants to issue new third-party subpoenas to support their spoliation

allegations, he “would like to reopen discovery as to things we’re interested in as

well.” (Id., PageID #15551–52.)

      From this point on, in the interest of judicial economy, the Court proceeded on

two tracks at the same time, directing the parties to brief dispositive motions and

conducting evidentiary proceedings to conclude the spoliation issue. (See, e.g., ECF
                                           48
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 49 of 183. PageID #: 15651




No. 155; ECF No. 173.) At a status conference on November 30, 2022, the Court

discussed summary judgment briefing and a spoliation hearing.          (ECF No. 174,

PageID #1523; ECF No. 293-1, PageID #15596.) Plaintiff’s counsel again raised

questions about the question of privilege relating to certain materials belonging to

Mr. Budzik. (Id.) The Court directed the parties to proceed with summary judgment,

spoliation, and this privilege issue on “parallel tracks.” (ECF No. 174, PageID #1523;

ECF No. 293-1, PageID #15596.) The Court set January 24, 2023 as the deadline for

dispositive motions. (ECF No. 202, PageID #8457.) All parties filed their motions for

summary judgment on January 24, 2023. (ECF No. 216 (Mr. Budzik); ECF No. 217

(District Defendants); ECF No. 221 (Plaintiff’s Corrected Partial Motion for Summary

Judgment).)

      As the parties briefed summary judgment, the Court held an evidentiary

hearing on spoliation over two days, March 8 and March 9, 2023. (ECF No. 237; ECF

No. 238.) During the hearing, the parties discussed briefing schedules for summary

judgment and spoliation. (Id., PageID #13346–51.) Plaintiff’s counsel did not seek to

raise or file any remaining privilege issues. (See id.)

      Because of the evidentiary hearing and related briefing to close the spoliation

issue, the parties requested—and the Court granted—extensions of various

deadlines.    Summary judgment briefing finally closed on June 29, 2023.        (ECF

No. 269.) Even then, the parties sparred over Defendants’ motion to strike (ECF

No. 270) and notices of supplemental authority (ECF No. 271; ECF No. 272; ECF

No. 277; ECF No. 278). Defendants moved for sanctions against Ms. Buddenberg on



                                          49
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 50 of 183. PageID #: 15652




May 1, 2023. (ECF No. 256), and the record closed on this issue at the end of July

2023. (ECF No. 282.)

      At that point, after briefing closed on both summary judgment and Defendants’

motion for sanction based on alleged spoliation, Plaintiff moved on August 1, 2023 for

discovery of materials and information within the crime-fraud exception to the

attorney-client privilege.   (ECF No. 283.)   She requests that the Court compel

production of “purportedly privileged materials and oral communications” or to

“conduct an in camera review of such materials to assess the exception’s

applicability.”   (Id., PageID #15472.)       She seeks discovery of privileged

communications between Embleton, Mr. Budzik, and all representatives of the

District relating to herself or Mix. (Id., PageID #15453.) Defendants jointly move to

strike and oppose discovery of any privileged material. (ECF No. 292.)

      E.     Pending Motions

      In short, the following motions are pending before the Court:

      1.     Mr. Budzik’s motion for summary judgment (ECF No. 216);

      2.     The District Defendants’ motion for summary judgment (ECF No. 217);

      3.     Plaintiff’s motion for partial summary judgment as to specific elements

             of Counts 1, 2, 3, 4, 5, 8, and 9 (ECF No. 218; ECF No. 221; ECF

             No. 221-1);

      4.     Defendants’ joint motion for sanctions (ECF No. 256);

      5.     The District Defendants’ motion to strike improper summary judgment

             evidence (ECF No. 270);



                                         50
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 51 of 183. PageID #: 15653




      6.     Plaintiff’s motion for discovery of materials and information within the

             crime-fraud exception to attorney-client privilege (ECF No. 283); and

      7.     Defendants’ joint motion to strike or in the alternative opposition to

             Plaintiff’s motion to compel discovery materials pursuant to the crime-

             fraud exception to the attorney-client privilege (ECF No. 292).

                  THE RECORD ON SUMMARY JUDGMENT

      Before turning to the merits of the parties’ motions for summary judgment, the

Court considers three issues regarding the record. First, Ms. Buddenberg submitted

substantive declarations in connection with summary judgment. Second, Plaintiff

filed two notices of supplemental authority after the close of summary judgment

briefing. Third, the District Defendants move to strike Plaintiff’s experts as to them,

leading to a dispute about the admissibility of their testimony.

      A.     Ms. Buddenberg’s Declarations

      In support of her partial motion for summary judgment, Plaintiff filed a

supplemental declaration. (ECF No. 214-1.) By this point in time, Ms. Buddenberg

had been deposed for some ten hours over two days. (ECF No. 203-1; ECF No. 204-1.)

Plaintiff filed a second declaration after the District Defendants moved for sanctions

and opposed Plaintiff’s motion for partial summary judgment. (ECF No. 257-1.) In

reply, Defendants urge the Court to disregard these declarations in considering the

summary judgment record. (ECF No. 267, PageID #14975–78.)

      Self-serving affidavits alone will not create an issue of fact sufficient to survive

summary judgment. See Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 806

(1999). The Court can strike or disregard an affidavit that “constitute[s] an attempt
                                           51
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 52 of 183. PageID #: 15654




to create a sham fact issue,” Aerel, S.R.L. v. PCC Airfoils, L.L.C., 448 F.3d 899,

908–09 (6th Cir. 2006), as well as any unsupported legal conclusions contained in an

affidavit, Sigmon v. Appalachian Coal Props., 400 F. App’x 43, 49 (6th Cir. 2010);

Alan A. Wright & Arthur R. Miller, Federal Practice and Procedure § 2738 (4th ed.

2023).

               A.1.   Ms. Buddenberg’s Declarations

         Plaintiff relies extensively on her declaration executed on January 23, 2023 to

establish that she raised specific issues to the Board during the October 2016

meeting. (See e.g., ECF No. 221, PageID #12040.) For example, she states that she

reported particular instances of Mr. Weisdack’s mismanagement, such as “fail[ing] to

implement procedures to ensure proper public-fund handling” and “ignor[ing] the

employee health-and-safety committee’s recommendations.” (Id.) But the evidence

on which Plaintiff relies to support these assertions, beyond Ms. Buddenberg’s

declaration, is deposition testimony in which a Board member was either unaware of

the issue or did not dispute that she might have raised it. (Id.)

         Similarly, Plaintiff uses Ms. Buddenberg’s declaration to explain how the

environmental health division “refused to respond” to her requests for information.

(Id., PageID #12051 (citing Ms. Buddenberg’s declaration to support the fact that

these retaliatory actions occurred and Mr. Weisdack’s testimony that he was unaware

of it).) Again, the same pattern holds for Mr. Weisdack sitting “on her [leave] request

for longer than he normally would.” (Id., PageID #12054 (citing Ms. Buddenberg’s

declaration to explain Mr. Weisdack’s behavior and Mr. Weisdack’s deposition that

he had no reason to dispute this fact).)
                                           52
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 53 of 183. PageID #: 15655




      In her most recent declaration (ECF No. 257-1), Ms. Buddenberg clarified

earlier testimony that she was “just doing my job” (and other similar statements)—

key testimony on which Defendants rely in their summary judgment briefing. In her

declaration, Ms. Buddenberg says that such formulations were not about her actual

job duties, but the “moral obligation she felt when working as an honest citizen in

public service to report misconduct.” (Id., PageID #14651.) But this declaration

contradicts other evidence in the record. For example, in her draft ethics complaint,

Ms. Buddenberg wrote that, by going to the Board, she was “following policy and

performing the duties the residents and Board are paying me to provide.” (ECF

No. 215-1, PageID #11806.) She made similar statements in correspondence with the

Board (ECF No. 215-1, PageID #11813–17), an email to Embleton (id., PageID

#11808), and in her deposition testimony (ECF No. 203-1, PageID #8505 & #8544).

      After her first deposition, but before her second, Ms. Buddenberg also executed

a declaration. (ECF No. 210-3.) In it, Ms. Buddenberg swears that she did not have

time to retain counsel before the pre-disciplinary hearing on March 16, 2016, though

she had attempted to do so. (Id., ¶ 3, PageID #11324.) But this account conflicts with

the transcript of that hearing. During the hearing, Ms. Buddenberg disclosed that

she had counsel by then. (ECF No. 210-4, PageID #11333.) Indeed, she responded to

a question from Mr. Budzik by stating that she learned certain facts because

supporting her retaliation claim because District employees provided them to her

attorney. (Id.)




                                         53
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 54 of 183. PageID #: 15656




      In short, the record shows, and the Court finds, that Plaintiff’s declarations

contain multiple statements of fact that conflict with other evidence in the record on

summary judgment.

              A.2.    Application of the Sham Affidavit Rule

      The Court rejects Plaintiff’s use of declarations to attempt to create disputes

of material fact that might affect the merits of a ruling on summary judgment. To

the extent that other summary judgment evidence exists, including Plaintiff’s

deposition testimony, that evidence speaks for itself.       Consequently, Plaintiff’s

previous statements will form the basis for the Court’s ruling. Holbrook v. Dumas,

658 F. App’x 280, 288–89 (6th Cir. 2016) (cleaned up) (rejecting a fire chief’s post hoc

characterization of an email sent to employees as a “concerned citizen or friend” based

on the factual record demonstrating that he spoke as a public official).

      To illustrate application of this rule here, the Court uses two examples. First,

Plaintiff relies on her declarations to establish the fact that she had come prepared

to talk to the Board as a “private citizen” about the tire contract and the gender pay

disparity issue.     (See ECF No. 269, PageID #15048–49.)        She argues that any

contention that she spoke to the Board about the gender pay disparity at the Board’s

direction is “belied by [her] complete testimony.”      Id. (citing Ms. Buddenberg’s

declaration   (ECF     No.   257-1,   PageID   #14653).)     Second,    Plaintiff   uses

Ms. Buddenberg’s most recent declaration to describe Mr. Budzik’s “intimidating

demeanor and condescending approach” as retaliatory. (ECF No. 257-1, PageID

#14654; see also ECF No. 263, PageID #14885).



                                          54
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 55 of 183. PageID #: 15657




      But the Court need not, and does not, rely on Ms. Buddenberg’s declarations

to consider the record on summary judgment, construed in favor of the non-moving

party on the other’s motion.      In the former example, the record shows that

Ms. Buddenberg spoke to the Board to raise her concerns about the tire contract and

then, when asked or prompted, raised the issue of the gender pay disparity. (ECF

No. 203-1, PageID #8537–42.) As for the latter, the transcript of the pre-disciplinary

hearing transcribes what was said, and the audio captures the tone, cadence, and

vocal demeanor of the speakers.

      Accordingly, Plaintiff cannot rely on these declarations to create a sham issue

of fact to bolster her position on summary judgment. See Holbrook, 658 F. App’x at

288–89.    The timing of the declarations, particularly the most recent one (ECF

No. 257-1), betrays their true motivation. In any event, the key issues before the

Court present questions of law, not fact. See DeCrane v. Eckart, 12 F.4th 586, 595–96

(6th Cir. 2021) (describing the determination whether a plaintiff speaks as a citizen

or as an employee as a legal conclusion). Those questions of law turn on a record

construed in Plaintiff’s favor on Defendants’ motions for summary judgment. With

that procedural advantage, it is difficult to conceive of circumstances in which self-

serving affidavits would not defeat summary judgment. See Aerel, S.R.L., 448 F.3d

at 908 (quotation omitted). For this reason, the Court disregards Ms. Buddenberg’s

declarations, and the statement of facts set forth above contains no reference to them.

      B.     Supplemental Authority

      After the close of summary judgment briefing, Plaintiff filed two notices of

supplemental authority to support her opposition to Mr. Budzik’s motion for
                                          55
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 56 of 183. PageID #: 15658




summary judgment. (ECF No. 271; ECF No. 272.) Mr. Budzik filed a response to

each. (ECF No. 277; ECF No. 278.) The Court’s Civil Standing Order allows parties

to file a notice of supplemental authority “[i]f pertinent and significant authorities

come to a party’s attention after the party’s brief has been filed.” Section 9.J. But

the Order should not be treated as an invitation to subvert page limitations and

submit additional briefing. See In re Steinle, 835 F. Supp. 2d 437, 433 (N.D. Ohio

2011) (noting that neither the Federal Rules of Civil Procedure nor the Northern

District of Ohio’s Local rules provide for a surreply as a matter of course). A notice

of supplemental authority “should be used sparingly and for new, controlling case

law—not for recently discovered case law, nor for arguments which the parties did

not think to make [earlier].” General Elec. Co. v. Latin Am. Imports, S.A., 187 F.

Supp. 2d 748, 752 (W.D. Ky. 2001).

      Plaintiff’s first notice provides legal argument and discussion of a First

Amendment case under Section 1983, King v. Zamiara, 680 F.3d 686 (6th Cir. 2012).

This case, decided eleven years before summary judgment briefing, is not newly

discovered authority. Nor was it recently discovered. Indeed, Plaintiff relies on King

in her reply brief. (See ECF No. 269, PageID #15065 (“Defendants are liable if their

actions are the proximate cause of the adverse actions.”) (citing King, 680 F.3d at

695).) Moreover, Mr. Budzik’s motion for summary judgment and Plaintiff’s reply

and opposition each discuss Poppy v. City of Willoughby Hills, 96 F. App’x 292 (6th

Cir. 2004). (See ECF No. 216, PageID #11855–56; ECF No. 263, PageID #14907; ECF

No. 269, PageID #15065.) On remand following the Sixth Circuit’s ruling in King,



                                         56
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 57 of 183. PageID #: 15659




the district court also discusses Poppy. See King v. Zamiara, No. 4:02-cv-141, 2009

WL 1067317, at *4 (W.D. Mich. 2009) (discussing Poppy, 96 F. App’x at 295). Even a

cursory review of the cases that cite or discuss Poppy would reveal King.

      Plaintiff’s second notice of supplemental authority raises similar issues.

Essentially, it copies and pastes portions of her reply. (ECF No. 269, PageID #15067.)

This second notice provided a string citation to five unreported Sixth Circuit and

district court opinions—each decided years before summary judgment briefing in this

case even began. One case in the notice, Ward v. Athens, 187 F.3d 639 (6th Cir. 1999),

does not appear in Plaintiff’s reply. And it is the oldest case of them all. Even if

Plaintiff did not previously know of Ward or discover it in her research, which strains

credulity, three of the cases she string cites in her reply discuss Ward. See Nailon v.

University of Cincinnati, 715 F. App’x 509, 516 (6th Cir. 2017); Stinebaugh v. City of

Wapakoneta, 630 F. App’x 522, 530 (6th Cir. 2015); McMillion v. Metropolitan Gov’t

of Nashville & Davidson Cnty., No. 3:10-cv-0229, 2011 WL 1100007, at *4 (M.D. Tenn.

Mar. 22, 2011).

      Plaintiff does not show good cause for further consideration of the additional

legal arguments—that she largely already made—relying on cases she or Mr. Budzik

previously cited. At best, Plaintiff’s notices of supplemental authority stem from a

desire to have the last word. At worst, they amount to efforts to evade the already

generous (and extended) pages limits for summary judgment briefing. For these

reasons, Plaintiff’s notices of supplemental authority are not well taken. The Court




                                          57
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 58 of 183. PageID #: 15660




takes no notice of them or Mr. Buzdik’s responses and does not consider them or the

arguments made in them.

      C.     Experts

      On July 14, 2022, Plaintiff timely disclosed her experts. (ECF No. 148, PageID

#949; see also ECF No. 140.) In support of her summary judgment motion, Plaintiff

proffers   the   testimony   of   two   experts   examining   Mr.   Budzik’s   role   in

Ms. Buddenberg’s discipline: William Leahy and Robert Wolff. (ECF No. 209-2; ECF

No. 210-2.) She has a third expert, Michael Abouserhal, who opines on whether the

District could have funded the fiscal coordinator position in its 2017 budget instead

of eliminating it as part of a reorganization.       (ECF No. 148-3.)    In response,

Mr. Budzik relies on an expert of his own (ECF No. 154-1), which Plaintiff rebuts

through one of her previously disclosed experts (ECF No. 156-1).

      The District Defendants, but not Carolyn Weisdack as the administrator of the

estate of Robert Weisdack, move to strike Plaintiff’s experts as to them.        (ECF

No. 270.) Plaintiff opposes the motion. (ECF No. 273.)

             C.1.   Expert Opinions

      No party has moved under Rule 104(a) for an order in limine precluding the

testimony of any expert in whole or in part. Under Rule 702 as now in effect, the

Court need not “make a finding of reliability in the absence of objection.” Fed. R.

Evid. 702 advisory committee’s note to 2023 amendment.          Therefore, the Court

declines to do so sua sponte. However, this does not mean that all opinions that the

parties intend to present are admissible. To tackle that question, the Court begins

by summarizing the opinions of the experts that the parties proffer.

                                           58
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 59 of 183. PageID #: 15661




                    C.1.a. William B. Leahy

        William Leahy is an attorney, legal ethics consultant, and adjunct law

professor. (ECF No. 209-2, PageID #10711.) He has been a litigator for over 30 years

and has served as the ethics chair of two law firms—Thompson Hine and

Buckingham, Doolittle & Burroughs—for a total of 15 years. (Id., PageID #10711.)

Since 2006, Mr. Leahy has advised law firms on conflicts and other ethical issues and

testified as an expert legal ethical witness in several cases. (Id., PageID #10712.)

Also, he has served on the Ohio State Bar Association Grievance Committee. (Id.)

Plaintiff retained Mr. Leahy to opine on the conduct of Mansour Gavin, and

principally Mr. Budzik, under the Ohio Rules of Professional Conduct in its

representation of the District in 2016 and 2017. (Id.)

        Mr. Leahy opines that Mr. Budzik’s law firm, Mansour Gavin, violated

Rule 1.7(a)(2) of the Ohio Rules of Professional Conduct, which governs conflicts of

interest. (Id., PageID #10722.) Mr. Leahy views the District as “seeking outside

counsel’s objective, unbiased personnel policy audit” as “in effect, a different client”

than the District “seeking legal assistance to summarily punish Ms. Buddenberg.”

(Id.)

        Namely, Mr. Leahy distinguishes between Embleton’s role in performing the

audit and Mr. Budzik’s role in Ms. Buddenberg’s discipline. (Id., PageID #10722–23.)

He characterizes Mr. Budzik’s role as “in effect, the prosecutor of a protected

whistleblower.”   (Id., PageID #10723.)      Further, he sees Mr. Budzik’s role as

“conflicted diametrically with Embleton’s role as an objective factfinder.” (Id., PageID

#10723.) Mr. Leahy opines that “[e]thically” Embleton could not share information
                                          59
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 60 of 183. PageID #: 15662




he learned during his personnel audit with Mr. Budzik; and, conversely, Mr. Budzik

could not adequately represent the District because he did not have the information

that Embleton did. (Id. PageID #10723.) In this way, the firm at which the two

lawyers work had an “irreconcilable and incurable” conflict.” (Id.)

      Despite their ethical obligation to screen one another, Mr. Leahy sees evidence

that a “cross-fertilization” of information between the two occurred, resulting in

prejudice to Ms. Buddenberg.        (Id.)        Mr. Leahy bases his conclusion on

communications listed on Mr. Budzik’s privilege log bearing the names of both

attorneys, several of which Embleton authored. (Id.) Obviously, Mr. Leahy does not

know the specific content of those messages. (Id.) Further, Mr. Leahy stated that

Ms. Buddenberg can testify that Mr. Budzik shared information during their off-the-

record meeting that she originally shared in confidence with Embleton. (Id.)

      Because the conflict of one lawyer is attributed to others at the same firm, in

Mr. Leahy’s opinion, Embleton could not have punished Ms. Buddenberg given his

role in the audit. Therefore, Mr. Budzik could not either. (Id., PageID #10724.)

Further, Mr. Leahy sees Mr. Budzik acting not as a “chaperone” to Mr. Weisdack but

as the Commissioner himself. (Id., PageID #10722 & #10724.) “Budzik took control

of the entire [disciplinary] process, becoming the principal rather than the advisor.”

(Id., PageID #10722.) Because Mr. Budzik drafted the notice of discipline, conducted

the hearing, and engaged in off-the-record conversations with Ms. Buddenberg,

Mr. Leahy says that for all intents and purposes he “WAS the Geauga County Health

Commissioner.” (Id., PageID #10724.)



                                            60
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 61 of 183. PageID #: 15663




      In addition to Rule 1.7(a)(2), Mr. Leahy opines that Mr. Budzik violated

Rule 4.2 (governing communications with represented persons) and the District’s

policy manual by failing to inform Ms. Buddenberg that she was entitled to legal

counsel at her hearing—advising only that she had a right to be represented. (ECF

Id., PageID #10719 & #10725.) Given the information Mr. Budzik received at the

hearing, he should “have adjourned . . . and ceased any further communication with

Ms. Buddenberg until she had retained counsel.” (Id., PageID #10726.)

      Finally, Mr. Leahy sees a violation of Rule 4.3, which imposes a duty on an

attorney to correct an unrepresented person’s misunderstanding about the lawyer’s

role in the matter because he failed explicitly to describe his role in the hearing as an

adversary representing the interests of the District.       (Id., PageID #10726.)     In

violation of Rule 4.4(a), which prohibits using measures that have no substantial

purpose but to harass or burden another, Mr. Leahy describes Mr. Budzik’s conduct

during the hearing as “unnecessarily aggressive, dismissive, and disrespectful.” (Id.,

PageID #10726.) But he does not include the audio of the pre-disciplinary hearing

among the materials he reviewed. (Id., PageID #10713.)

                    C.1.b. Robert M. Wolff

      Robert Wolff is a retired lawyer who practiced labor and employment law for

almost forty years, including as the managing partner at Duvin, Cahn & Hutton and

Littler Mendelson. (ECF No. 210-2, PageID #11285–86.) He also served as the chief

labor and employment counsel at the City of Cleveland. (Id.) Over the course of his

career, he represented many public and private employers, including local

governments. (Id., PageID #11286.) Mr. Wolff opines that Mr. Budzik became an
                                           61
  Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 62 of 183. PageID #: 15664




active participant in retaliation either intentionally or through willful blindness. (Id.,

PageID #11316.) He spends considerable time in his report evaluating the merits of

Ms. Buddenberg’s retaliation claims. (Id., PageID #11307–16.) When discussing the

role of Mr. Budzik, Mr. Wolff concludes that, although the District retained

Mr. Budzik as legal counsel, his role was more “business than legal.” (Id., PageID

#11307.)

        Mr. Wolff opines that Mr. Budzik ignored Ms. Buddenberg’s reports of

retaliation and participated in retaliatory conduct against Ms. Buddenberg. (Id.,

PageID #11309.) Even a cursory investigation into Ms. Buddenberg’s claims would

have shown Mr. Budzik that “Ms. Buddenberg already had a prima facie case of

discrimination.” (Id., PageID #11309.) Instead, “Mr. Budzik acted like an offensive

lineman doing whatever necessary to protect his quarterback’s scheme to retaliate.”

(Id.)

        Further, Mr. Wolff opines that Ms. Buddenberg’s disciplinary charges “present

a hornbook example of pretext.” (Id., PageID #11310.) “Mr. Budzik’s conduct was

simply not within the bounds of appropriate lawyering.” (Id., PageID #11314.) In

addition to drafting the “grossly pretextual” disciplinary charges, he “removed his

lawyer hat” and became a partner in punishing Ms. Buddenberg for reporting

concerns to the Board by running the pre-disciplinary hearing, ignoring exculpatory

evidence, and actively participating in later adverse job actions. (Id.) In effect, in

Mr. Wolff’s opinion, Mr. Budzik became “an active and direct agent of unlawful

retaliation.” (Id., PageID #11314.) Mr. Wolff concludes by stating that, in his “forty-



                                           62
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 63 of 183. PageID #: 15665




plus years of practice,” he has “never seen an evidentiary record of retaliation as

compelling and troubling as what befell Rebecca Buddenberg.” (Id., PageID #11316.)

Instead of advising the Board that Mr. Weisdack acted illegally, Mr. Budzik

facilitated or ignored the conduct “and in so doing became an active partner in

Weisdack’s and the Board’s retaliation against Ms. Buddenberg.” (Id.)

                   C.1.c. Michael Abouserhal

      Ms. Buddenberg retained Mr. Abouserhal to prepare an expert financial report

to determine whether the District could have funded Ms. Buddenberg’s position as

fiscal coordinator position within its 2017 budget. (ECF No. 148-3, PageID #1013.)

Mr. Abouserhal is an inactive certified public accountant and has served in various

financial roles for various governmental entities for nearly forty years. (Id., PageID

#1019.)

      No party cites Mr. Abouserhal’s report or opinions in any brief, but Mr. Wolff

relies on it in his expert report.   (ECF No. 210-2, PageID #11287 & #11305.)

Mr. Abouserhal opines, to a reasonable degree of professional certainty, that the

District did not have budgetary constraints necessitating the elimination of

Ms. Buddenberg’s fiscal coordinator position in 2017.      (ECF No. 148-3, PageID

#1014.) He bases this conclusion on an analysis of the District’s 2017 unencumbered

cash balance, general fund expenditures, savings from attrition, and carryover funds

identified in the District’s annual financial report. (ECF No. 148-3, PageID

#1014–16.)

      Relying on Mr. Abouserhal’s findings, Mr. Wolff opines that the District’s

budgetary explanation for eliminating the position of fiscal coordinator was a pretext
                                         63
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 64 of 183. PageID #: 15666




for retaliation. (ECF No. 210-2, PageID #11313.) Further, he states that Mr. Budzik

was involved in eliminating Ms. Buddenberg’s fiscal coordinator position because

there were five entries on a privilege log between Mr. Budzik, Mr. Weisdack, and

other Board members around the time the District abolished the position. (Id.,

PageID #11305 & #11313.) As a result of eliminating the position, if Ms. Buddenberg

succeeded in appealing her discipline and subsequent demotion, she would have had

no position to which to return. (Id., PageID #11313.)

                   C.1.d. Mr. Budzik’s Expert and Plaintiff’s Rebuttal

      In the interest of providing a working description of the expert opinions in the

record on summary judgment, the Court summarizes the opinions of Mr. Budzik’s

expert and Plaintiff’s rebuttal, even though they are not the subject of a motion.

                          C.1.d.i. R. Todd Hunt (Mr. Budzik’s Expert)

      Mr. Budzik proffers the opinions of Todd Hunt, a partner at Walter Haverfield.

(ECF No. 154-1, PageID #1107.) Mr. Hunt has practiced law in the public sector and

as in-house and outside counsel for nearly 40 years. (Id., PageID #1107.) He has

extensive experience representing public-sector clients through civil service

disciplinary matters, personnel disputes, and other litigation. (Id., PageID #1108.)

      Mr. Hunt offers three opinions: (1) Mr. Budzik acted within the applicable

standard of care and the duties he owed to the District; (2) the District made the

decision to discipline Ms. Buddenberg—not Mr. Budzik, who lacked the authority to

discipline or alter the terms and conditions of her employment; and (3) Mr. Budzik

complied with his ethical obligations and the rules of professional conduct in

representing the District. (Id., PageID #1108–09.) Additionally, he offers opinions

                                          64
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 65 of 183. PageID #: 15667




on Mr. Budzik’s role in conducting the pre-disciplinary hearing. (Id., PageID #1117.)

He had “no obligation or authority to halt” the hearing because of Ms. Buddenberg’s

retaliation claims—the Board could have still disciplined Ms. Buddenberg for any

workplace policy violations. (Id.) Further, during the hearing, in Mr. Hunt’s opinion,

Mr. Budzik played a ministerial role at the hearing that did not exceed his role as

counsel. (Id., PageID #1118.) Finally, Mr. Hunt opines that the hearing complied

with the legal requirements for a pre-deprivation hearing.       (Id., PageID #1119

(discussing Loudermill v. Cleveland Bd. of Educ., 470 U.S. 532 (1985).)

      Mr. Hunt addresses two other matters. First, as to advising Ms. Buddenberg

of her right to legal counsel, Mr. Hunt opines that, while the District’s personnel

manual uses the phrase “legal representation,” “any reasonably intelligent person

would determine the term ‘representation’ . . . mean[t] “legal representation.” (Id.,

PageID #1119.) Second, he explains at length his opinion that Mr. Budzik complied

with his ethical obligations and the rules of professional conduct.       (Id., PageID

#1126–30.) Specifically, Mr. Hunt sees no conflict of interest between the roles of

Embleton and Mr. Budzik in representing the District. (Id., PageID #1126.) He

concludes that their roles were “clearly separated in time and substance,” and “each

engagement was entirely different.” (Id.) For this reason, there was no material

impairment of Mr. Budzik’s ability to “consider, recommend, or carry out an

appropriate course of action for the District” in violation of Rule 1.7(a)(2). (Id.,

PageID #1127 (cleaned up).)




                                         65
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 66 of 183. PageID #: 15668




                           C.1.d.ii. Plaintiff’s Rebuttal (by Mr. Leahy)

      In rebuttal, Plaintiff offered a second report by William Leahy.             (ECF

No. 156-1.) Mr. Leahy challenges Mr. Hunt’s qualifications to opine on legal ethics,

stating that “[p]racticing law, or even litigating cases for many years, alone does not

qualify one as a legal ethics expert.” (Id., PageID #1135.) Beyond that, Mr. Leahy

reiterates the facts and conclusions from his initial report and again opines that

Mr. Budzik violated the Ohio Rules of Professional Conduct. (Id., PageID #145–46.)

             C.2.   Motion to Strike

      As against them, the District Defendants (other than the estate of

Mr. Weisdack) move to strike the opinions of Mr. Leahy and Mr. Wolff.              (ECF

No. 270.) In support of their motion, they advance two arguments. First, they

contend that Plaintiff “did not comply with Civil Rule 26(a)(2)(B) et seq before offering

expert opinions against these Defendants.” (Id., PageID #15074.) But the record

refutes this claim. Plaintiff timely disclosed these experts and their reports.

                    C.2.a. Scope of the Opinions Offered

        Second, the District Defendants rely on statements and representations at

the depositions of Mr. Leahy and Mr. Wolff. In setting out their assignments in this

case, each expert reports an engagement limited to opining about Mr. Budzik.

Mr. Leahy states that he was retained “to analyze and evaluate the conduct of

Mansour Gavin LPA (“Mansour”), principally Counsel James Budzik.”                  (ECF

No. 209-2, PageID #10712.) Similarly, Mr. Wolff reports that he was engaged “to

opine, on behalf of Plaintiff Rebecca Buddenberg, regarding the role played by James

Budzik, an attorney retained by the Geauga County Health District in January 2017

                                           66
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 67 of 183. PageID #: 15669




to advise the Board on certain personnel and disciplinary matters involving Rebecca

Buddenberg and her former supervisor Dan Mix.” (ECF No. 210-2, PageID #11285.)

      At their depositions, Plaintiff’s counsel objected to any questioning by counsel

other than Mr. Budzik’s counsel “because the opinion is offered against Mr. Budzik

and Mr. Budzik alone.” (ECF No. 209-1, PageID #10602; ECF No. 210-1, PageID

#11087 (substantially similar).) Each expert agreed that he had no opinion against

any party other than Mr. Budzik. (ECF No. 209-1, PageID #10607; ECF No. 210-1,

PageID #11103.)

      In opposition, Plaintiff urges denial of the motion to strike “because the passing

references to Robert M. Wolff’s and William B. Leahy’s expert reports and testimony

[in Plaintiff’s summary judgment briefing], while not crucial, are relevant to the

summary-judgment arguments.” (ECF No. 273, PageID #15084.) Regarding the

objections at the experts’ depositions, Plaintiff argues that counsel for the District

Defendants proceeded to question each witness. (Id., PageID #15089.)

      The District Defendants filed their motion largely in response to the Court’s

decision to enforce the expert disclosure requirements on the spoliation issue. (ECF

No. 237, PageID #13102–04.) Besides the Defendants’ complaints about compliance

with Rule 26, Plaintiff timely disclosed the reports to all Defendants. (ECF No. 148,

PageID #949 (Plaintiff’s expert reports tendered on July 14, 2022).) The District

Defendants were aware of each expert’s opinions and the extent to which each expert

referenced the District well before summary judgment briefing began.           Neither

Mr. Budzik’s counsel nor counsel for Mr. Weisdack’s estate objected to these reports.



                                          67
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 68 of 183. PageID #: 15670




As Plaintiff points out, the District Defendants’ counsel had an opportunity to depose

each expert. (ECF No. 273, PageID #15089.)

      Given the nature of the allegations against Mr. Budzik, it is difficult if not

impossible to separate each expert’s opinions and strictly limit their application only

to him, particularly in the present procedural posture. Indeed, both the District

Defendants’ and Mr. Budzik incorporate by reference their respective summary

judgment motions.     (See ECF No. 258, PageID #14686; ECF No. 268-3, PageID

#15022.) For these reasons, the Court DENIES the District Defendants’ motion to

strike. (ECF No. 270.)

                     C.2.b. Opinions of Experts on the Law

      Summary judgment ultimately depends on admissible evidence. See North

Am. Specialty Ins. Co. v. Myers, 111 F.3d 1273, 1283 (6th Cir. 1997); cf. Fed. R. Civ.

P. 56(c)(2).   The Court has the authority to address preliminary questions of

admissibility for evidence. See Fed. R. Evid. 104(a); Bourjaily v. United States, 483

U.S. 171, 175–78 (1987).     Rule 704 makes clear that expert testimony is “not

objectionable because it embraces an ultimate issue to be decided by the trier of fact.”

Fed. R. Evid. 704. But the Rule does not allow experts to opine broadly on the legal

issues in dispute.    There is an important difference between admissible expert

testimony “that suggest[s] the answer to the ultimate issue or that give[s] the jury all

the information from which it can draw inferences as to the ultimate issue” and

inadmissible expert testimony on the “ultimate question of liability.” Berry v. City of

Detroit, 25 F.3d 1342, 1353 (6th Cir. 1994) (recognizing that Rule 704 does not admit

expert testimony on whether police conduct amounts to deliberate indifference
                                          68
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 69 of 183. PageID #: 15671




because it embraces the ultimate legal question of liability, not subsidiary issues

suggesting the answer to that question). As an obvious example, an expert may opine

that the DNA on a murder weapon belongs to the defendant, but may not opine that

that fact proves the defendant’s guilt. Put another way, an expert may not invade

the province of the court by conveying or expressing legal standards or terminology

to the jury. See Torres v. County of Oakland, 758 F.2d 147, 150–51 (6th Cir. 1985).

      In Torres, the Sixth Circuit concluded that a question posed to an expert which

asked whether the plaintiff had been discriminated against because of her national

origin was improper because the question “track[ed] almost verbatim the language of

the applicable statute,” and the term “discrimination” had a specialized meaning in

the law not commonly understood in its lay use. Id.; see also Killion v. KeHE Distribs.,

LLC, 761 F.3d 574, 592–93 (6th Cir. 2014) (upholding exclusion of an expert report

that “reads as a legal brief”). In contrast, expert testimony on the standard of care a

professional must exercise in carrying out his obligations may be admissible, so long

as the other prerequisites of Rule 702 and the disclosure obligations of Rule 26 are

satisfied. See, e.g., Babb v. Maryville Anesthesiologists P.C., 942 F.3d 308, 317 (6th

Cir. 2019); see also McGowan v. Cooper Indus. Inc., 863 F.2d 1266, 1272–73 (6th Cir.

1988) (noting the admissibility of expert testimony regarding custom and practice

within an industry).

      Applying these principles here, the bulk of the opinions proffered by the

lawyers retained as experts cross the line into impermissible expert testimony. As

an initial matter, the parties largely use their experts as mouthpieces to reiterate



                                          69
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 70 of 183. PageID #: 15672




their legal arguments and to amplify their briefing on the ultimate legal questions at

issue.    For example, Mr. Wolff’s report repeatedly uses the terms “retaliation,”

“discrimination,” and “pretext” to describe Mr. Budzik’s conduct and role. (See ECF

No. 210-2, PageID #11309–16.)          Relying on the report of financial expert

Mr. Abouserhal (ECF No. 148-3), Mr. Wolff opines that the District’s budgetary

explanation for eliminating the fiscal coordinator position was “pretextual.” (ECF

No. 210-2, PageID #11305 & 11313.) Similarly, Mr. Budzik’s expert recounts case

law on retaliation and applies it to the facts of the case. (See ECF No. 154-1, PageID

#1121–22.)

         Instead of providing testimony on issues that would allow a reasonable juror

to apply the Court’s instructions to find that Ms. Buddenberg suffered from

discriminatory retaliation or not, the experts do battle as lawyers do. They offer

opinions to argue their competing conclusions of liability or not using specialized legal

terminology, Torres, 758 F.2d at 151, based on their arguments about and

interpretations of the applicable legal standards, Babb, 942 F.3d at 317. No matter

how “uniquely experienced” each expert might be in his respective field, “he is not

qualified to compete with the judge in the function of instructing the jury.” Berry, 25

F.3d at 1354 (quoting Hygh v. Jacobs, 961 F.2d 359, 364 (2d Cir. 1992)). Nor is such

testimony helpful for the jury within the meaning of Rule 702. See Woods, 110 F.3d

at 1220–21.

         Therefore, on summary judgment, the Court disregards the opinions of the

lawyers offered as experts to the extent that they merely restate their understanding



                                           70
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 71 of 183. PageID #: 15673




of the record and offer competing opinions on whether the District or Mr. Budzik

participated in or facilitated discriminatory retaliation. Id. at 1353. Overall, these

legal conclusions disguised as expert opinions do “little more than tell the jury what

result to reach.” Woods v. Lecureux, 110 F.3d 1215, 1220 (6th Cir. 1997). Moreover,

the parties may not create or defeat an issue of fact for trial simply by retaining

experts to make their legal arguments disguised as opinions to be offered to a jury.

However, these experts may opine on the standard of care applicable to a lawyer in

Mr. Budzik’s shoes and testify about industry customs and practices and whether the

relevant parties acted according to those practices.     Babb, 942 F.3d at 317–18;

McGowan, 863 F.2d at 1272–73.

      As a final clarifying note, the Court will consider Mr. Abouserhal’s expert

report in its entirety but disregard Mr. Wolff’s interpretation of the findings as

leading to a conclusion of pretext.

                                ORAL ARGUMENT

      Plaintiff requests oral argument on her motion for summary judgment under

the Court’s Civil Standing Order, which provides for argument as of right when a

party certifies that a younger lawyer will present the argument. (ECF No. 221,

PageID #12023.) After that certification, the younger lawyer Plaintiff certified would

present argument changed firms (see ECF No. 225), and Plaintiff withdrew her

request for oral argument under the Court’s Civil Standing Order (ECF No. 295).

      After careful review of the summary-judgment record, the Court exercises its

discretion not to hold oral argument.       As summarized above, during pretrial



                                         71
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 72 of 183. PageID #: 15674




management of this case, the Court held numerous status conferences and hearings

on and off the record that provided it with ample familiarity with the parties’

respective claims and defenses and their competing views of the facts. Further, the

parties’ briefs adequately frame the issues for review. And after the hearing on

Defendants’ motion for sanctions, the Court afforded the parties supplemental

briefing to address the matters raised. On this record, the Court finds that ruling

without oral argument better serves the interest of judicial economy.

                                     ANALYSIS

      Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). On a motion for summary judgment, “the judge’s

function is not . . . to weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986). “The party seeking summary judgment has the initial

burden of informing the court of the basis for its motion” and identifying the portions

of the record “which it believes demonstrate the absence of a genuine issue of material

fact.” Tokmenko v. MetroHealth Sys., 488 F. Supp. 3d 571, 576 (N.D. Ohio 2020)

(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). The non-moving party must

then “set forth specific facts showing there is a genuine issue for trial.” Id. (citing

Anderson, 477 U.S. at 250).

      “When the moving party has carried its burden under Rule 56(c), its opponent

must do more than show there is some metaphysical doubt as to the material facts.”



                                          72
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 73 of 183. PageID #: 15675




Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The

Court, instead, determines “whether the evidence presents a sufficient disagreement

to require submission to a jury” or whether the evidence “is so one-sided that one

party must prevail as a matter of law.” Anderson, 477 U.S. at 251–52. In doing so,

the Court must view the evidence in the light most favorable to the non-moving party.

Kirilenko-Ison v. Board of Educ. of Danville Indep. Schs., 974 F.3d 652, 660 (6th Cir.

2020) (citing Matsushita Elec. Indus. Co., 475 U.S. at 587).

      If a genuine dispute exists, meaning “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party,” summary judgement is not

appropriate. Tokmenko, 488 F. Supp 3d at 576 (citing Anderson, 477 U.S. at 250). If

the evidence, however, “is merely colorable or is not significantly probative,”

summary judgment for the movant is proper. Id. The “mere existence of some factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007) (quoting Anderson,

477 U.S. at 247–48).

      “Just as plaintiff may not rely on conclusory allegations to proceed past the

pleading stage, so too a plaintiff may not rely on conclusory evidence to proceed past

the summary-judgment stage.” Viet v. Le, 951 F.3d 818, 823 (6th Cir. 2020) (cleaned

up). “Conclusory statements unadorned with supporting facts are insufficient to

establish a factual dispute that will defeat summary judgment.”         Id.   (quoting

Alexander v. CareSource, 576 F.3d 551, 560 (6th Cir. 2009)).




                                         73
     Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 74 of 183. PageID #: 15676




         “[W]here, as here, the parties filed cross-motions for summary judgment, ‘the

court must evaluate each party’s motion on its own merits, taking care in each

instance to draw all reasonable inferences against the party whose motion is under

consideration.’” McKay v. Federspiel, 823 F.3d 862, 866 (6th Cir. 2016) (quoting Taft

Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir. 1991)). Therefore, cross-

motions for summary judgment do not warrant granting summary judgment unless

one of the parties is entitled to judgment as a matter of law on facts that are not

genuinely disputed. Langston v. Charter Twp. of Redford, 623 F. App’x 749, 755 (6th

Cir. 2015).

I.       Federal Claims

         Plaintiff argues that the prior rulings in this case constrain the Court’s inquiry

on summary judgment on several “core retaliation issues” as the “law of the case.”

(ECF No. 221, PageID #12066 n.2 & #12069; ECF No. 269, PageID #15046–47.)

Namely, Plaintiff relies on the Sixth Circuit’s conclusion in its ruling on Mr. Budzik’s

interlocutory appeal from the denial of qualified immunity that the First Amendment

protects Ms. Buddenberg’s speech. (ECF No. 221, PageID #12069 & #12072 (citing

Buddenberg, 939 F.3d at 739–40).) Further, she points to the Sixth Circuit’s ruling

that Mr. Budzik was not entitled to qualified immunity and that he took adverse

employment action against her. (ECF No. 221, PageID #12075 (citing Buddenberg,

939 F.3d at 737, 740).) Also, Plaintiff relies on the Court’s ruling that she pled

“sufficient facts [in her complaint] to allege that Mr. Budzik was a state actor.” (ECF

No. 263, PageID #14903 (quoting Buddenberg, 2018 WL 3159052, at *4).)



                                             74
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 75 of 183. PageID #: 15677




      The law-of-the-case doctrine precludes a court “from reexamining an issue

previously decided by the same court, or a higher court in the same case.” Bowling v.

Pfizer, Inc., 132 F.3d 1147, 1150 (6th Cir. 1998) (citation omitted). This doctrine is a

“prudential practice” rather than a binding rule of substantive law. Howe v. City of

Akron, 801 F.3d 718, 739 (6th Cir. 2015). “[T]he doctrine merely directs a court’s

discretion, it does not limit the tribunal’s power.” Arizona v. California, 460 U.S. 605,

618 (1983) (internal quotations omitted).

      A judgment denying a motion to dismiss “does not establish the law of the case

for the purposes of summary judgment, when the complaint has been supplemented

by discovery.” McKenzie v. BellSouth Telecomms., 219 F.3d 508, 513 (6th Cir. 2000)

(affirming a subsequent grant of a summary judgment for the defendants under the

former qui tam whistleblower statute after the Sixth Circuit had previously reversed

dismissal under Rule 12(b)(6)). In fact, the Sixth Circuit has “held that the law of the

case doctrine does not apply to earlier proceedings where a different legal standard

governs.” In re B & P Baird Holdings, Inc., 759 F. App’x 468, 477–78 (6th Cir. 2019).

      Moreover, a decision on qualified immunity is generally more appropriate at

summary judgment rather than on a motion to dismiss given the fact-intensive

nature of the inquiry. See Wesley v. Campbell, 779 F.3d 421, 433–34 (6th Cir. 2015)

(collecting cases). Therefore, a district court may reconsider the applicability of

qualified immunity at summary judgment after an initial interlocutory appeal based

on a motion to dismiss. See Behrens v. Pelletier, 516 U.S. 299, 309 (1996) (allowing

two interlocutory appeals for qualified immunity from denials of both a motion to



                                            75
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 76 of 183. PageID #: 15678




dismiss and summary judgment because “the legally relevant factors bearing” on the

determination “will be different on summary judgment rather than on an earlier

motion to dismiss”); see also Buddenberg, 939 F.3d at 742 (“Budzik is therefore not

entitled to qualified immunity at this phase of the litigation.”) (emphasis added);

Buddenberg, 2018 WL 3159052 at *4 (finding the qualified immunity determination

too premature at the motion to dismiss stage and indicating that it may be raised

later if Defendants can “develop[] a factual record to support it”).

      In the prior decisions, the Court and the Sixth Circuit repeatedly

acknowledged that the ruling were based only on the facts alleged. See Buddenberg,

939 F.3d at 738–41; Buddenberg, 2018 WL 3159052 at *2, *4. In the intervening time

between the Sixth Circuit’s decision and the summary-judgment briefing, the parties

engaged in substantial discovery.      This discovery proved some facts alleged in

Plaintiff’s second amended complaint but also surfaced others that were not pled or

not previously known and, therefore, unaccounted for in the rulings made at the

pleading stage. In this procedural posture, then, where the record remains materially

unchanged such that the evidentiary record supports the determination made at the

pleading stage, the Court applies the law of the case doctrine. But where discovery

supplements the allegations of the pleadings, the law-of-the-case doctrine does not

bar the Court’s consideration on summary judgment of issues decided at the motion

to dismiss stage. McKenzie, 219 F.3d at 513.

      I.A.   First Amendment Retaliation (Count 5)

      In certain circumstances, the First Amendment protects the right of a public

employee to speak as a citizen on matters of public concern. Garcetti, 547 U.S. at 417.
                                          76
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 77 of 183. PageID #: 15679




Because government employees often have the best position to know “what ails the

agencies for which they work,” there is “considerable value” in protecting their

speech. Lane v. Franks, 573 U.S. 228, 236 (2014) (quoting Waters v. Churchill, 511

U.S. 661, 674 (1994) (plurality opinion)). But the speech of public employees does not

receive absolute protection. While public employees do not forfeit all their First

Amendment rights by taking public employment, an employer has a competing and

strong countervailing interest in the efficient operation of its workplace, which after

all discharge duties imposed by law that presumably serve the public interest. Id.

Therefore, a government worker cannot “constitutionalize the employee grievance.”

Connick, 461 U.S. at 154.

      Analyzing such claims involves a three-step inquiry to determine whether the

plaintiff engaged in protected speech. See Connick, 461 U.S. at 144–54; Garcetti, 547

U.S. at 421; Pickering v. Board of Educ., 391 U.S. 563, 568 (1968). If a plaintiff did

not engage in protected speech, her First Amendment retaliation claim fails as a

“pure” matter of law. Mayhew v. Town of Smyrna, 856 F.3d 456, 462–464 (6th Cir.

2017). Although these questions might appear to present questions of fact, or at least

mixed questions of law and fact, the Sixth Circuit consistently holds that “the

protected status of an employee’s conduct” presents “solely [a question] of law.” Id.

(collecting cases). In most cases, however, questions regarding the protected status

of speech involve no material disputes of fact. See, e.g., Westmoreland v. Sutherland,

662 F.3d 714, 718 (6th Cir. 2011); Fox v. Traverse City Area Pub. Schs. Bd. of Educ.,

605 F.3d 345, 351 (6th Cir. 2010) (“Even if the question were purely a question of fact



                                          77
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 78 of 183. PageID #: 15680




. . . the district court properly granted summary judgment because the factual record

presents no genuine issue for trial.”). But the parties dispute nearly all factual

questions and legal issues in this case, complicating the task here.

              I.A.1. Matter of Public Concern

       The Court begins by examining whether the employee’s “speech may be fairly

characterized as constituting speech on a matter of public concern.” Dambrot v.

Central Mich. Univ., 55 F.3d 1177, 1186 (6th Cir. 1995) (internal citations and

quotations omitted). The framework for deciding whether speech relates to a matter

of public concern is “not well defined.” Snyder v. Phelps, 562 U.S. 443, 452 (2011).

An individual’s motives for speaking are not dispositive on the issue. Stinebaugh v.

City of Wapakoneta, 630 F. App’x 522, 527 (6th Cir. 2015). A public employee might

have self-serving motives (or high-minded ones), but whatever her motives the focus

remains on the employee’s speech itself. Mosholder v. Barnhardt, 679 F.3d 443, 450

(6th Cir. 2012) (quoting Chappel v. Montgomery Cnty. Fire Prot. Dist. No. 1, 131 F.3d

564, 575 (6th Cir. 1997)).        But banal workplace disputes resulting in “the

quintessential employee beef: [that] management has acted incompetently” are not

entitled to First Amendment protection. Haynes v. City of Circleville, 474 F.3d 357,

365 (6th Cir. 1988).

       To determine whether Plaintiff spoke as a matter of public concern, the Court

looks to the “content, form, and context of [her] statement, as revealed by the whole

record.” Connick, 461 U.S. at 147–48. Speech involves a matter of public concern

where it can be “fairly considered as relating to any matter of political, social, or other

concern to the community, or when it is a subject of legitimate news interest; that is
                                            78
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 79 of 183. PageID #: 15681




a subject of general interest and of value and concern to the public.” Lane, 573 U.S.

at 241. Matters of public concern differ from “those only of private interest,” and

speech   that    exposes   “governmental       inefficienc[ies],   mismanagement,   or

misappropriation ‘of public money are matters of considerable public significance.’”

Stinebaugh, 630 F. App’x at 527 (quoting Garcetti, 547 U.S. at 425). Matters of public

concern typically include allegations of corruption, government mismanagement,

misconduct, and discrimination. Kirkland v. City of Maryville, Tenn., 54 F.4th 901,

908 (6th Cir. 2022).

      Picking up on the distinction between matters of public and private interest,

Defendants argue that this case presents a prototypical example of a run-of-the-mill

workplace dispute between an employee and her boss that does not present any

matter of public concern within the meaning of the First Amendment. Plaintiff

responds that she reported matters of public concern to the Board, including a conflict

of interest, sex-based pay disparities, instances of Mr. Weisdack’s maladministration

and severe mistreatment and abuse of her and other employees, and retaliation.

Further, she maintains that Defendants concede this issue, citing the deposition

testimony of Mr. Weisdack and various Board members agreeing that these issues

constitute matters of public concern. (See ECF 180-1, PageID #2037–38, #2117,

#2122 & #2152–53; ECF No. 179-1, PageID #1590–91, #1593–99 & #1605; ECF

No. 186-1, PageID #3282 & #3286–87; ECF No. 188-1, PageID #3689–90, #3696 &

#3701–03; ECF No. 189-1, PageID #4003–04, #4008–10 & #4012–16.)




                                          79
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 80 of 183. PageID #: 15682




      As a threshold matter, whether speech involves a matter of public concern

presents a question of law. Connick, 461 U.S. at 148 n.7; Handy-Clay v. City of

Memphis, 695 F.3d 531, 543 (6th Cir. 2012) (citing Hughes v. Region VII Area Agency

on Aging, 542 F.3d 169, 180 (6th Cir. 2008)); Bonnell v. Lorenzo, 241 F.3d 800, 809–10

(6th Cir. 2001). Therefore, the testimony and concessions on which Plaintiff relies do

not ultimately determine whether Ms. Buddenberg spoke on matters of public

concern. Indeed, such testimony is not admissible. See Torres, 758 F.2d at 151.

                    I.A.1.a. Pay Disparity, Self-Dealing, and Retaliation

      Taking the subjects of Ms. Buddenberg’s statements to the Board on sex-based

pay disparity, the tire contract, and retaliation on their face, the record as a whole

leaves little doubt that she spoke on matters of public concern. See Whitney v. City

of Milan, 677 F.3d 292, 297 (6th Cir. 2012) (allegation of discrimination is a matter

of public concern); See v. City of Elyria, 502 F.3d 484, 493 (6th Cir. 2007) (allegation

of possible corruption is a matter of public concern); Bonnell, 241 F.3d at 817

(allegation of retaliation is a matter of public concern). In this respect, the record

bears out Plaintiff’s allegations and the conclusion the Sixth Circuit previously

reached. Buddenberg, 939 F.3d at 739.

                    I.A.1.b. Mismanagement

      Defendants counter that Plaintiff’s personal motivation for reporting to the

Board predominates over any interest she had as a member of the public regarding

these topics; therefore, her speech does not touch on a matter of public concern. But

a public employee’s mixed or even selfish motives are not the focus of the analysis.

Kirkland, 54 F.4th at 908 (holding that a police officer’s social media post accusing a

                                          80
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 81 of 183. PageID #: 15683




sheriff of sex discrimination and political retribution presents a matter of public

concern, despite their “long contentious personal history” that might have motivated

the speech). What the employee says matters, not why she said it. Mosholder, 679

F.3d at 450; Chappel, 131 F.3d at 575. To be sure, at times the Sixth Circuit treats

an employee’s self-interest as removing the speech from the umbrella of addressing a

matter of public concern. See, e.g., Naghtin v. Montague Fire Dist. Bd., 674 F. App’x

475, 479–81 (6th Cir. 2016) (holding that a fire chief’s statements did not touch on a

matter of public concern in part because of the personal benefits he stood to gain by

speaking). Such circumstances tend to arise where an employee speaks about morale

or internal office politics. Id. (collecting cases).

       In that respect, Ms. Buddenberg’s report of general mismanagement presents

a different question. Mere allegations of managerial incompetence or other internal

personnel issues do not touch on matters of public concern. See, e.g., id.; Barnes v.

McDowell, 848 F.2d 725, 735 (6th Cir. 1988). “The First Amendment does not require

a public office to be run as a roundtable for employee complaints over internal office

affairs.” Connick, 461 U.S. at 148. Perhaps mismanagement, abuse of employees, or

similar matters might be so pervasive or extreme as to rise to the level of a public

concern. If so, the generalized grievances Ms. Buddenberg raised fall short of such a

standard, even construing the record on summary judgment in her favor.

       Plainly, Ms. Buddenberg held Mr. Weisdack in contempt and thought the

District would operate more efficiently and provide better services to the public

without him. Most of the operational concerns she reported to the Board related to



                                             81
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 82 of 183. PageID #: 15684




internal policy decisions Mr. Weisdack made about how to run the District. These

sorts of complaints, even if justified and meritorious, fall outside the protections of

the First Amendment. See Barnes, 848 F.2d at 735; Rahn v. Drake Ctr., Inc., 31 F.3d

407, 414 (6th Cir. 1994) (holding that an employee’s press release, complaining about

new leadership and other internal office policy, constituted an unprotected “employee

grievance”).

               I.A.2. Pursuant to Plaintiff’s Job Duties

      Next, the Court determines whether the employee spoke as a private citizen

and not pursuant to her official job duties. Haddad v. Gregg, 910 F.3d 237, 244 (6th

Cir. 2018) (quoting Mayhew, 856 F.3d at 462).           The Supreme Court has not

“articulate[d] a comprehensive framework for defining the scope of an employee’s

duties in cases where there is room for serious debate.” Garcetti, 547 U.S. at 424.

Instead, “the proper inquiry is a practical one,” id., but still a question of law, see

Mayhew, 856 F.3d at 462–63 (rejecting argument that job duties presents a mixed

question of fact and law); Fox, 605 F.3d at 350 (collecting cases).

      Both the context and content of the speech matter. Fox, 605 F.3d at 348. In

Garcetti, 547 U.S. at 421, the Supreme Court defined speech made “pursuant to” a

public employee’s job duties as “speech that owes its existence to a public employee’s

professional responsibilities.” There, this inquiry was straightforward because the

plaintiff admitted that his speech was part of his official job duties. Id. at 424. But

most cases, including this one, are not so simple. Knowledge acquired through public

employment does not automatically remove speech from the protections of the First

Amendment. Lane, 573 U.S. at 240. Instead, the issue is whether the employee
                                          82
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 83 of 183. PageID #: 15685




speaks pursuant to one’s job duties or “merely relay[s] information he learned while

on the job in a way that did not affect his duties.” DeWyse v. Federspiel, 831 F. App’x

759, 762 (6th Cir. 2020) (quoting Fledderjohann v. Celina City Sch. Bd. of Educ., 825

F. App’x 289, 294 (6th Cir. 2020)).

      Garcetti cautions against construing a public employee’s job duties too

narrowly, underscoring that “[f]ormal job descriptions often bear little resemblance

to the duties an employee actually is expected to perform.” 547 U.S. at 424–25.

Therefore, “the listing of a given task in an employee’s written job description is

neither necessary nor sufficient to demonstrate that conducting the task is within the

scope of the employee’s professional duties for First Amendment purposes.” Id. at

425. Even ad hoc duties can fall within an employee’s responsibilities for purposes of

determining whether the First Amendment protects her speech.              Davidson v.

Arlington Cmty. Sch. Bd. of Educ., 847 F. App’x 304, 309 (6th Cir. 2021) (citations

omitted).

      Under the law of this Circuit, an employee’s speech that does not enjoy First

Amendment protection receives a narrow construction and is limited to “speech that

an employee made in furtherance of the ordinary responsibilities of his employment.”

Boulton v. Swanson, 795 F.3d 526, 534 (6th Cir. 2015). Making that determination

requires consideration of several factors from a non-exhaustive list, including the

goals the speaker sought to advance, whether the speech occurred on the clock or in

the workplace, the audience, and its general subject matter. See, e.g., DeCrane v.

Eckart, 12 F.4th 586, 596 (6th Cir. 2021). In a case such as this, where there is room



                                          83
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 84 of 183. PageID #: 15686




for serious debate whether a public employee spoke pursuant to her job duties, the

Court is left with an inherently difficult task given the intense fact-specific inquiry

needed to answer this legal question. See Garcetti, 547 U.S. at 424–25. In doing so,

the Court applies the summary judgment standard, construing the record in favor

the non-moving party on each cross-motion.

                    I.A.2.a. Plaintiff’s Job Description and Motivation

      Defendants argue that Ms. Buddenberg spoke pursuant to her job duties,

motivated by her animosity toward Mr. Weisdack. Plaintiff responds that her job

description did not include reporting misconduct to the Board and contends that the

public interest compelled her speech, namely her concern as a tax-paying citizen for

the proper functioning of the District. Without question, the record establishes that

none of Ms. Buddenberg’s official job duties explicitly included reporting misconduct

to the Board. Also, it leaves little doubt that Ms. Buddenberg performed duties

differing from those on her official job description. But these facts do not end the

inquiry. As Garcetti makes clear, job duties alone do not determine the capacity in

which a public employee speaks. Rather, the inquiry is more involved and requires

consideration of the broader motivation and context of the speech. Weisbarth v.

Geauga Park Dist., 499 F.3d 538, 545 (6th Cir. 2007).

      In Haynes, 474 F.3d at 361, for example, a police officer was terminated after

he complained to his supervisor about cutbacks to a canine training program the

officer helped administer. In response to the cutbacks, the police officer wrote a memo

expressing his discontent and wrapped his equipment in wrapping paper, attaching

a note that read, “Do not open until Christmas”—two actions the officer was not
                                          84
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 85 of 183. PageID #: 15687




obligated to perform. See id. at 360–61. Nonetheless, the Sixth Circuit held that the

officer wrote the memo pursuant to his job duties—not because the officer’s job

description required him to complain to supervisors, but because the complaints arose

out of his day-to-day duties as a police officer. Id. at 364.

                            I.A.2.a.i. Arising from Job Duties

      Like the police officer in Haynes, Ms. Buddenberg’s reports about the tire

contract arose from her day-to-day activities.        In her role as fiscal coordinator,

Ms. Buddenberg handled workers’ compensation. (ECF No. 203-1 PageID #8496.)

Also, she had responsibility for payments to contractors. (Id., PageID #8503–04.)

Without a formal contract in place for the tire clean up, she would not have been able

to fulfill this job responsibility. (Id., PageID #8566–67.) In her letter to the Board

after the meeting, she stated that she feared discipline had she not reported this

issue. (ECF No. 215-1, Page ID #11806.)

      If assumed for purposes of summary judgment, rightly or wrongly, that

Ms. Buddenberg had no obligation to report misconduct (in the form of a self-dealing

contract), the record establishes that she learned about the tire contract through her

job duties, and at least its procedural propriety affected the day-to-day performance

of her job. Without a proper contract, she could not authorize payment. Here, her

report “bore all the markers of official action.” Henderson v. City of Flint, 751 F. App’x

618, 622 (6th Cir. 2020).

       For   the   gender-pay    disparity,     the   record    presents   a   closer   call.

Ms. Buddenberg testified that she learned of the issue internally from several

individuals, including the female employee and her supervisor. (ECF No. 203-1,
                                           85
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 86 of 183. PageID #: 15688




PageID #8527–29.)        These individuals likely approached Plaintiff because she

managed payroll and could verify such a disparity, but also because they expected a

sympathetic audience. Defendants point out that Ms. Buddenberg raised this issue

only after she reported the tire contract and the Board asked whether she had any

other concerns to raise. Setting aside the fact that it appears this episode was likely

contrived, the Board asked Ms. Buddenberg to provide information about additional

grievances—arguably placing her in a position to speak outside the specific issue

regarding the tire contract that prompted her report to the Board in the first place.

Still, Ms. Buddenberg’s speech about the pay disparity and other matters involving

Mr. Weisdack’s conduct and management arose out of her work as his direct

subordinate. See Davidson, 847 F. App’x at 309. But a public employee may speak

outside her job duties even where her knowledge arises pursuant to her job duties.

Lane, 573 U.S. at 240.

      On Defendants’ motion for summary judgment, the Court construes the record

in favor of Plaintiff and assumes that the Board’s invitation to Ms. Buddenberg to

speak to matters other than the tire contract took her report outside her job duties,

even if her knowledge arose entirely from her work. Additionally, Ms. Buddenberg’s

speech on the gender pay disparity does not entirely relate to her job duties.

Accordingly, in the Court’s view, the procedural posture dictates the conclusion that

Ms. Buddenberg spoke, at least arguably, outside of her job duties on the gender pay

issue. With respect to the gender pay disparity, this conclusion reflects the Sixth




                                          86
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 87 of 183. PageID #: 15689




Circuit’s prior conclusion that this report was outside her job duties. See Buddenberg,

939 F.3d at 740.

                          I.A.2.a.ii. Moral Obligation

      To argue that Plaintiff’s speech does not receive protection under the First

Amendment, Defendants rely on Ms. Buddenberg’s contemporaneous statements in

text messages, her draft ethics complaint, and correspondence with the Board that,

when she reported to the Board, she was “just doing [her] job.” (ECF No. 205-5,

PageID #9366; see also, e.g., ECF No. 195-35, PageID #5275.) As with the District

Defendants’ position regarding matters of public concern, the term “pursuant to a

public employee’s job duties” has a “separate and distinct specialized meaning in the

law different from that present in the vernacular.” Torres, 758 F.2d at 151 (citing

United States v. Hearst, 563 F.2d 1331, 1351 (9th Cir. 1977)). Therefore, the evidence

on which Defendants rely is not dispositive on the question whether Ms. Buddenberg

spoke pursuant to her job duties. Indeed, in the current procedural posture construed

in Plaintiff’s favor, Ms. Buddenberg’s statements receive a more colloquial meaning

that any citizen in her position would do the same or that she was not undertaking a

supererogatory action.

      For her part, Plaintiff encourages the Court to construe her speech more

broadly—divorced from reference to her job—and on the basis that she spoke on a

matter of public concern. (See ECF No. 269, PageID #15047–50 & 15059–62.) But

speaking on a matter of public concern does not take an employee’s speech outside of

her job duties. See Garcetti, 547 U.S. at 423.



                                          87
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 88 of 183. PageID #: 15690




      Also, Plaintiff emphasizes that because she had not previously reported

misconduct to the Board, her speech must lie outside the scope of her job duties. But

she provides no authority for this proposition. To the contrary, while “Plaintiff’s

mission may have been motivated by [her] perceived public interest purpose,”

“however laudable, Plaintiff’s quest” does not remove her reports from the scope of

her job duties. Haddad v. Gregg, 910 F.3d 237, 249–50 (6th Cir. 2018). Good

intentions alone do not shortcut the legal analysis. Because ad hoc or de facto duties

can fall under an employee’s official responsibilities, the fact that October 24, 2016

was the first time Ms. Buddenberg made a report to the Board does not compel the

conclusion that she spoke as a citizen, see Mayhew, 856 F.3d at 465; Davidson, 847 F.

App’x at 309, particularly because she raised concerns about Mr. Weisdack as the

Commissioner.

      Additionally, Plaintiff argues that her motivations in speaking to the Board

stemmed from her sense of moral obligation—not from her duties as the District’s

fiscal coordinator. (ECF No. 203-1, PageID #8538–42.) But both can be true at the

same time.    Ms. Buddenberg could have worried about the ethics, propriety, or

appearance of the tire contract, the pay disparity issue, or retaliation, and reporting

such misconduct still could fall within her job responsibilities. In the richness of the

human experience, people often act with mixed motivations.

                    I.A.2.b. Setting and Audience of the Speech

      Defendants argue that the setting and audience of Ms. Buddenberg’s speech

show that she spoke pursuant to her job duties. (ECF No. 217, PageID #11924–25.)

Plaintiff’s initial report to the Board was made on-the-clock during an executive
                                          88
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 89 of 183. PageID #: 15691




session. This factor makes the speech more likely to be unprotected, “speech as a

government agent” as compared to protected citizen-speech. DeCrane, 12 F.4th at

596. On the other hand, the Board determines when it meets and cannot transform

the speech of a citizen who happens also to be a public employee into work-related

speech simply by holding its meetings during the business day. And, as discussed,

Ms. Buddenberg raised the gender pay disparity at the Board’s invitation to step

outside her official duties.

       Also, Defendants argue that Ms. Buddenberg merely went up the chain of

command with her reports of misconduct. Plaintiff maintains that her reports of

retaliation circumvented the chain of command and that it was unusual to report

directly to the Board—in fact the Board had not previously convened to interface

directly with another employee besides the commissioner. (ECF No. 188-1 PageID

#3682.) Recently, the Sixth Circuit noted that “internal escalations of concerns or

grievances . . . directly relat[ing] to or otherwise concern[ing] an employee’s day-to-

day activities” suggest that an employee spoke pursuant to her job duties instead of

as a private citizen. Ashford v. University of Michigan, ___ F.4th ___, ___, 2024 WL

94275, at *7 (6th Cir. Jan. 9, 2024) (citing Mayhew, 856 F.3d at 464–65; Haynes, 474

F.3d at 364).

       Here, there can be no dispute that the audience of Plaintiff’s speech was her

supervisors and the Board. Plaintiff raised the gender pay disparity with

Mr. Weisdack five months before speaking to the Board.         For the tire contract,

Plaintiff testified that she had discussed it with Mix before reporting to the Board.



                                          89
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 90 of 183. PageID #: 15692




(ECF No. 203-1, PageID #8520–21.) Before going to the Board with a complaint of

retaliation, Ms. Buddenberg communicated with Mix, her supervisor. On October 25,

2016, Mix and Ms. Buddenberg spoke about her treatment from other employees

following her report to the Board the day before. (ECF No. 208-2, PageID #10432.)

In Mix’s declaration, he attested that they communicated about her safety following

the October 2016 Board meeting given Mr. Weisdack’s “volatile” temper.          (ECF

No. 194-5, PageID #4594.)    Also, he recounted the “cold treatment from her co-

workers” following Ms. Buddenberg’s initial report to the Board. (Id.)

      Additionally, Defendants argue that reporting to the Board does not go outside

the chain of command because Ms. Buddenberg followed the District’s grievance

procedures. (ECF No. 258, PageID #14672.) The policy instructs employees to bring

their grievances to the Board if their supervisors and the Commissioner do not

adequately address the problem.      (See ECF No. 215-1, PageID #11809–10.)        In

response, Plaintiff argues that this procedure does not apply to her speech because

her speech was not a “grievance” under the manual.           (ECF No. 269, PageID

#15050–51.) On this point, the District’s grievance procedures contain an ambiguity.

Unlike in Mayhew, for example, where the employee was required to report to

management, 856 F.3d at 464–65, here, the District’s policies are silent on an

employee’s obligation when reporting the workplace misconduct of the Commissioner,

who otherwise has responsibility for all such reports and discipline. (ECF No. 195-14,

PageID #5135.)




                                         90
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 91 of 183. PageID #: 15693




      On its face, the policy contemplates a supervisor or the Commissioner being

available for purposes of raising an issue or complaint, with the Board serving an

appellate function if an employee finds the Commissioner’s resolution of an issue

unsatisfactory—a different circumstance than reporting to the Board in the first

instance because the Commissioner is the source of the complaint or grievance.

      In the current procedural posture, there are material questions regarding

whether and how the policy would apply to a complaint or grievance against the

Commissioner. Therefore, the Court cannot say, when construing the record in

Plaintiff’s favor (even though she spoke to her supervisor and the Board), that the

setting or audience of Ms. Buddenberg’s speech removes her report about the gender

pay disparity or complaints of retaliation to the Board and individual Board members

from the protections of the First Amendment.

                     I.A.2.c. Practical Inquiry

      When it comes to Plaintiff’s motion for summary judgment, Defendants might

be right that Ms. Buddenberg spoke to the Board pursuant to her job duties. Garcetti

instructs that this inquiry must be a “practical” one. 547 U.S. at 424. That practical

view might well regard Ms. Buddenberg as speaking pursuant to her job duties for at

least two reasons.

      First, Plaintiff provides no evidence and makes no argument that her speech

or its subjects was ever relayed to anyone outside the District or any member of the

public more broadly.     Plaintiff did not speak to a broader audience than her

supervisor or the Board. Instead, she spoke on the gender pay disparity during an

executive session and brought her claims of retaliation to Board members
                                         91
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 92 of 183. PageID #: 15694




individually and the Board privately—conduct not typical for ordinary citizens

speaking on matters of public concern.

      Plaintiff argues that Haynes supports her position because the Sixth Circuit

emphasized there that the police officer spoke “solely to his superior” in its

determination that he spoke pursuant to his job duties. (ECF No. 269, PageID

#15051–52); Haynes, 474 F.3d at 364. While Ms. Buddenberg did “go above and

beyond her immediate superior” in reporting misconduct (ECF No. 269, PageID

#15052), she attributes too much weight to this detail. Where courts find that an

employee spoke as a private citizen in this context, usually, the employee directed

her speech to a third party or spoke with a broader audience in mind. Such was the

case in the recent Ashford ruling where a university police officer did not speak

pursuant to his job duties where he voiced concerns to a journalist about the

department’s handling of a sexual assault investigation. Ashford, 2024 WL 94275, at

*7–8; see also Aquilina v. Wriggelsworth, 759 F. App’x 340, 346 (6th Cir. 2018)

(holding that a judge engaged in speech as a citizen where she allowed a reporter to

view an assault captured on video by courtroom surveillance, because the reporter’s

involvement implied an eventual public audience); Westmoreland, 662 F.3d at 719–20

(holding that a fire-rescue diver’s speech enjoyed First Amendment protection

because it occurred while he was off-duty, out-of-uniform, and at a public city council

meeting even though it concerned policies within his department). Admittedly, the

question here is close. But these considerations suggest that Ms. Buddenberg spoke

as an employee. Garcetti, 547 U.S. at 423 (describing “communications between . . .



                                          92
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 93 of 183. PageID #: 15695




government employees and their superiors in the course of official business” as

unprotected); Aquilina, 759 F. App’x at 345 (describing speech having an “ultimate

[public] audience” as falling outside of an employee’s job duties).

      Second, by comparison to Richard Ceballos, the prosecutor in Garcetti,

Ms. Buddenberg spoke pursuant to her job duties. As a deputy district attorney for

the Los Angeles County District Attorney’s Office, Ceballos served as a professional

with independent obligations of disclosure and candor to the judiciary. Ceballos’s

speech concerned what he thought to be serious misrepresentations in an ex parte

affidavit for a search warrant. Garcetti, 547 U.S. at 414. Although Ceballos had

independent obligations as an attorney, and notwithstanding the ex parte nature of

the underlying proceeding, the Supreme Court concluded that his supervisors had a

“heightened interest in controlling [his] speech” because Ceballos did not speak as a

citizen when he raised concerns about the criminal case. Id.

      In contrast, Ms. Buddenberg operated in a largely administrative position in a

county health department. She concedes that she was not a policy maker—she did

not exercise much independent discretion or authority.         (ECF No. 221, PageID

#12036.)   Her daily responsibilities included assisting with financial work and

budgeting, processing payroll and accounts payable, and coordinating employee

benefits. (ECF No. 194-38; ECF No. 180-1, PageID #1980.)              On average, these

activities carry less significance than a prosecutor’s obligations in the administration

of justice within another branch of government.




                                          93
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 94 of 183. PageID #: 15696




      None of this is to denigrate Ms. Buddenberg or to imply that her role has any

less importance than that of any other government employee. But by comparison, it

is difficult to see how she spoke as a citizen if Ceballos did not on the facts presented

in Garcetti. Taking a practical view of Ms. Buddenberg’s statements in light of their

setting, audience, and subject matter, her speech “owes its existence to her

professional responsibilities” at the District. Weisbarth, 499 F.3d at 544 (quoting

Garcetti, 547 U.S. at 421–22). Therefore, her speech is not protected by the First

Amendment and her claim fails as a matter of law. See id. “To hold otherwise would

be to demand permanent judicial intervention in the conduct of governmental

operations to a degree inconsistent with sound principles of federalism and the

separation of powers.” Garcetti, 547 U.S. at 423.

                                     *     *      *

      In the present procedural posture, on Defendants’ motions for summary

judgment, the Court assumes but does not decide that Ms. Buddenberg spoke as a

citizen, not pursuant to her job duties, when reporting to the Board on the gender pay

disparity and her claims on retaliation. On Plaintiff’s motion for summary judgment,

construing the facts in favor of Defendants, the Court determines that

Ms. Buddenberg spoke pursuant to her job duties such that her speech is not entitled

to the protections of the First Amendment. In short, on Plaintiff’s motion only,

considering the facts and circumstances presented, the First Amendment does not

“shield[]” her from discipline and there need not be a “delicate balancing” of her

interests in addressing matters of public concern and the District’s interests as an

employer. Garcetti, 547 U.S. at 423–24.
                                           94
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 95 of 183. PageID #: 15697




             I.A.3. Pickering Balancing

       But because of the closeness of the question whether Ms. Buddenberg spoke

pursuant to her job duties, and because that determination might depend on the

procedural posture, the Court undertakes the balancing the Supreme Court

articulated in Pickering and its progeny to determine whether the employee’s interest

in “commenting on matters of public concern” outweighs the employer’s interests “in

promoting the efficiency of the public services it performs.” Pickering, 391 U.S. at

568.   Defendants maintain that they had an adequate justification to discipline

Ms. Buddenberg because she disrupted the efficient operation of the District.

Plaintiff counters that the District has no legitimate interest that outweighs her

interest in reporting official misconduct.

                    I.A.3.a. Degree of Protection for Speech

       The analysis begins “by determining the degree of protection the speech

warrants, i.e., the level of importance the speech has in the community.” Bennett v.

Metropolitan Gov’t of Nashville & Davidson Cnty., Tenn., 977 F.3d 530, 538 (6th Cir.

2020). The value of an employee’s speech can range from very limited to expression

occupying “the highest rung” of protection. See id. In Bennett, the Sixth Circuit held

that the public would have little interest in a racial slur that an employee of a

municipal police department posted on social media. Id. at 538–39. The court

contrasted the employee’s post with instances where governmental employees might

“expos[e] the innerworkings of government organizations to the public,” id. at 539—

speech arguably enjoying greater protection, see, e.g., See, 502 F.3d at 493 (collecting

cases) (describing a patrol officer’s statement to the FBI exposing possible corruption

                                             95
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 96 of 183. PageID #: 15698




in the police department as “exactly the type of statements that demand strong First

Amendment protections”).

      Here, Ms. Buddenberg’s speech falls somewhere between the social media post

in Bennett and the patrol officer’s statements to federal investigators in See, but closer

to the latter. Although Ms. Buddenberg did not speak on political or policy matters

that lie at the core of the First Amendment’s protections, without question, speaking

about official misconduct favors the employee’s side of the balance. Lane, 573 U.S. at

242); Marohnic v. Walker, 800 F.2d 613, 616 (6th Cir. 1986). Ms. Buddenberg’s report

of a gender pay disparity and later of retaliation for making that report address

matters of public concern that the law protects. Although Ms. Buddenberg did not

report either publicly, at a public Board meeting or to the press as the public’s

representative, that fact does not alter the character of the issues on which she spoke.

      All the facts and circumstances in the record on summary judgment, construed

in favor of Plaintiff, confirm the importance of Ms. Buddenberg’s speech and the

degree of protection it receives here. In making this determination, the Court weighs

the balance in favor of Plaintiff and disregards any mixed motivations

Ms. Buddenberg might have had in going to the Board. In doing so, the Court

recognizes that the legitimate interests of the government outweigh the employee’s

interest in disruptive speech made in furtherance of a “personal vendetta” where

public concern is “clearly subordinate.” McMurphy v. City of Flushing, 802 F.2d 191,

197–98 (6th Cir. 1986). But the parties contest Ms. Buddenberg’s motivations, so in




                                           96
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 97 of 183. PageID #: 15699




the current procedural posture the Court gives her the benefit of the doubt even

though a speaker’s motivation matters for purposes of Pickering balancing. See id.

                    I.A.3.b. The District’s Interests

      Plaintiff primarily relies on the content of her speech to argue that the

government has no interest in restricting it. Specifically, she maintains that the

District has an equal interest in “revealing [Mr.] Weisdack’s wrongdoing and wanting

a properly functioning organization.” (ECF No. 221, PageID #12073.) In this view,

the character of Ms. Buddenberg’s speech on matters of public concern outweighs any

countervailing interest or motivation for her speech, as the Sixth Circuit previously

held. Buddenberg, 939 F.3d at 740.

      But Plaintiff’s position sweeps too broadly. Factually, by reporting to the

Board, the proper authority with responsibility for oversight of the District,

Ms. Buddenberg evinced a recognition that the governmental employer has interests

at stake as well. Legally, Plaintiff cites several cases for the proposition that a

speaker’s motivation is immaterial for the Pickering analysis. (ECF No. 269, PageID

#15060–62.) However, the cases on which she relies address the relevance of the

speaker’s motivation in determining whether speech involves a matter of public

concern—not its weight in the Pickering balancing. In one, for example, the Sixth

Circuit noted that “consistent with the ‘content’ test of Connick, the pertinent

question [in the public concern analysis] is not why the employee spoke, but what he

said . . . .” Farhat v. Jopke, 370 F.3d 580, 591 (6th Cir. 2004). In another, the court

distinguished these inquiries: “[O]ur duty [under the public concern analysis prong]

is not to discern her underlying motivation, but rather to evaluate her point as it is
                                          97
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 98 of 183. PageID #: 15700




presented in the speech.” Rodgers v. Banks, 344 F.3d 587, 600 (6th Cir. 2003) (citing

Chappel, 131 F.3d at 575–76).

      This distinction matters because speech might involve a matter of public

concern—notwithstanding a speaker’s motivations—and still fail under Pickering.

See Farhat, 370 F.3d at 594. In the Pickering balance, the Court need not consider

Plaintiff’s speech “in a vacuum; the manner, time, and place of the employee’s

expression are relevant, as is the context in which the dispute arose.” Rankin v.

McPherson, 483 U.S. 378, 388 (1987). Accordingly, an employee’s right to comment

on matters of public concern is not absolute to the point of compromising the

government’s interest in “harmony among coworkers,” maintaining “close working

relationships for which personal loyalty and confidence are necessary,” or “the regular

operation of the enterprise.” Id. at 388; see also Connick, 461 U.S. at 150.

      Here, the record demonstrates that Defendants had real and substantial

interests in disciplining Ms. Buddenberg. In addition to those outlined to and by the

Board (ECF No. 195-19; ECF No. 204-13), the District has a legitimate interest in

maintaining a workplace capable of discharging its public duties effectively and

efficiently through its regular operations. Although Ms. Buddenberg raised matters

of public concern, by December 2016, the District took steps to address the pay

disparity (ECF No. 180-1, PageID #2073–74; ECF No. 197-42, PageID #6784) and

hired outside counsel to investigate Ms. Buddenberg’s concerns about Mr. Weisdack

that she raised during her initial report to the Board (ECF No. 195-1, PageID# 4876;

ECF No. 195-2, PageID #4878; ECF No. 196-47, PageID #5995).



                                          98
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 99 of 183. PageID #: 15701




      Moreover, without question, Ms. Buddenberg and Mr. Weisdack had their

personal issues—even before her report to the Board. Ms. Buddenberg spoke “after

a persistent dispute between [her and Mr. Weisdack] over office . . . policy.” Connick,

431 U.S. at 154. In this respect, her reports to the Board regarding his conduct

threatened his authority, and the Board was within its rights to side with

Mr. Weisdack—rightly or wrongly—particularly in the face of several instances of

serious misconduct by Ms. Buddenberg. Among other things, she had personnel files

(hers and Mix’s) in her office without authorization and acted insubordinately toward

Mr. Weisdack in front of other District employees. (ECF No. 204-13, PageID #8991.)

      The timing of Plaintiff’s speech bears on the inquiry too. Ms. Buddenberg

learned about the gender pay disparity some five months before she brought it to the

Board. Plaintiff thought it was “appropriate” finally to raise it when she had an

opportunity to address other aspects of Mr. Weisdack’s conduct—namely, the tire

contract. (ECF No. 203-1, PageID #8483, #8508, #8521–22 & #8541–42.) She claimed

that the “[t]iming on these tires was perfect”—because the issue came to a head as

Mr. Weisdack’s contract was up for renewal.        (ECF No. 205-5, PageID #9366.)

Plaintiff acted in no small part to prevent the rehiring of Mr. Weisdack, perhaps out

of a good-faith belief that the District would be better off without his leadership.

Unlike the police officer in Ashford though, this is not a case where Ms. Buddenberg

spoke publicly about policy or other matters that brought to light the inner workings

of government. 2024 WL 94275, at *7–8. Instead, she raised personnel matters,

admittedly important ones of public concern, within the meaning of the First



                                          99
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 100 of 183. PageID #: 15702




Amendment, where the government’s interests as an employer are at or near their

strongest. See Lane, 573 U.S. at 236.

      Two remaining points merit a brief mention.

      First, Plaintiff places great weight on her February 1, 2017 email about Mix’s

separation from the District. (ECF No. 194-29, PageID #4759.) In that email, which

ran more than six paragraphs, Ms. Buddenberg characterized the end of Mix’s

employment as a “dismissal” one time and as a resignation another. (Id.) In response,

Defendants inexplicably place even greater emphasis on what they argue is the falsity

of that statement. (See, e.g., ECF No. 217, PageID #11917; ECF No. 258, PageID

#14684.) In the most technical sense, Defendants might be right—Mix “resigned”

from his position at the District. (ECF No. 215-1, PageID #4664.) Factually, the

circumstances of his resignation make clear that he resigned rather than be fired. In

any event, Ms. Buddenberg is entitled to her commonsense opinion that Mix was

“dismissed.” Procedurally, construing the facts in favor of Plaintiff, she is entitled to

an inference that her opinion, expressed in the workplace, contrary to the official

position of the District motivated her discipline at least to some degree. In any event,

she is entitled to her opinion that Mix was fired—notwithstanding the technical label

the District used.    Indeed, reasonable minds might disagree about whether he

resigned or was fired as a practical matter.

      On a different set of facts, where this email provided the only basis for

discipline, Plaintiff’s interests in speaking might arguably outweigh any

countervailing interest on the part of the employer in maintaining an efficient



                                          100
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 101 of 183. PageID #: 15703




workplace. In that scenario, as Plaintiff describes it, the Defendants “side of the

Pickering scale [would be] entirely empty.” (ECF No. 221, PageID #12073 (citing

Buddenberg, 939 F.3d at 740).) But that is not the record presented on summary

judgment. Ms. Buddenberg engaged in other instances of serious misconduct that

independently warranted discipline—separate and apart from her reports to the

Board or the contested email. For example, she improperly stored personnel files in

her office (ECF No. 210-4, PageID #11349–51 & #11356) and was insubordinate when

raising her voice at Mr. Weisdack in front of other District employees (id., PageID

#11329).    And other less egregious charges support discipline based on

Ms. Buddenberg’s admissions at the hearing. (See id., PageID #11331–33, #11343,

#11361 & #11369.)     Notwithstanding Defendants’ insistence on this email as a

justification for Ms. Buddenberg’s discipline, these other instances of misconduct tip

the Pickering balance against Plaintiff.

      Second, Plaintiff maintains that Defendants have not met their burden in

demonstrating the disruptiveness of her speech. (ECF No. 269, PageID #15063–64.)

But the District did not have to wait for “events to unfold to the extent that the

disruption of the office and the destruction of working relationships is manifest.”

Connick, 614 U.S. at 152. Indeed, Mr. Weisdack was aware of the plan that Mix and

Ms. Buddenberg had to try to remove him from his position. (ECF No. 215-1, PageID

#11804.)   Even where an employee speaks on a matter of public concern, a

governmental employer’s reasonable predictions of disruption receive substantial

weight. Gillis v. Miller, 845 F.3d 677, 686 (6th Cir. 2017) (quoting Waters, 511 U.S.



                                           101
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 102 of 183. PageID #: 15704




at 673–74 (plurality opinion)). Actual disruption is not necessary. But the record

shows at least the early stages of insubordination and other misconduct on the part

of Ms. Buddenberg that would prompt the District to reasonably act to protect its

interests as an employer. After all, she undermined the Commissioner’s authority in

front of other employees and had personnel files in her office without authorization.

Such actions could reasonably disrupt operations at the District. See McMurphy, 802

F.2d at 198.

      On    balance,   Plaintiff   attempts    to   “constitutionalize   [her]   employee

grievance”—which the law does not allow, regardless of the merits of her grievance.

Connick, 461 U.S. at 154. Nor does subjecting the balance of Plaintiff’s speech—on

the self-dealing tire contract or even Mr. Weisdack’s overbearing, intimidating, and

harassing management style—to the Pickering balance alter this conclusion. In the

end, Ms. Buddenberg’s interests in speaking as she did on all these matters does not

outweigh the District’s interests as an employer and those of its Board. In its broader

context, based on the record construed in Plaintiff’s favor on summary judgment,

Ms. Buddenberg’s speech reflects an unprotected internal personnel dispute and

“touch[es] upon matters of public concern in only a most limited sense.” Connick, 461

U.S. at 152–54. “Prolonged retention of a disruptive or otherwise unsatisfactory

employee can adversely affect discipline and morale in the workplace, foster

disharmony, and ultimately impair the efficiency of an office or agency.” Id. at 151.

For all these reasons, Plaintiff’s First Amendment retaliation claim fails as a matter

of law.



                                         102
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 103 of 183. PageID #: 15705




             I.A.4. Remaining Issues

      To resolve the parties’ cross-motions for summary judgment on Plaintiff’s First

Amendment retaliation claim, the Court addresses two remaining loose ends.

                    I.A.4.a. Plaintiff’s Monell Claim

      On a theory that Mr. Weisdack, the Board, and Mr. Budzik ratified illegal

actions against her, Plaintiff brings a claim against the District under Monell v.

Department of Social Services, 436 U.S. 658 (1978). She argues that the District

failed to train Mr. Weisdack and that the District had a custom of tolerating “serial

civil-rights violations over seven months against” her.        (ECF No. 221, PageID

#12078–80.) Defendants argue that Plaintiff’s Monell claim fails because there is no

underlying constitutional violation or any pattern of past constitutional violations.

      “Monell holds that municipalities may be liable for the constitutional violations

of their employees only where the municipality’s policy or custom led to the violation.”

Roberston v. Lucas, 753 F.3d 606, 622 (6th Cir. 2014) (citing Monell, 436 U.S. at

694–95). A plaintiff can demonstrate that a municipality had a policy, practice, or

custom that caused the constitutional violation under Monell in four different ways:

“(1) the existence of an illegal official policy or legislative enactment; (2) that an

official with final decision making authority ratified illegal actions; (3) the existence

of a policy of inadequate training or supervision; or (4) the existence of a custom of

tolerance or acquiescence of federal rights violations.” Burgess v. Fischer, 735 F.3d

462, 478 (6th Cir. 2013).

      Plaintiff’s conclusory arguments that Defendants had a custom or practice of

violating her civil rights over time or failed to train Mr. Weisdack doubles as a First

                                          103
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 104 of 183. PageID #: 15706




Amendment claim against the District. See id. But there can be no Monell liability

without an underlying constitutional violation. Wilson v. Morgan, 477 F.3d 326, 340

(6th Cir. 2020).   Here, because Plaintiff cannot establish her First Amendment

retaliation claim as a matter of law, there can be no municipality liability under any

of these theories. Id. “If a person has suffered no constitutional injury at the hands

of [an individual officer], the fact that departmental regulations might have

authorized [unconstitutional conduct to occur] is quite beside the point.” City of Los

Angeles v. Heller, 475 U.S. 796, 799 (1986). For these reasons, that claim fails too.

                    I.A.4.b. First Amendment Claim Against Mr. Budzik

      Plaintiff’s inclusion of Mr. Budzik as a Defendant presents additional issues

that bear on summary judgment. As it relates to Plaintiff’s First Amendment claim,

the parties disagree about Mr. Budzik’s role (ECF No. 216-3, PageID #11834; ECF

No. 259, PageID #14709–10; ECF No. 263, PageID #14857–60), and the record fails

to resolve the matter definitively. In the current procedural posture, the Court

construes the record in Plaintiff’s favor in this regard and adopts Plaintiff’s factual

characterization: “Budzik went from chaperone to standing in Weisdack’s shoes.”

(ECF No. 263, PageID #14858.) In this regard, Plaintiff argues that Mr. Budzik

became a State actor based on a nexus theory where the private party’s conduct is

“fairly attributable to the state.” (Id., PageID #14901–06 (citing Lindsey v. Detroit

Ent., LLC, 484 F.3d 824, 827 (6th Cir. 2007).)

      At the pleading stage, the Court held that Plaintiff had sufficiently alleged that

Mr. Budzik was a State actor. Buddenberg, 2018 WL 3159052, at *3–4. Mr. Budzik

contends that he is not a State actor as a matter of law because “federal courts have
                                         104
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 105 of 183. PageID #: 15707




‘emphatically rejected’ claims that attorneys may be considered state actors against

whom an allegation of deprivation of constitutional rights . . . can be properly lodged.”

(ECF No. 216-3, PageID #11848–49 (collecting cases).)

      A public official is a State actor where he acts in pursuit of fulfilling

“governmental duties or [is] cloaked in the [State’s] authority,” including when his

“actions are controlled by the government.” Lindke v. Freed, 37 F.4th 1199, 1203 (6th

Cir. 2022).    Generally, attorneys do not become State actors through mere

representation of State or local governments. Horen v. Board of Educ. of Toledo City

Sch. Dist., 594 F. Supp. 2d 833, 841 (N.D. Ohio 2009); Freshwater v. Mount Vernon

City Sch. Dist. Bd. of Educ., No. 2:09-cv-464, 2010 WL 1434314, at *2 (S.D. Ohio Apr.

8, 2010); see also Polk Cnty. v. Dodson, 454 U.S. 312, 318–21 (1981) (holding that a

public defender employed by the State does not act under color of state law).

      Because the Court determined that Defendants are entitled to summary

judgment on Plaintiff’s First Amendment retaliation claim for the reasons explained,

the Court need not wade into the parties’ respective arguments on whether

Mr. Budzik was a State actor on the record presented in this case. Even assuming

he was, Ms. Buddenberg’s speech is not protected under the First Amendment as a

matter of law; therefore, Mr. Budzik has no liability on that claim in any event. See

Mayhew, 856 F.3d at 464 (holding that a viable First Amendment retaliation claim

requires that the plaintiff engage in constitutionally protected speech).

      I.B.    Other Retaliation Claims (Counts 1 and 3)

      Based on her reports to the Board and the EEOC, Plaintiff brings two other

federal retaliation claims: one under Title VII (Count 1) and the other under the Fair
                                          105
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 106 of 183. PageID #: 15708




Labor Standards Act (Count 3). Plaintiff does not claim that she was subject to

unequal pay based on her sex.        Instead, Ms. Buddenberg raised complaints of

discrimination on behalf of a third party, the District’s female employee who was paid

less than her male counterpart.

      Both Title VII and the FLSA protect employees who advocate on behalf of their

coworkers. See Johnson v. University of Cincinnati, 215 F.3d 561, 575 (6th Cir. 2000)

(Title VII); Pettit v. Steppingstone, 429 F. App’x 524, 530 (6th Cir. 2011) (FLSA).

Title VII prohibits retaliatory employment actions against employees who oppose,

make a charge of, or participate in proceedings relating to workplace practices that

violate the statute. See 42 U.S.C. § 2000e-3(a). Similarly, the FLSA’s anti-retaliation

provision provides that it “shall be unlawful for any person . . . to discharge or in any

other manner discriminate against any employee because such employee has filed

any complaint . . . under or related to this chapter.” 29 U.S.C. § 215(a)(3).

      The same general legal framework governs both claims. To prevail, a plaintiff

must show either direct or circumstantial evidence of retaliation. See Laster v. City

of Kalamazoo, 746 F.3d 714, 730 (6th Cir. 2014) (Title VII retaliation); Adair v.

Charter Cty. of Wayne, 452 F.3d 482, 489 (6th Cir. 2006) (FLSA retaliation).

             I.B.1. Direct Evidence

      “Direct evidence is that evidence which, if believed, requires the conclusion that

unlawful retaliation was a motivating factor in the employer’s action.” Abbott v.

Crown Motor Co., 348 F.3d 537, 542 (6th Cir. 2003) (emphasis added). Direct evidence

is not subject to more than one plausible interpretation and proves the existence of a

fact without any inferences or presumptions. Kocak v. Community Health Partners
                                          106
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 107 of 183. PageID #: 15709




of Ohio, Inc., 400 F.3d 466, 470 (6th Cir. 2005). Only the most blatant remarks

revealing retaliatory intent satisfy Plaintiff’s burden.   See Mansfield v. City of

Murfreesboro, 706 F. App’x 231, 235 (6th Cir. 2017) (quoting Sharp v. Aker Plant

Servs. Grp., Inc., 726 F.3d 789, 798 (6th Cir. 2013)).

      Plaintiff argues that she has direct evidence of retaliation. (ECF No. 259,

PageID #14745.) Specifically, she points to her February 1, 2017 email to Ms. Livers

regarding Mix’s departure from the District. Within the six full paragraphs of that

email, Ms. Buddenberg writes, “I cannot help but believe Dan’s dismissal was directly

a result of my reporting and his defending me for reporting.” (ECF No. 194-29,

PageID #4759.) In its position statement before the EEOC, the District cites this

email as one basis for disciplining Ms. Buddenberg. (ECF No. 195-36, PageID #5282.)

Plaintiff argues that Defendants’ reliance before the EEOC on this email, in which

she expressed her opinion regarding the reason for Mix’s separation from

employment, demonstrates unlawful retaliation as a matter of law because the

District admits imposing discipline based on Ms. Buddenberg’s speech contained in

the email. (See ECF No. 221, PageID #12077–78 & #12091–92.)

      Defendants deny that the record contains any direct evidence of retaliation.

(ECF No. 267, PageID #14988.) They argue that the position statement submitted to

the EEOC is not a binding admission and that it contains inadmissible hearsay. (ECF

No. 258, PageID #14687.) For purposes of summary judgment, the Court treats the

District’s position statement before the EEOC as an admission of a party opponent.

See Fed. R. Evid. 802(d)(2). Defendants reference no authority that such statements



                                          107
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 108 of 183. PageID #: 15710




cannot contain admissions or bind a party in later proceedings. In any event, Plaintiff

does not offer the email as a statement for the truth of the matter asserted (that Mix

did not resign and was fired).     Instead, it arguably provides some evidence of

retaliation or Defendants’ retaliatory motive.

      To prevail on a direct-evidence theory, the District’s statements must require

the conclusion that Ms. Buddenberg was retaliated against for reporting retaliation

against Mix, which was caused by her reports on the gender pay disparity. See

Abbott, 348 F.3d at 542. The District’s position statement at the EEOC stated that

Ms. Buddenberg’s opinion about the reason for Mix’s separation from employment,

communicated to a member of the Board provided an appropriate basis for discipline:

            On February 1, 2017, Ms. Buddenberg sent an email to Board of
      Health member Christina Livers stating that she believed former
      Administrator Dan Mix had been terminated due to Ms. Buddenberg’s
      prior report of alleged pay discrimination. A copy of that email is
      attached as Exhibit I. Mr. Weisdack was not copied on that email and
      has no knowledge of that email.

             Mr. Mix was not terminated, but rather resigned his employment
      effective February 1, 2017 in lieu of disciplinary action.
      Ms. Buddenberg’s statement that he was terminated was false and an
      appropriate basis for discipline.

(ECF No. 195-36, PageID #5282.)

      The EEOC position statement does not constitute direct evidence of retaliation.

The email at issue details Plaintiff’s concerns about retaliation waged against Mix.

Without question, reporting retaliation constitutes protected activity under Title VII

and the FLSA. Still, citing this email as one basis for disciplining Ms. Buddenberg

does not constitute direct evidence. To understand why, consider the case of Johnson

v. Kroger Co., 319 F.3d 858 (6th Cir. 2003). There, the Sixth Circuit determined that

                                         108
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 109 of 183. PageID #: 15711




four statements about an African American employee did not amount to direct

evidence of discrimination because of race. Those statements included a manager’s

expression of “concern about the potentially detrimental effect on business of having

an African-American comanager” and performance reviews that the employee lacked

initiative and ability.   But these statements did not provide direct evidence of

discrimination because they required inferential reasoning—for example, that the

decisionmakers attributed the employee’s lack of initiative to his race and not his

actual performance. Id. at 865. Here, concluding that the email amounts to direct

evidence requires additional inferences, for example, that the Board disciplined

Ms. Buddenberg because she reported retaliation and not out of a concern about what

she was telling her colleagues and co-workers if she articulated to a Board member

what the District considered false information and the resulting effect on morale

among other employees.

      In contrast, direct evidence compels a conclusion that unlawful retaliation was

a motivating factor in an employee’s discipline. See Johnson, 215 F.3d at 577 n.7

(determining that the statement “[w]e already have two black vice presidents. I can’t

bring in a black provost” presented direct evidence of discrimination).      But the

question is close. A supervisor’s “specific reference [to the employee’s] protected

statements as examples of insubordination” when terminating the employee provides

direct evidence. Yazidan v. ConMed Endoscopic Techs., Inc., 793 F.3d 634, 648 (6th

Cir. 2015). Arguably, the District’s EEOC position statement meets this standard.

It cites the email containing Ms. Buddenberg’s speech as one basis for her discipline.



                                         109
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 110 of 183. PageID #: 15712




By citing Plaintiff’s “protected statements as examples of insubordination,” id., a

reasonable jury might conclude under the law of this Circuit that retaliation was a

“motivating factor” in Plaintiff’s discipline, Abbott, 348 F.3d at 542.

      Even if the position statement provides direct evidence of unlawful retaliation,

the burden shifts to the employer to prove by a preponderance of the evidence that it

would have made the same decision absent the impermissible motive.” Chattman v.

Toho Tenax Am., Inc., 686 F.3d 339, 346–47 (6th Cir. 2012) (internal quotation marks

and citation omitted). Defendants must produce sufficient evidence to remove any

genuine issue or doubt that they would have disciplined Plaintiff regardless of any

improper motive. See Weigel v. Baptist Hosp. of E. Tenn., 302 F.3d 367, 382 (6th Cir.

2002). Here, the record even construed in Plaintiff’s favor leaves no doubt that the

District would have imposed the same discipline on Plaintiff regardless of her email.

As already discussed, the severity of her other charges—including improper storage

of personnel files in her office and insubordination in front of Mr. Weisdack and other

employees—demonstrates conduct sufficiently serious as to warrant the imposition

of discipline. No reasonable jury could find otherwise. Therefore, even if the District’s

position statement to the EEOC and its reliance on Ms. Buddenberg’s email to

Ms. Livers on February 1, 2017, treated as admissible for purposes of summary

judgment, presents direct evidence, Plaintiff’s claims of retaliation under Title VII

and the FLSA based on direct evidence fail as a matter of law.

             I.B.2. Circumstantial Evidence

      Because Plaintiff fails to prove her claims with direct evidence of retaliation,

the Court continues the analysis by applying the burden-shifting framework of
                                          110
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 111 of 183. PageID #: 15713




McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). See Jackson v. VHS Detroit

Receiving Hosp., Inc., 814 F.3d 769, 775–76 (6th Cir. 2016). Under that framework,

the plaintiff must first present a prima facie case of retaliation. Id.

      To establish a prima facie case of retaliation under Title VII, Plaintiff must

demonstrate that:     (1) she engaged in activity protected by Title VII; (2) the

defendants knew that she engaged in protected activity; (3) the defendants took an

action that was “materially adverse” to the plaintiff; and (4) a causal connection

existed between the protected activity and the materially adverse action. Laster, 746

F.3d at 730 (citations omitted). Similarly, to establish a prima facie case of retaliation

under the FLSA, an employee must establish: (1) participation in an activity that the

Fair Labor Standard Act protects; (2) the employer’s knowledge of the employee’s

exercise of this right; (3) an adverse employment action; and (4) a causal connection

between the protected activity and the adverse employment action. Adair, 452 F.3d

at 489.

      Here, the District Defendants do not dispute that Plaintiff engaged in

protected activity when she reported the gender pay disparity and retaliation to the

Board and that the District was aware of her reports. Defendants dispute only factors

three and four—that Ms. Buddenberg experienced an adverse employment action and

the causal connection between any such adverse action and her protected activity.

                    I.B.2.a. Adverse Employment Action

      Defendants argue that Plaintiff did not suffer an adverse employment action

because she resigned before any constructive discharge, her “planned demotion” does

not qualify as an adverse action, and she failed to exhaust her internal appeals. (ECF
                                           111
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 112 of 183. PageID #: 15714




No. 217, PageID #11925–27 & #11931.) Further, they add that the other matters

Plaintiff cites as evidence of retaliation, like Mr. Weisdack’s generally rude behavior,

are too trivial to qualify as “adverse.” (Id., PageID #11933–34.) Plaintiff responds

that “[u]nder any standard,” she faced a series of adverse employment actions. (ECF

No. 221, PageID #12088–91.)

                           I.B.2.a.i. Plaintiff’s Demotion

       Under Title VII, demonstrating a “materially adverse employment action”

requires a showing that “a reasonable employee would have found the challenged

action materially adverse, which in this context means it well might have dissuaded

a reasonable worker from making or supporting a charge of discrimination.” Laster,

746 F.3d at 731 (quoting Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68

(2006)). The context of any retaliation act matters, and the Court must consider the

“constellation of surrounding circumstances, expectations, and relationships”

involved. Burlington N., 548 U.S. at 69. The same general principles apply to

determining whether a plaintiff suffered a materially adverse action under the FLSA.

Id. at 66.

       Examples of materially adverse employment actions include “termination of

employment, a demotion evidenced by a decrease in wage or salary, a less

distinguished title, a material loss of benefits, significantly diminished material

responsibilities, or other indices that might be unique to a particular situation.”

Adair, 452 F.3d at 490. Here, Plaintiff has presented evidence that she was demoted

to a lesser position, suffered a pay cut, and lost accrued sick leave and vacation time.

(See ECF No. 204-13, PageID #8990–92; ECF No. 31, ¶ 124, PageID #396; ECF
                                          112
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 113 of 183. PageID #: 15715




No. 37, ¶ 86, PageID 467; ECF No. 195-14, PageID #5074.) Plaintiff has established

that she suffered a “materially adverse employment action” because a reasonable jury

could find that her demotion “might well have dissuaded a reasonable worker from

making or supporting a charge of discrimination.” Laster, 746 F.3d at 731.

      Defendants’ argument that Plaintiff’s harm never manifested because she

resigned before ever working in her demoted position is unavailing. Most of the

controlling case law on which they rely deals with discrimination claims. Proving an

adverse action under a retaliation claim is “less onerous” than in the discrimination

context because, for retaliation, a plaintiff need only clear a “relatively low bar.”

Michael v. Caterpillar Fin. Servs. Corp., 496 F.3d 584, 595–96 (6th Cir. 2007). Under

the law of this Circuit, the more liberal definition of an adverse action for retaliation

claims “permits actions not materially adverse for purposes of an anti-discrimination

claim to qualify as such in the retaliation context.” Id. at 596. For example, a

“supervisor’s refusal to invite an employee to lunch is normally trivial, a

nonactionable petty slight,” but under certain circumstances, that exclusion could

amount to a materially adverse retaliation action. See Burlington N., 548 U.S. at 69.

      Defendants rely on Kocsis v. Multi-Care Management Inc., 97 F.3d 876 (6th

Cir. 1996). (ECF No. 217, PageID #11931; ECF No. 258, PageID #14685.) There, the

Sixth Circuit held that a nurse did not suffer a materially adverse employment action

after being transferred to a new unit, partly because she never made a “real attempt

to compare the two positions before she filed her discrimination claim.” Id. at 887.

But Kocsis is distinguishable from Plaintiff’s case for two reasons. First, it was a suit



                                          113
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 114 of 183. PageID #: 15716




for discrimination—not retaliation—under the Americans with Disabilities Act, so

the nurse’s alleged adverse actions had to satisfy a higher standard. Second, the

nurse’s new position came with the “same (or a greater) rate of pay and benefits, and

her duties were not materially modified.” Id. at 886–87.

      Here, Plaintiff’s demotion came with a pay cut and loss of certain benefits, and

her duties became more clerical. She suffered more than a “de minimis employment

action.” Bowman v. Shawnee State Univ., 220 F.3d 456, 462 (6th Cir. 2000). It is

immaterial on this record that Plaintiff never worked a day in her new position nor

received a paycheck at the decreased rate. Plaintiff’s demotion clears the “relatively

low bar” needed for her retaliation claim. Michael, 496 F.3d at 584.

      Plaintiff alleges that she suffered from a slew of other adverse actions,

including the change in her work hours, Mr. Weisdack and other employees’

treatment of her, the disciplinary charges and pre-disciplinary hearing, and the

Defendants’ treatment of Mix. (ECF No. 221, PageID #12088–90.) But because she

has established her prima facie case for the adverse employment action on other

grounds, the Court need not decide whether these other actions qualify as materially

adverse. See Adair, 452 F.3d at 490.

                          I.B.2.a.ii. Exhaustion of Internal Appeals

      Next, Defendants argue that Plaintiff failed to exhaust the internal appeals

process within the District before pursuing this lawsuit; therefore, her demotion

cannot be “an adverse employment action until those [appeals] are exhausted.” (ECF

No. 217, PageID #217 (citing Benison v. Ross, 765 F.3d 649, 655 (6th Cir. 2014).)

Benison involved a First Amendment retaliation claim of a college professor who was
                                         114
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 115 of 183. PageID #: 15717




denied a promotion. The Sixth Circuit held that, because the professor still had

“several layers of internal review” for the denial of her promotion, she had not

suffered an adverse action. Id. at 659–60. Benison is distinguishable from Plaintiff’s

case on two bases. First, the standard for a First Amendment retaliation claim is

“distinct from the adverse-action used in traditional employment discrimination

claims, and the court must tailor the analysis . . . to the circumstances of this specific

retaliation claim.” Id. at 659 (cleaned up). Second, the denial of the professor’s

promotion was a “non-binding ‘intermediate decision.’” Id. at 659–60. No facts of

record here suggest that Plaintiff’s demotion and pay cut were not final decisions.

Indeed, the District implemented the disciplinary actions that the Board approved.

      While Plaintiff did prematurely dismiss her appeals, she was under no

obligation to pursue them further. Plaintiff exhausted her administrative remedies

under Title VII when she timely filed her charge with the EEOC and received a right-

to-sue letter. See Puckett v. Tennessee Eastman Co., 889 F.2d 1481, 1486 (6th Cir.

1989). (ECF No. 213-1, PageID #11742; ECF No. 213-2, PageID #11743.) The FLSA

has no exhaustion requirement or other procedural barrier to filing suit in federal

court. Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 740 (1981).

Therefore, a failure to exhaust her administrative appeals does not defeat Plaintiff’s

prima facie case.

                           I.B.2.a.ii. Constructive Discharge

      Plaintiff does not raise a separate constructive discharge claim. Instead, she

characterizes her “constructive discharge” as part of the adverse employment action

needed to fulfill her prima facie case. (See generally ECF No. 31; ECF No. 221,
                                           115
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 116 of 183. PageID #: 15718




PageID #12065; ECF No. 259, PageID #14733–35.) On the other hand, Defendants

treat Plaintiff’s allegations of constructive discharge as a separate claim, which

carries a higher burden. (See ECF No. 217, PageID #11925.) Some courts treat

constructive discharge claims as satisfying the element of the prima facie case for

retaliation requiring that a plaintiff experience an adverse employment action. See,

e.g., Jemison v AFIMAC Global, 645 F. Supp. 3d 781, 799–800 (N.D. Ohio 2022).

Whatever the case, the record on summary judgment construed in Plaintiff’s favor

allows Plaintiff to carry her burden on this element of her prima facie case based on

her demotion, change in duties, and reduction in responsibilities and salary.

Therefore, the Court need not decide whether she suffered a constructive discharge.

                   I.B.2.b. Causation

      Turning to this element of Plaintiff’s prima facie case, the parties start by

disputing the burden each bears on summary judgment. Plaintiff argues that, at the

summary judgment stage, the question is whether Defendants can rule out “a causal

connection between any particular set of acts,” not whether she can prove her prima

facie case. (ECF No. 259, PageID #14744.) In response, Defendants argue that any

plaintiff has the burden to “set forth facts showing that there is a genuine issue for

trial.” (ECF No. 267, PageID #14987 (citing Celotex Corp., 477 U.S. at 331).) Further,

they maintain that Plaintiff’s “shotgun pleading approach” prevents her from

establishing a prima facie case of retaliation. (ECF No. 217, PageID #11934–36.)

      Under the McDonnell Douglas framework, the plaintiff always carries the

initial burden of proving her prima facie case. See Imwalle v. Reliance Med. Prods.,

Inc., 515 F.3d 531, 544 (2008). Because of that initial burden, a defendant can
                                         116
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 117 of 183. PageID #: 15719




demonstrate that it is entitled to judgment as a matter of law by pointing out that

there is “an absence of evidence to support the [plaintiff’s] case.” Celotex Corp., 477

U.S. at 325. In the Court’s view, these standards are not in tension.           Under

longstanding summary-judgment practice, a defendant need not eliminate or rule out

issues of fact to prevail. Instead, as Defendants suggest, Plaintiff must produce or

point to specific facts in the record demonstrating a genuine issue for trial. See

Anderson, 477 U.S. at 247–48. For these reasons, Plaintiff’s burden on the elements

of her prima facie case, including causation, and on summary judgment when

Defendants point to an absence of evidence align.

                          I.B.2.b.i. Plaintiff’s Burden

      Based on the parties’ arguments, one might fairly, but mistakenly, analyze the

causation element of Plaintiff’s prima facie case on either her Title VII or FLSA claim

through the lens of the extensive record on summary judgment on Plaintiff’s First

Amendment retaliation claim. To prove causation in a Title VII or FLSA retaliation

case, a plaintiff must show that the employee’s protected activity was a “but-for

cause” of the employer’s adverse action against him, meaning the adverse action

would not have occurred absent the employer’s desire to retaliate. University of Texas

Southwestern Med. Ctr. v. Nassar, 570 U.S. 338, 352 (2013) (Title VII retaliation);

Mansfield, 706 F. App’x at 236 (FLSA retaliation).        Put simply, the Title VII

retaliation claim requires a Title VII causation analysis.      And the FLSA claim

requires an FLSA causation analysis. Each of which differs from that for a First

Amendment retaliation claim.       After all, a First Amendment retaliation claim

requires that a defendant’s retaliatory acts must have been “motivated in substantial
                                         117
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 118 of 183. PageID #: 15720




part by a desire to punish an individual for exercise of a constitutional right” and that

the plaintiff’s protected activity proximately caused the adverse actions. See King v.

Zamiara, 680 F.3d 686, 694–95 (6th Cir. 2012) (citations omitted).

      In other words, the focus of the Title VII inquiry is whether Defendants took

an adverse employment action against an employee because of certain, specified

protected criteria—in this case, because of sex. Nassar, 570 U.S. at 352. Plaintiff

must have suffered an adverse action because she opposed sex discrimination

affecting another employee. 28 U.S.C. § 2000e-3(a). And that statutorily protected

activity must be the but-for cause of Defendants’ retaliation. Similarly, the focus of

the FLSA inquiry is whether Plaintiff suffered an adverse action because of her

complaints about Defendants’ unfair labor practices. See Pettit, 429 F. App’x at 530;

29 U.S.C. § 215(a)(3). At bottom, these two inquiries depend on the enforcement of

the rights that these statutes protect, which are separate and distinct from the rights

that the First Amendment secures. These different statutory and constitutional

protections have different causation requirements.

      Here, no specific evidence in the record demonstrates that Defendants took

retaliatory actions against Ms. Buddenberg based on her opposition to sex

discrimination. Put another way, the record on summary judgment has an absence

of evidence that Ms. Buddenberg’s report to the Board of a gender pay disparity was

the but-for cause of any of the actions by Defendants of which Plaintiff complains.

Similarly, no evidence shows that Defendants took any adverse employment action

because of Ms. Buddenberg’s complaints about pay practices or unfair wages.



                                          118
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 119 of 183. PageID #: 15721




       Plaintiff argues that her direct evidence of retaliation, the EEOC position

statement, constitutes an admission of a causal connection between the adverse

employment actions she experienced and her reports to the Board. (ECF No. 221,

PageID #12091–92.) Although the question whether the District’s EEOC position

statement constitutes direct evidence of retaliation presents a close call, Plaintiff’s

reliance on it as an admission of causation under the McDonnell Douglas framework

does not defeat Defendants’ motion for summary judgment.              Even if the EEOC

position statement serves to satisfy her burden of production for purposes of

Plaintiff’s prima facie case, practice under Rule 56 requires a plaintiff to point to

specific facts in the record to withstand summary judgment. Because the District’s

EEOC position statement sweeps broadly and responds to a litany of charges, the

majority having nothing to do with sex discrimination or unfair labor practices,

pointing to it fails to identify specific facts for trial on these claims. Doing so amounts

to little more than pointing to the extensive record in this case and arguing that it

must contain a triable issue somewhere. In the end, when it comes to causation on

her Title VII and FLSA retaliation claims, Plaintiff points to no disputed facts to

rebut Defendants’ argument that the record contains an absence of evidence to

support the causation element of her prima facie case.

                            I.B.2.b.ii. Intervening Cause

       Under the law of this Circuit, an intervening cause between protected activity

and an adverse employment action dispels any inference of causation. See Kenney v.

Aspen Techs., Inc., 965 F.3d 443, 450 (6th Cir. 2020). In this case, Ms. Buddenberg

engaged in other (mis)conduct leading to six other disciplinary charges. All occurred
                                           119
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 120 of 183. PageID #: 15722




after her initial report to the Board, and four came after her email to Ms. Livers on

February 1, 2017. None relates to activity protected under Title VII or the FLSA.

      Even if the Court assumed that Plaintiff established her prima facie case based

on the reference to her protected activity in the District’s EEOC position statement,

the record contains no evidence that Defendants would not have disciplined

Ms. Buddenberg based on the independent reasons the District advanced, including

for “insubordination,” “malfeasance,” and “neglect of duty.” (ECF No. 195-19, PageID

#5169–70.) Put another way, regardless of her protected activity, the record provides

every reason to believe that the District would have disciplined Ms. Buddenberg

based on any one of a number of legitimate grounds. Moreover, no evidence in the

record suggests that Ms. Buddenberg would have suffered any adverse action if the

February 1 email were the only basis for discipline—and Plaintiff points to no facts

that would raise a dispute about the point.      For these reasons, the evidence of

intervening causation in the record dispels any inference of causation, entitling

Defendants to judgment as a matter of law.

      Two last points on this issue.

      First, in the EEOC position statement, the District describes Ms. Buddenberg’s

statement in her February 1, 2017 email to Ms. Livers about the reason for Mix’s

separation from employment as “an appropriate basis for discipline.”            (ECF

No. 195-36, PageID #5282.) Plaintiff characterizes this statement as an admission

that this email was the “sole basis” for her discipline. (ECF No. 221, PageID #12078.)

This argument fails because substantially similar language accompanied the other



                                         120
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 121 of 183. PageID #: 15723




disciplinary charges, describing each as an “appropriate basis for discipline” (or words

to the same effect). (See, e.g., ECF No. 258, PageID #14686–88.) If anything, this

language confirms that the District disciplined Ms. Buddenberg for multiple reasons

and demonstrates the lack of a but-for causation related to Plaintiff’s reports of a

gender pay disparity and related retaliation. See Kenney, 965 F.3d at 450.

      Second, Plaintiff relies on the entirety of the summary judgment record, which

she contends demonstrates “ample evidence of a causal connection between her

protected activities and several of the Defendants’ retaliatory acts.” (ECF No. 259,

PageID #14745.) Such an argument is not proper in summary judgment practice. “It

is not sufficient for a party to mention a possible argument in the most skeletal way,

leaving the court to . . . put flesh on its bones.” McPherson v. Kelsey, 125 F.3d 989,

995–96 (6th Cir. 1997). Even so, the record on the causation element of Plaintiff’s

prima facie case for her Title VII and FLSA claims shows that Plaintiff only relies on

a direct evidence theory. (See ECF No. 221, PageID #12091–92.)

      In the end, the parties do not contest that Ms. Buddenberg engaged in activity

that Title VII and the FLSA protect, and the record demonstrates that she received

discipline that, as a matter of law, constitutes a materially adverse employment

action. But these determinations alone do not suffice for Plaintiff to establish her

prima facie case.    Plaintiff’s direct evidence theory fails to establish a causal

connection, and the other disciplinary charges constitute intervening actions,

dispelling any inference of causation. Because Plaintiff fails to demonstrate that her

protected activity was the but-for cause of her adverse employment action, she has



                                          121
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 122 of 183. PageID #: 15724




not met her burden to come forward with evidence supporting a prima facie case of

retaliation, and Defendants are entitled to summary judgment on these claims.

Kenney, 965 F.3d. at 451.

             I.B.3. Other Retaliation Claims Against Mr. Budzik

      Plaintiff does not bring her Title VII claim against Mr. Budzik. (See ECF

No. 31, PageID #398.) But she does assert her FLSA retaliation claim against him.

(Id., PageID #403.) Mr. Budzik argues that Plaintiff cannot maintain an FLSA claim

against him because he was not an “employer” as defined under that statute. (ECF

No. 216-3, PageID #11845–48.) Plaintiff counters that Mr. Budzik qualifies as an

employer under the statute under the “broad” definition of that term. (ECF No. 263,

PageID #14895.)

      As with Plaintiff’s First Amendment retaliation claim against Mr. Budzik, the

Court need not decide whether he was an “employer” within the meaning of the Fair

Labor Standards Act. Plaintiff’s FLSA retaliation claim fails as a matter of law

because she cannot establish her prima facie case. Therefore, she cannot separately

maintain this claim against Mr. Budzik either.

II.   State-Law Claims

      “When all federal claims are dismissed before trial, the balance of

considerations usually will point to dismissing the state law claims.” Musson

Theatrical, Inc. v. Federal Express Corp., 89 F.3d 1244, 1254 (6th Cir. 1996).

Pursuant to 28 U.S.C. § 1367(c)(3), the Court “may decline to exercise supplemental

jurisdiction over a claim . . . if . . . [it] has dismissed all claims over which it has

original jurisdiction.” Because comity to State courts is a substantial interest, there

                                          122
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 123 of 183. PageID #: 15725




is “a strong presumption against the exercise of supplemental jurisdiction once

federal claims have been dismissed.” Packard v. Farmers Ins. Co. of Columbus, 423

F. App’x 580, 584 (6th Cir. 2011). The Court should retain jurisdiction “only in cases

where the interests of judicial economy and the avoidance of multiplicity of litigation

outweigh [the] concern over needlessly deciding state law issues.” Id. (quoting Moon

v. Harrison Piping Supply, 465 F.3d 719, 728 (6th Cir. 2006)).

      The discretion to decline supplemental jurisdiction over State-law claims

extends to all stages of litigation, including summary judgment. See Booker v. City

of Beachwood, 451 F. App’x. 521, 523 (6th Cir. 2011) (citing Nails v. Riggs, 195 F.

App’x 303, 313 (6th Cir. 2006)). In exercising this discretion, the Court may consider

the convenience to the parties and judicial economy in resolving the case. Long v.

Bando Mfg. of Am., Inc., 201 F.3d 754, 761 (6th Cir. 2000). Here, given the length of

time this case has been pending, the complexity of the record, and the effort and

resources that the parties invested in developing the record and briefing the merits

of the State-law causes of action, the Court finds that judicial economy, convenience

to the parties, avoiding needlessly prolonging the litigation of this dispute, and

fundamental fairness outweigh the interest of comity and overcome the strong

presumption against the exercise of supplemental jurisdiction after adjudication of

the federal claims. For these reasons, the Court exercises its discretion to proceed to

the State-law claims presented.

      II.A. Ohio Retaliation Claims (Count 2 and Count 4)

      Section 4112.02(I) of the Ohio Revised Code makes it an unlawful

discriminatory practice for “any person to discriminate in any manner against any
                                         123
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 124 of 183. PageID #: 15726




other person because that person has opposed any unlawful discriminatory practice

defined in this section.” This language mirrors that of Title VII. See 42 U.S.C.

§ 2000e–3(a). Because of the statutes’ similar language and origins, courts recognize

that federal law provides the applicable analysis for reviewing retaliation claims

under Section 4112.02(I). Abbott v. Crown Motor Co., Inc., 348 F.3d 537, 541 (6th Cir.

2003) (citing Plumbers & Steamfitters Joint Apprenticeship Comm. v. Ohio Civil

Rights Comm’n, 66 Ohio St. 2d 192, 196, 421 N.E.2d 128 (1981)). Accordingly,

Defendants are entitled to a summary judgment on Plaintiff’s claim under

Section 4112.02(I) (Count 2) for the same reasons explained above—Plaintiff failed to

establish a prima facie case as a matter of law under Title VII.

      Ohio’s Minimum Fair Wage Standards Act prohibits sex-based wage

discrimination. Ohio Rev. Code. § 4111.17(A). Section 4111.17(D) creates a cause of

action to enforce the rights protected under the statute. Defendants contend that the

protections of this statute do not extend to employees reporting unequal pay practices

on behalf of their coworkers. (ECF No. 217, PageID #11939.) Plaintiff responds that

there “is no statutory warrant” for restricting “the class of employees” covered by this

statute. (ECF No. 259, PageID #14755.) Ohio courts look to interpretations of the

Fair Labor Standards Act when interpreting the State’s Minimum Fair Wage

Standards Act. See Birch v. Cuyahoga Cnty. Probate Court, 392 F.3d 151, 161 (6th

Cir. 2004). Therefore, the Court reads the Ohio statute to protect third-party wage

discrimination claims to the same extent as the FLSA. See Pettit, 429 F. App’x at

530. Like Plaintiff’s claim under Section 4112.02(I), her State-law wage claim rises



                                          124
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 125 of 183. PageID #: 15727




and falls with its federal counterpart. Birch, 392 F.3d at 161. Therefore, because

Plaintiff’s prima facie case under the FLSA fails as a matter of law, so too does her

claim under Section 4111.17(D) (Count 4).

      II.B. Discrimination, Ohio Rev. Code §§ 4112.02(J) & 4112.99 (Count 9)

      Section 4112.02(J) of the Ohio Revised Code makes it unlawful for any person

“to aid, abet, . . . the doing of any act declared by this section to be an unlawful

discriminatory practice, to obstruct or prevent any person from complying with this

chapter or any order issued under it, or to attempt directly or indirectly to commit

any act declared by this section to be an unlawful discriminatory practice.” Section

4112.02(J) extends liability to any person who aids or abets an unlawful

discriminatory practice. Accordingly, employees may “be held liable for aiding and

abetting [their] employer’s discriminatory or retaliatory practices.”        Siwik v.

Cleveland Clinic Found., No. 1:17-cv-1063, 2019 WL 1040861, at *27 (N.D. Ohio

Mar. 5, 2019) (citing Hauser v. Dayton Police Dep’t, 140 Ohio St. 3d 268, 2014-Ohio-

3636, 17 N.E.3d 554, ¶ 12 (recognizing that Ohio law “holds individual employees

liable for their participation in discriminatory practices”)).      Section 4112.99(A)

creates a private right of action for a violation of Section 4112.02.

      Defendants maintain that they are not liable under this statute because more

than a mere “failure to act” is required. (ECF No. 217, PageID #11940 (citing Chulsky

v. Golden Corral Corp., 583 F. Supp. 3d 1059, 1088 (S.D. Ohio 2022).) Plaintiff

responds that Mr. Weisdack, his assistant, and Board members each “assisted” in

retaliating against her in violation of Section 4112.          (ECF No. 221, PageID

#12095–96.)
                                          125
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 126 of 183. PageID #: 15728




      But Section 4112.02(J) is predicated on underlying discrimination or

retaliation. See Oster v. Huntington Bancshares Inc., No. 2:15-cv-2746, 2017 WL

2215462, at *22 (S.D. Ohio May 19, 2017) (holding that, if a plaintiff can survive

summary judgment on her gender discrimination and retaliation claims, her

allegations of aiding and abetting by individual defendants “pass muster too”). In

other words, employees cannot be held liable for aiding or abetting conduct that does

not violate the law. Lloyd v. Greater Cleveland Reg’l Transit Auth., No. 1:18-cv-

01557, 2020 WL 5077009, *13 (N.D. Ohio Aug. 27, 2020) (collecting cases) (holding

that “if a plaintiff fails to establish any underlying unlawful discriminatory conduct,

his or her aiding and abetting claim also fails”).       Because Plaintiff’s State-law

retaliation claims do not survive summary judgment, neither does her claim for

aiding and abetting discrimination.

      II.C. Civil Liability for Criminal Acts (Count 6, Count 7 & Count 8)

      Counts 6 through 8 assert claims under Section 2307.60 of the Ohio Revised

Code for civil liability for various alleged criminal acts. That statute allows “[a]nyone

injured in person or property by a criminal act” to “recover full damages in[] a civil

action,” including attorneys’ fees and costs. Ohio Rev. Code § 2307.60(A)(1). As the

Ohio Supreme Court held on the certification of State-law questions in this case, the

“plain language of the statute does not require a criminal conviction” as a prerequisite

for civil liability. Buddenberg, 2020-Ohio-3832, at ¶ 11. Therefore, the fact that no

Defendant has been convicted—or even charged—with any of the underlying offenses

has no bearing.



                                          126
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 127 of 183. PageID #: 15729




      At the pleading stage, the Court noted that “neither party cited any caselaw

discussing what burden of proof applies” to these claims. Buddenberg, 2018 WL

3159052, at *5. Despite discussion of the issue early in the life of this case, on

summary judgment the parties still fail to address the issue. Ohio courts appear to

assume that a plaintiff can prevail on a claim under Section 2307.60(A)(1) if she

proves her claim by a preponderance of the evidence and that, to establish civil

liability, the statute does not require proof beyond a reasonable doubt as would a

criminal conviction. See, e.g., Sonis v. Rasner, 2015-Ohio-3028, 39 N.E.3d 871, ¶ 43

(8th Dist.); 1 Ohio Jury Instructions, Civil § 455.01 (“Before you can find for the

plaintiff, you must find all of the following by the greater weight of the evidence[.]”).

For his reason, the Court analyzes Plaintiff’s claims under Section 2907.60(A)(1)

against this backdrop.

             II.C.1. Intimidation, Ohio Rev. Code § 2921.03 (Count 7)

      Section 2921.03(A) of the Ohio Revised Code sets forth the elements for the

offense of intimidation, a felony of the third degree. As relevant here, the statute

makes it an offense for a person, “by . . . otherwise using a materially false or

fraudulent writing,” to intimidate or hinder a public official in the discharge of her

duties. In its entirety, the statute provides:

      No person, knowingly and by force, by unlawful threat of harm to any
      person or property, or by filing, recording, or otherwise using a
      materially false or fraudulent writing with malicious purpose, in bad
      faith, or in a wanton or reckless manner, shall attempt to influence,
      intimidate, or hinder a public servant, a party official, or an attorney or
      witness involved in a civil action or proceeding in the discharge of the
      person’s [sic] the duties of the public servant, party official, attorney, or
      witness.


                                          127
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 128 of 183. PageID #: 15730




Ohio Rev. Code § 2921.03(A).

      This statute presents several open questions of statutory interpretation. For

example, Section 2921.03(C) creates civil liability for violation of the statute,

potentially making it largely or entirely repetitive of Section 2307.60(A)(1), under

which Plaintiff brings her claim.     She did not bring this claim under Section

2921.03(C) or allege an “unlawful threat of harm.” (ECF No. 31, ¶¶ 193–201, PageID

#412–13.) As one further example, it is not clear how a person can “knowingly”—the

state of mind requirement that the third word of the statute applies to each element

that follows—intimidate someone in a “reckless manner.”

      The parties did not brief these issues, and the Court need not decide them.

Plaintiff is correct that Section 2921.03(A) does not apply by its own terms only to

threats of violence or to those who witnessed crimes.        (ECF No. 263, PageID

#14922–23.) Indeed, amendments to the statute over time make its broader purpose

and application clear. But summary judgment turns on the element of the offense

requiring that the writing at issue be “materially false or fraudulent.” In this case,

Plaintiff proceeds against Mr. Weisdack and Mr. Budzik, contending that the notice

of disciplinary action and resulting disciplinary order are materially false and

fraudulent. (Id.; ECF No. 31, ¶¶ 196 & 197, PageID #412.) At the pre-disciplinary

hearing, however, Ms. Buddenberg admitted the truth of certain charges, including

insubordination and mishandling her own and Mix’s personnel files. (ECF No. 210-4,

PageID #11329, #11349–51 & #11356.) Even assuming for purposes of summary

judgment that certain of the charges are materially false or fraudulent,



                                         128
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 129 of 183. PageID #: 15731




Ms. Buddenberg’s admissions to conduct that independently supports the discipline

imposed make her unable to carry her burden on this claim, and no reasonable finder

of fact could conclude otherwise.

      One final procedural point regarding this claim—Plaintiff asserts Count 7

against Mr. Weisdack and Mr. Budzik. Both move for summary judgment on all

claims against them, but only Mr. Budzik develops an argument regarding Plaintiff’s

intimidation claim. (ECF No. 216-3, PageID #11867–68.) A district court can enter

a summary judgment sua sponte.          See Employers Ins. of Wausau v. Petroleum

Specialties, Inc., 69 F.3d 98, 104–06 (6th Cir. 1995); Celotex Corp., 477 U.S. at 325.

Plaintiff had an adequate opportunity to respond to Mr. Budzik’s arguments against

the applicability of this statute, and her arguments apply generally to both him and

Mr. Weisdack. Because these two Defendants are similarly situated with respect to

this claim, Plaintiff’s arguments generally apply to both, and to a degree this claim

raises similar legal and factual issues more fully addressed elsewhere in this ruling,

the Court applies this ruling to both Mr. Budzik and Mr. Weisdack. Further, judicial

economy counsels doing so.

      For all these reasons, Mr. Weisdack and Mr. Budzik are entitled to a summary

judgment on Plaintiff’s claim for civil liability for criminal intimidation.

             II.C.2. Retaliation, Ohio Rev. Code § 2921.05 (Count 6)

      In the alternative, Plaintiff brings this claim against all Defendants. (ECF

No. 31, PageID #411.) Under Ohio law, criminal retaliation, which is also a third-

degree felony, requires “purposeful” action “by force or by unlawful threat of harm”

against a public servant. In its entirety, the statute provides:
                                          129
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 130 of 183. PageID #: 15732




      No person, purposely and by force or by unlawful threat of harm to any
      person or property, shall retaliate against a public servant, a party
      official, or an attorney or witness who was involved in a civil or criminal
      action or proceeding because the public servant, party official, attorney,
      or witness discharged the duties of the public servant, party official,
      attorney, or witness.

Ohio Rev. Code § 2921.05(A).

                    II.C.2.a. “Involved in a Proceeding”

      Primarily, the parties debate whether the phrase “involved in a civil action or

proceeding” applies only to “an attorney or witness” or to each of the types of persons

in the list the statute covers, including a “public servant”—such that the statute

applies only to criminal retaliation against a public servant involved in a proceeding

as opposed to performing her general duties.

      Defendants argue that this statute does not apply because Plaintiff was not a

“public servant” who was “involved in a civil or criminal action or proceeding” when

any alleged retaliation occurred. (ECF No. 217, PageID #11938–39.) They rely on

Hensley v. Wester Chester Township, No. 1:21-cv-373, 2022 WL 4621432, at *15 (S.D.

Ohio Sept. 20, 2022), where the court dismissed the claims of former police officers

because the officers were not involved in a civil or criminal action or proceeding when

the alleged First Amendment retaliation occurred.

      Similarly, in State v. Merriman, 2021-Ohio-1403, 2021 WL 1573920, ¶ 9 (Ohio

Ct. App.), the court applied the “action or proceeding modifier” to every victim listed

in the statute, like the Southern District of Ohio in Hensley. The Merriman Court

held that the “state must prove that [the defendant] purposely threatened harm to

the judge and police officers who were involved in a civil or criminal action or


                                         130
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 131 of 183. PageID #: 15733




proceeding as a result of discharging the duties of a public servant.” Id. Based on

this interpretation, the court ultimately vacated the defendant’s conviction under the

statute because he did not direct his conduct at individuals involved in prior or

current proceedings against him. Id. at ¶ 13.

      Plaintiff maintains that the phrase “who was involved in a civil or criminal

action” only applies to attorneys or witnesses under the statute, and it does not apply

to “public servants.” (ECF No. 259, PageID #14751–52.) She points to State v.

Matthews, 2013-Ohio-2183, ¶ 11 (Ohio Ct. App.), which analyzed the text and

determined that the “placement of the comma before ‘or an attorney or witness’ in the

context of this sentence clearly establishes the third category of potential victims of

retaliation encompasses attorneys or witnesses who were involved in civil or criminal

actions or proceedings.”

      The Court need not weigh in on this split of authority or make its best guess

how the Ohio Supreme Court would resolve the issue because Plaintiff’s claim fails

for another reason.

                      II.C.2.b. “By Force or by Unlawful Threat of Harm”

      The statute requires retaliation “by force or by unlawful threat of harm.” Ohio

Rev. Code § 2921.05(A). Plaintiff makes no argument, and presents no evidence, that

any Defendant used force (within the meaning of this statute) against her. See Ohio

Rev. Code § 2901.01(A)(1) (defining “[f]orce” as “any violence, compulsion, or

constraint physically exerted by any means upon or against a person or thing”); ECF

No. 259, PageID #14751–53. That leaves only the option of “an unlawful threat of

harm” to support Plaintiff’s claim under this statute. In this respect, Plaintiff’s
                                         131
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 132 of 183. PageID #: 15734




argument on her criminal intimidation claim is telling. That claim also makes an

unlawful threat of harm one basis for liability. On her intimidation claim, however,

Plaintiff proceeded on a theory of a false or fraudulent writing—not an unlawful

threat of harm. Regardless, there is no unlawful threat of harm to Ms. Buddenberg

on the facts presented.

       Enactment of the criminal retaliation statute “was described as [an expansion

of] current law concerning intimidation.” State v. Lambert, 2d Dist. Montgomery

No. 16667, 1998 WL 288957, at *4.       “The distinguishing characteristic between

intimidation and retaliation was said to be that intimidation occurs before a judicial

decision, whereas retaliation occurs after a judicial decision has been rendered.” Id.

“The retaliation statute, therefore, was intended to correspond to the intimidation

statute in its effect.” Id.

       Interpreting the phrase an “unlawful threat of harm” in a related intimidation

statute, the Ohio Supreme Court held that a threat is unlawful where “it violates

established criminal or civil law.” State v. Cress, 112 Ohio St. 3d 72, 2006–Ohio–

6501, 858 N.E.2d 341, ¶ 42.      Therefore, an unlawful threat requires proof the

elements of a predicate offense. Id. at ¶ 43. Ohio courts apply this definition of an

“unlawful threat of harm” to Section 2921.05. State v. Yambrisak, 2013-Ohio-1406,

¶ 15 (Ohio Ct. App.).

       Broadly, Plaintiff argues that “Defendants engaged in numerous acts of

retaliation against” her. (ECF No. 259, PageID #14752.) She maintains that these

retaliatory acts “constitute ‘the unlawful threat of harm’ the section criminalizes.”



                                         132
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 133 of 183. PageID #: 15735




(Id.) While “harm” might not necessarily need to be physical under the statute—but

see Ohio Rev. Code § 2901.01(A) (defining “[p]hysical harm to persons” as “any injury,

illness, or other physiological impairment, regardless of its gravity or duration,” but

omitting emotional, psychological, or other similar injuries from any definition)—

Plaintiff’s argument is wholly circular. It makes unlawful retaliatory acts (assuming

there are any, in a legal sense) the predicate acts to support the element of an

unlawful threat in a claim for criminal retaliation.

       Moreover, construing the record in Plaintiff’s favor and taking the disciplinary

notice as a threat, it was not “unlawful” as the Ohio Supreme Court defines the term.

The notice contained several charges of serious workplace misconduct, and Plaintiff

admitted to the factual basis for many. Additionally, because Plaintiff’s retaliation

claims fail as a matter of law, they cannot serve as a predicate offense to satisfy this

element. See Cress, 2006–Ohio–6501, at ¶ 45 (concluding that lawful threatened acts

do not constitute an “unlawful threat of harm”). Plaintiff’s alternative claim for civil

liability for criminal retaliation fails as a matter of law.

              II.C.3. Civil Rights, Ohio Rev. Code § 2921.45 (Count 8)

       Ohio law makes it a crime, a first-degree misdemeanor, for a public employee

to deprive a person of her civil rights. The statute provides:

       No public servant, under color of the public servant’s office, employment,
       or authority, shall knowingly deprive, or conspire or attempt to deprive
       any person of a constitutional or statutory right.

Ohio Rev. Code 2921.45(A). Defendants argue that they are entitled to summary

judgment on this claim because they “did not deprive [Plaintiff] of any constitutional

or statutory right.” (ECF No. 217, PageID #11939.) Plaintiff counters that she has

                                           133
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 134 of 183. PageID #: 15736




shown that Defendants “deprived her of both types of rights.” (ECF No. 259, PageID

#14754 (emphasis removed).) Because the Court has determined that Plaintiff’s

federal and State law claims fail as matters of law, there is no underlying deprivation

of a constitutional or statutory right to satisfy this statute and provide Plaintiff with

a remedy. Therefore, Plaintiff’s claim for interference with civil rights fails.

      II.D. State-Law Claims Against Mr. Budzik

      To a significant degree, Plaintiff’s State-law claims against Mr. Budzik allege

ethical violations relating to his conduct during and after the pre-disciplinary hearing

and in his work for the District. Indeed, the three experts the parties designate (two

by Plaintiff and one by Mr. Budzik) focus on these issues. Mr. Budzik maintains that

any claims arising from his provision of legal services “must be construed as

malpractice” and that third parties to the attorney-client relationship, like

Ms. Buddenberg, lack standing to assert such claims against him.           (ECF 216-3,

PageID #11863–66.) Also, he claims qualified immunity as an attorney under Ohio

law. (Id., PageID #11864–66.) Plaintiff argues that Mr. Budzik enjoys no immunity

because he engaged in “extra-legal” and “bad faith” conduct. (ECF No. 263, PageID

#14918.) She relies extensively on her two experts, who opine that Mr. Budzik

violated the Ohio Rules of Professional Conduct. (Id., PageID #14916–21.)

      At the pleading stage, the Court held that Mr. Budzik could assert the qualified

privilege for attorneys acting on behalf of clients. Buddenberg, 2018 WL 3159052, at

*6. However, accepting Plaintiff’s allegations as true, the Court held that Plaintiff

sufficiently plead malice, removing his conduct from the protections of Ohio’s

qualified immunity defense pending discovery. Id.
                                          134
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 135 of 183. PageID #: 15737




             III.D.1. Qualified Immunity for Attorneys Under Ohio Law

      With the benefit of discovery and extensive briefing on the issue, the Court

undertakes the analysis in two steps.         First, the Court must decide whether

Mr. Budzik can assert qualified immunity. Second, if he can, the inquiry shifts to

whether Plaintiff presents sufficient evidence to rebut the presumption of immunity

such that she can proceed on a claim under State law against Mr. Budzik. See Kim

v. Randal A. Lowry & Assocs., 2021-Ohio-51, 166 N.E.3d 146, ¶ 16 (Ohio Ct. App.).

                    III.D.1.a. Mr. Budzik’s Provision of Legal Services

      Under Ohio law, the type of claim a third party asserts against an attorney has

no bearing on the availability of qualified immunity. Silveous v. 5 Starr Salon and

Spa, LLC, 2023-Ohio-841, 210 N.E.3d 1020, ¶ 39 (Ohio Ct. App.) (collecting cases).

“A claim against an attorney for actions taken in his professional capacity is a claim

sounding in legal malpractice no matter how artfully the pleadings attempt to raise

some other claim.” Omega Riggers & Erectors, Inc. v. Koverman, 2016-Ohio-2961, 65

N.E.3d 210, ¶ 22 (Ohio Ct. App.). An “indispensable element” of a malpractice claim

is an attorney-client relationship, therefore, an “attorney is immune from liability to

third persons arising from his performance as an attorney . . . unless such third

person is in privity with the client, or the attorney acts maliciously.” Id. at 219–20

(quoting Scholler v. Scholler, 10 Ohio St. 3d 98, 103, 462 N.E.2d 158 (1984)). An

attorney’s obligations to his client supplies the rationale for this rule: “the obligation

of an attorney is to direct his attention to the needs of the client, not to the needs of

a third party not in privity with the client.” Simon v. Zipperstein, 32 Ohio St. 3d 74,

76, 512 N.E.2d 636 (1987).

                                           135
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 136 of 183. PageID #: 15738




      While the scope of Mr. Budzik’s representation is disputed, the District

retained Mr. Budzik, in some capacity, in connection with civil service issues,

including Ms. Buddenberg’s discipline. (ECF No. 183-1, PageID #2701.) Without

question, Mr. Budzik had no attorney-client relationship with Ms. Buddenberg, and

she was not in privity with a client of his. (ECF No. 216-3, PageID #11865; ECF

No. 263, PageID #14918.)

      Plaintiff maintains that lawyers may be sued in Ohio for claims other than

malpractice (ECF No. 263, PageID #14913–14)—and that is true. But where the

claims arise from the attorney’s provision of legal services—regardless of whether the

plaintiff is the attorney’s client or a third party—Ohio law dictates that the Court

analyze the claims through the lens of legal malpractice. See Omega Riggers &

Erectors, 2016-Ohio-2961, at ¶ 22. Therefore, to the extent Mr. Budzik’s provision of

legal services gives rise to Plaintiff’s claims against him as a third party, the Court

must presume that he enjoys qualified immunity. Silveous, 2023-Ohio-841, at ¶ 40,

210 N.E.3d at 1033; Buddenberg, 2018 WL 3159052, at *6. To the extent Mr. Budzik

stepped into the shoes of Mr. Weisdack and assumed his role or acted on his behalf

without providing legal services, then his liability is co-extensive with that of

Mr. Weisdack on Plaintiff’s State-law claims.

                    III.D.1.b. Mr. Budzik’s Direct Conduct Affecting Plaintiff

      If Mr. Budzik otherwise stepped outside his role as a lawyer, the only conduct

directly attributable to him involves his limited interactions with Plaintiff during and

after the disciplinary hearing. It is undisputed that Mr. Budzik had no authority or

control over Plaintiff’s day-to-day work activities and that the Board ultimately
                                          136
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 137 of 183. PageID #: 15739




disciplined Ms. Buddenberg.       (ECF No. 203-1, PageID #8654–55 & #8658.)

Mr. Budzik made a recommendation to the Board, which they considered over a day

and a half and largely, but not entirely, adopted. (ECF No. 195-17, PageID #5154–55;

ECF No. 204-13, PageID #8990–92.)

      Plaintiff claims that Mr. Budzik was intimidating and aggressively

interrogated her during the hearing and that his behavior constituted retaliatory

conduct.   (ECF No. 263, PageID #14908 (citing Buddenberg, 939 F.3d at 740

(construing the facts Plaintiff alleged in her complaint as true).) But the audio

recording of the hearing tells a different story. In Scott, 550 U.S. at 378–81, the

Supreme Court addressed how to handle disputes of fact on a motion for summary

judgment in the face of video and photographic evidence. Although courts must

ordinarily construe the record on summary judgment in favor of the non-moving

party, “[w]hen opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should

not adopt that version of the facts for purposes of ruling on a motion for summary

judgment.” Id. at 380.

      Such is the case here. Although Plaintiff’s claims are not implausible, as in

Scott, the audio recording (and transcript) of the hearing blatantly contradict her

story to the point where no reasonable jury could believe it. Mr. Budzik did not

aggressively question Ms. Buddenberg—he read each disciplinary charge, allowed

her to respond, and occasionally asked follow-up questions calmly and evenhandedly.




                                         137
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 138 of 183. PageID #: 15740




      Nor do Plaintiff’s interactions with Mr. Budzik during their off-the-record

conversations during and after the disciplinary hearing suffice to avoid his immunity.

In these discussions, the record leaves no doubt that Mr. Budzik acted on his client’s

behalf to reach a settlement with Ms. Buddenberg. (ECF No. 203-1, PageID #8677;

ECF No. 204-1, PageID #8938–39; ECF No. 184-1, PageID #3033 & #3047.) The fact

that Ms. Buddenberg’s interests were (and continue to be) adverse to the District does

not render Mr. Budzik’s conduct “extra-legal.” But even if these discussions are

construed, on summary judgment, as “extra-legal” acts of retaliation, the viability of

Plaintiff’s State-law claims against Mr. Budzik rises and falls with those against the

other Defendants, as already discussed.

      Finally, any testimony or opinion to the contrary from Plaintiff’s proffered

experts necessarily fails for two reasons. First, Plaintiff uses her expert witnesses as

mouthpieces to reiterate her summary judgment briefing and arguments on

retaliation. Second, as a matter of law, Plaintiff suffered no retaliation under federal

or State law as she claims. Therefore, there is no genuine dispute of material fact,

and no reasonable jury could return a verdict against Mr. Budzik on this record.

             III.D.2. Malice

      In the face of the qualified immunity that Mr. Budzik enjoys as an attorney,

Plaintiff only has standing to bring any claim against him, sounding in malpractice,

through a showing of malice. Omega Riggers & Erectors, 2016-Ohio-2961, at ¶ 23. In

the absence of malice, even if Mr. Budzik violated the Ohio Rules of Professional

Conduct, only the District as his client has standing to pursue those claims. See

Scholler, 10 Ohio St. 3d at 103. There is little Ohio law “identifying what set of facts
                                          138
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 139 of 183. PageID #: 15741




is necessary to constitute malice as a substitute for an attorney-client relationship.”

Omega Riggers & Erectors, 2016-Ohio-2961, at ¶ 31. Mr. Budzik asserts that malice

requires showing an ulterior motive “separate and apart from the good-faith

representation of the client’s interests.” (ECF No. 216-3, PageID #11865 (quoting

Sprouse v. Eisenman, 2005-Ohio-463, ¶ 12 (Ohio Ct. App.).) Plaintiff responds by

arguing that malice can include a showing of ulterior motive but is not limited to such

evidence alone. (ECF No. 263, PageID #14919–20.)

      The Sixth Circuit has held that plaintiffs may struggle establishing malice at

the pleading stage; therefore, when accepting all accusations as true, a plaintiff’s

general allegations of malice will usually suffice to state a claim. Vector Rsch., Inc.

v. Howard & Howard Attorneys P.C., 76 F.3d 692, 700 (6th Cir. 1996). On summary

judgment, however, Plaintiff must do more than rely on her general accusations of

fraud, bad faith, and collusion.   Instead, showing malice requires evidence that

Mr. Budzik acted with “hatred, ill will, or a spirit of revenge” or with a “conscious

disregard for the rights and safety of other persons that has a great probability of

causing substantial harm.” Omega Riggers & Erectors, 2016-Ohio-2961, at ¶ 31

(quoting Preston v. Murty, 32 Ohio St. 3d 334, 336, 512 N.E.2d 1174 (1987)).

      Where an attorney acts with “conscious disregard” for the rights of others, the

harm inflicted must be “beyond that which legal action necessarily may inflict.”

Omega Riggers & Erectors, 2016-Ohio-2961, at ¶ 35. Malice can include a showing

that the attorney took willful actions to hurt someone else without justification or

operated with an “ulterior motive separate and apart from the good-faith



                                         139
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 140 of 183. PageID #: 15742




representation of the client.” Ryan v. Wright, 2007-Ohio-942, ¶¶ 19 & 20 (Ohio Ct.

App.). The factual circumstances leading to a finding of malice are usually extreme.

For example, a reasonable jury could find that an attorney acted with malice when

filing a lawsuit on behalf of a party without the party’s knowledge or consent,

subsequently dismissing the lawsuit with prejudice, and agreeing to a release of

future claims, see Tye v. Beausay, 2017-Ohio-7943, 98 N.E.3d 970, ¶ 20 (Ohio Ct.

App.), even if—remarkably—such conduct does not give rise to attorney discipline.

      Plaintiff alleges that Mr. Budzik demonstrated ill will by the “way he gaslit

and berated her about the reasons for Dan Mix’s departure during the hearing and

the way he lied repeatedly under oath about knowing about Ms. Buddenberg’s EEOC

charge.” (ECF No. 263, PageID #14921.) As discussed, Plaintiff’s attempt to create

material disputes of fact regarding Mr. Budzik’s conduct at the disciplinary hearing

does not hold up in the face of the recording of it. At most, construing the record in

favor of Plaintiff’s with the benefit of her experts’ opinions as well, Mr. Budzik might

have breached a standard of care in his dealings with Ms. Buddenberg—that is, acted

negligently, perhaps even grossly negligently—but that conduct falls far short of

malice under Ohio law. See Ryan, 2007-Ohio-942, at ¶ 20.

      In a footnote, Plaintiff argues that a reasonable jury could infer that

Mr. Budzik had an ulterior motive to “ingratiate himself with the District retaliators

in the hope of being handsomely compensated and receiving more work.” (ECF

No. 263, PageID #14921 n.10.) Assuming that this argument is not waived, see Carter

v. Toyota Tsusho Am., Inc., 529 F. App’x 601, 612 n.2 (6th Cir. 2013), Plaintiff



                                          140
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 141 of 183. PageID #: 15743




provides no factual support in the record for this claim. Instead, she relies on the

opinions of her experts. But without facts in the record to underpin such testimony,

it amounts to no more than speculation, which the Court disregards. See Andrews v.

Lecats Ventriloscope LLC, No. 5:19-cv-01792, 2022 WL 704578, at *8 (N.D. Ohio

March 9, 2022).

      As for the claim that Mr. Budzik lied during this litigation about knowing

Ms. Buddenberg filed a charge with the EEOC, after repeatedly denying that he knew

of the charge, Mr. Budzik submitted errata to his deposition admitting that he was

copied on an email providing notice of the charge but, even then, he did not recall

receiving it. (ECF No. 184-1, PageID #3115.) This record is subject to any number of

possible explanations and interpretations, ranging from entirely innocent (he

received notice of the charge four years before the deposition by being copied on an

email) to less flattering. Even assuming the worst, as the Court must in the present

procedural posture, Mr. Budzik’s position on the matter in this litigation does not

constitute malice as a matter of law. In this litigation, Mr. Budzik is a party and a

fact witness. When defending against Plaintiff’s claims in this case, he was not

counsel or Mr. Weisdack’s designee. On this record, misrepresentations—if that is

what they were—in subsequent litigation have no bearing on Mr. Budzik’s mental

state during and immediately after the disciplinary hearing.

      “An attorney should not suffer potential liability to third parties for advising

and pursuing a client’s non-criminal goals, even if those goals will subject the client

to potential civil liability.” Omega Riggers & Erectors, 2016-Ohio-2961, at ¶ 32. As



                                         141
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 142 of 183. PageID #: 15744




a matter of law, the record presents facts would not support a jury’s finding of malice.

Therefore, Plaintiff lacks standing to pursue claims against Mr. Budzik.

III.   The Crime-Fraud Exception and Spoliation

       Beyond the merits, but not wholly unrelated, the parties raise certain conduct-

related issues, which are also fully briefed for a ruling from the Court. Plaintiff

raises, again, the crime-fraud exception to the attorney-client privilege seeking to

compel further discovery from Mr. Budzik. Defendants contend that Ms. Buddenberg

spoliated certain text messages and other electronically stored information.

       III.A. Plaintiff’s Motion to Compel

       Plaintiff argues that the crime-fraud exception warrants discovery of

privileged materials because she has made a prima facie showing that the District

Defendants used Mr. Budzik’s advice to further crimes and a fraud. (ECF No. 283,

PageID #15461–62.) She argues that the Defendants have committed a crime under

Section 2921.45 of the Ohio Revised Code by knowingly violating her statutory rights

by changing her working schedule and bringing baseless disciplinary charges against

her—including a charge for speaking to the Board about Mix’s departure from the

District. (Id.) Also, she argues that the Court should have a “reasonable basis to

suspect” that the Defendants committed crimes by issuing her a baseless disciplinary

notice—a “false writing” in violation of Section 2921.03—and retaliating against her

for her reports to the Board, in violation of Section 2921.05. (Id., PageID #15465–66.)

She argues that the Board enforced her discipline at the advice and direction of

Mr. Budzik. (Id., PageID #15467–71.) Further, she asserts that he became an active

participant in unlawful retaliation, thereby subjecting him to criminal liability. (Id.)

                                          142
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 143 of 183. PageID #: 15745




Defendants oppose Plaintiff’s motion because it is untimely and procedurally

improper. (See generally ECF No. 292.) They also move to strike it. (Id.)

      The Court need not consider the merits of Plaintiff’s arguments on the crime-

fraud exception because her motion to compel is procedurally improper and no good

cause supports reopening discovery at this late date.        In any event, Plaintiff’s

arguments directed to further discovery based on the crime-fraud exception fail on

the merits as well.

              III.A.1. Procedural Propriety

      It is well settled that district courts have broad discretion to manage discovery

and determine the timeliness of a motion to compel. Pittman v. Experian Info. Sols.,

Inc., 901 F.3d 619, 642–43 (6th Cir. 2018). Denials of motions to compel are reviewed

for an abuse of discretion and reversed only upon “a clear showing that the denial of

discovery resulted in actual and substantial prejudice to the complaining litigant.”

Id. at 642.

      Rule 37(a) permits a party to move to compel discovery, but the rule does not

impose a deadline for filing such motions. Courts generally treat Rule 37 as operative

“during the discovery process.” Cunningham v. Hamilton Cnty., 527 U.S. 198, 208

(1999). Accordingly, a district court operates well within its discretion to deny a

motion to compel filed after the close of discovery. Pittman, 901 F.3d at 642–43

(collecting cases) (holding that there was no abuse of discretion where a district court

denied a motion to compel five months after the close of discovery); Craig-Wood v.

Time Warner N.Y. Cable LLC, 549 F. App’x 505, 508 (6th Cir. 2014) (affirming the



                                          143
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 144 of 183. PageID #: 15746




district court’s denial of a motion to compel filed two months after the discovery cut-

off and after the defendant moved for summary judgment).

      Two additional rules limit the ability of a party to bring a motion to compel.

First, Local Rule 37.1(b) requires the filing of any motion to compel within ten days

after the close of discovery. See Salem v. City of Akron, No. 5:18-cv-1754, 2020 WL

1233953, *4 (N.D. Ohio, Mar. 13, 2020) (collecting cases applying the time limit under

Local Rule 37.1(b) to deny untimely motions to compel). Second, before moving to

compel, Local Rule 37.1(a)(1) obligates the parties to undertake good efforts to resolve

any discovery dispute before filing a motion with the Court. Further, the Court’s

Civil Standing Order contains additional prerequisites, which the Court strictly

enforces, to avoid unnecessary motion practice over discovery disputes. See Civil

Standing Order § 6.A. In short, to conserve the resources of the parties and the Court,

before any party may file a discovery motion, the parties must reach impasse in

efforts to resolve the issue and involve the Court in further efforts short of motion

practice. Only then, with the Court’s authorization, may a party bring a discovery

motion. See id.

                    III.A.1.a. Timeliness

      Without question, Plaintiff’s motion is untimely. She filed her motion a year

and a half after discovery closed and after briefing on summary judgment and

spoliation was complete. Nevertheless, Plaintiff argues that Defendants cannot be

surprised by her motion to compel because they were on notice that she would be

seeking discovery related to privileged materials under the crime-fraud exception.

But this argument cuts both ways. Given the amount of time that passed following
                                          144
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 145 of 183. PageID #: 15747




the close of discovery (some 547 days after discovery closed on January 31, 2022),

Defendants (and the Court) could fairly have assumed the issue was resolved,

abandoned, or not worth the time and resources. Even after July 14, 2022, when

Plaintiff represented that the issue warranted briefing, more than a year passed

before Plaintiff filed a motion. Again, during that time, Defendants and the Court

could fairly assume that further action on the issue was not necessary or not a

priority.

          Additionally, on June 15, 2022, the Court resolved disputes over claims of

privilege of certain documents Mr. Budzik listed on a privilege log and found that the

crime-fraud exception did not apply. (ECF No. 142, PageID #937–38.) Nor did

Plaintiff explore any of those issues during Mr. Budzik’s deposition before the Court

on April 29, 2022. (Id.) This additional attention to the issue by the parties and the

Court reinforces the determination that any motion should have come far sooner than

it did.

                      III.A.1.b. Exhaustion of Efforts

          Further, Defendants’ awareness of potential privilege issues does not excuse

Plaintiff’s failure to exhaust efforts under Rule 37, the Local Rules, or the Court’s

Civil Standing Order before moving to compel. Plaintiff argues that Defendants

attempt “to gaslight” the Court into believing that her motion was “unauthorized and

procedurally improper.” (ECF No. 293, PageID #15594.) In support, Plaintiff points

to the Court’s November 30, 2022 Order stating that privilege-related issues would

be dealt with on “parallel tracks” with summary judgment and spoliation as

authorization to file her motion to compel. By then, the record shows that Plaintiff’s
                                           145
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 146 of 183. PageID #: 15748




efforts to obtain discovery of privileged matters from Mr. Budzik had long since

passed. Even if they had not, however, Plaintiff still waited until after briefing on

the spoliation issue closed before filing a motion—by definition, not a parallel track.

Moreover, Plaintiff consistently raised disputes about privilege and the crime-fraud

exception, even after the Court found that the exception did not apply, but at no time

requested a briefing schedule or put Defendants or the Court on notice of an impasse.

                                    *      *      *

      Accordingly, the Court denies Plaintiff’s motion to compel because it is

untimely and fails to abide by Local Rule 37.1 and the Court’s Civil Standing Order.

See Pittman, 901 F.3d at 642–43; Mohney v. USA Hockey, 5 F. App’x 450, 459–60 (6th

Cir. 2001) (affirming a district court’s denial of a motion to compel for failure comply

with Local Rule 37.1).

             III.A.2. Reopening Discovery

      Under Rule 16(b), a district court may amend a scheduling order establishing

deadlines for matters such as discovery on a showing of “good cause.” Fed. R. Civ.

P. 16(b)(4). The Sixth Circuit identifies different considerations for determining

whether “good cause” exists to modify a scheduling order to reopen discovery. See,

e.g., Dowling v. Cleveland Clinic Found., 593 F.3d 472, 478 (6th Cir. 2010) (citing the

length of the discovery period, the moving party’s diligence, and when the moving

party learned of the issue that is the subject of discovery); Morgan v. Gandalf, Ltd.,

165 F. App’x 425, 431 (6th Cir. 2006) (citing the specificity and relevance of the

request and prejudice to the nonmoving party). Regardless of how articulated, “[t]he



                                          146
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 147 of 183. PageID #: 15749




primary measure of Rule 16’s ‘good cause’ standard is the moving party’s diligence

. . . .” Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002) (citation omitted).

      Based on the record in this case, the Court declines to exercise its discretion to

reopen discovery and finds that Plaintiff has not made a showing of good cause to do

so. Based on the volume of the record on summary judgment, it is difficult to see any

matter that the parties did not already discover. More discovery will not, in the

Court’s judgment and experience, materially change the record.

      Because the Sixth Circuit places great weight on a party’s diligence, the Court

addresses that consideration briefly. Plaintiff’s counsel diligently and vigorously

represented his client and left no stone unturned in doing so. As applied here, the

Court understands reasonable diligence of a party to mean efforts used to obtain

further discovery of matters that the attorney-client privilege protects.         In that

respect, the delay in filing a motion directed to the issue, even if procedurally proper,

speaks to a lack of good cause to reopen discovery. These issues have been known to

Plaintiff, if not since the onset of litigation, at least since early 2022. Even after the

close of discovery, Plaintiff had ample opportunity to obtain the information she seeks

now—including in camera review of documents, directions to confer with opposing

counsel about the privilege issue, and allowing her to depose Mr. Budzik a third time.

      Moreover, reopening discovery at this late date would upend the case

management schedule under which the Court and the parties have long operated,

invariably create numerous discovery disputes, and require a do-over of summary




                                           147
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 148 of 183. PageID #: 15750




judgment briefing—all to the prejudice of Defendants and out of all proportion to the

needs of the case.

      For these reasons, the Court finds no good cause to reopen discovery now and

declines to do so.

             III.A.3. Rule 56(d)

      Construing Plaintiff’s motion to compel as a motion under Rule 56(d) for

additional discovery to oppose summary judgment does not change the disposition of

the motion. See Doe v. City of Memphis, 928 F.3d 481, 490–91 (6th Cir. 2019). Here,

Plaintiff’s 150 pages of opposition briefing and her motion for summary judgment

refute the need for additional discovery to oppose Defendants’ summary judgment

motions. Moreover, nowhere in that briefing or in her motion to compel does Plaintiff

identify what material facts the discovery she seeks might reveal or how new

information would support her claims beyond the existing record.

             III.A.4. De Novo In Camera Review

      The attorney-client privilege “is narrowly construed because it reduces the

amount of information discoverable during the course of a lawsuit.” United States v.

Collis, 128 F.3d 313, 320 (6th Cir. 1997) (citing In re Grand Jury Proceedings Oct. 12,

1995, 78 F.3d 251, 254 (6th Cir. 1996)). The privilege “applies only to the extent that

it serves ‘the broader public interests’”—meaning, “[i]t has no application to legal

advice in aid of a fraudulent scheme or criminal activity.” Fausek v. White, 965 F.2d

126, 129 (6th Cir. 1992) (citing In re Antitrust Grand Jury, 805 F.2d 155, 162 (6th

Cir. 1986)). On a showing by a preponderance of the evidence, the crime-fraud

exception applies where: (1) the client was engaged in or planning a criminal or

                                         148
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 149 of 183. PageID #: 15751




fraudulent scheme when it sought the advice of counsel to further the scheme; and

(2) the documents containing the privileged materials bear some relationship to the

alleged crime or fraud. See In re Antitrust Grand Jury, 805 F.2d at 164. An attorney

need not take part in or even know about the crime or fraud for the exception to apply

because the client’s purpose controls. United States v. Skeddle, 989 F. Supp. 890, 902

(N.D. Ohio 1997).

         With the benefit of the record on summary judgment, the parties’ briefing on

the merits, and Plaintiff’s motion to compel, the Court conducted another review of

all materials previously submitted for in camera review. Because of the peculiar

circumstances of this case, which involve claims under State law for civil liability for

criminal acts and questions about the role that lawyer, Mr. Budzik, played in the

discipline of Ms. Buddenberg, the Court finds that Plaintiff, again, has made a

sufficient prima facie showing justifying in camera review. See United States v. Zolin,

491 U.S. 554, 572 (1994). Based on this re-review, the Court remains of the view it

previously expressed: the crime-fraud exception does not apply, and Mr. Budzik (or,

more accurately, the District as the client and holder of the privilege) properly

withheld from discovery the privileged materials at issue. (See ECF No. 142, PageID

#937–38.) The documents and information at issue contain no indicia of fraud or any

crime.      The Court’s in camera review revealed, again, only the ordinary

communications between a client (and its agent) and its counsel. Nor do the materials

contain a smoking gun establishing the liability of the District Defendants or

Mr. Budzik.



                                          149
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 150 of 183. PageID #: 15752




                                   *      *      *

      For all these reasons, the Court DENIES Plaintiff’s motion for discovery of

materials and information within crime-fraud exception to the attorney-client

privilege (ECF No. 283). Further, based on the record as a whole, the Court finds

that the motion at issue sought either additional briefing on summary judgment,

beyond the already generous page limits, or to counterbalance the record after

Defendants raised their claim of spoliation. Because no other basis comes close to

supporting the discovery Plaintiff seeks in her motion to compel, the Court need not

consider the matter further.

      III.B. Rule 37 Sanctions

      Pursuant to Rule 37(e), Defendants request that the Court sanction

Ms. Buddenberg for claimed spoliation of evidence in anticipation of this suit and

during discovery. (ECF No. 256, PageID #14643.) They also maintain that Rule

37(b)(2) (failure to obey a discovery order), Rule 37(c)(1) (failure to supplement a

discovery response), and the Court’s inherent authority provide a basis for sanctions.

(Id., PageID #14643 & 14646.) Their motion focuses largely on text messages lost—

unintentionally or deliberately—from Ms. Buddenberg’s cellphone. Plaintiff opposes

the motion and argues that Defendants have not met their burden to prove spoliation

and that sanctions are unwarranted. (ECF No. 276.)

             III.B.1. Findings of Fact

      On Defendants’ motion for sanctions, the Court makes the following findings

of fact only for purposes of that motion. In ruling on the parties’ respective motions

for summary judgment, the Court gave these findings no consideration. To ensure it

                                         150
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 151 of 183. PageID #: 15753




did not consider these findings, the Court concluded its analysis of the parties’

summary judgment motions before turning to the record on Defendants’ motion under

Rule 37. With respect to the motion for sanctions, the record includes more than 100

pages of briefs, over 1,200 pages of evidentiary materials, and two days of testimony

at a hearing spanning nearly 400 pages of transcript.

                    III.B.1.a. Ms. Buddenberg had difficulty hiring a lawyer
                               but had counsel about a year before filing this
                               lawsuit.

      In February 2017, after filing her charge with the EEOC, Ms. Buddenberg

started trying to hire a lawyer. (ECF No. 238, PageID #13177.) She had difficulty

finding an attorney to represent her. (Id. at PageID #13177–78.)

      Although Ms. Buddenberg did not have a lawyer present at the disciplinary

hearing (id. at PageID #13185–86), during that hearing held on March 3, 2017, she

stated that she learned about a document allegedly threatening to fire Mix that was

left open on a computer. (ECF No. 210-4, PageID #11333). She learned about that

document because, “[a]ctually to [her] attorney it was presented.” (Id.) At the latest,

she had counsel by mid-April 2017. (ECF No. 238, PageID #13178; see also id.,

PageID #13186–87; ECF No. 276, PageID #15379.) Whenever Ms. Buddenberg had

counsel, she was contemplating litigation against the District by the date of her

disciplinary hearing and was represented about a year before filing this lawsuit on

March 6, 2018. (ECF No. 237, PageID #13024.)




                                         151
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 152 of 183. PageID #: 15754




                     III.B.1.b. By April 2017, Ms. Buddenberg knew she needed
                                to preserve evidence, including text messages.

        Ms. Buddenberg knew that she needed to preserve evidence for use in this case.

(ECF No. 237, PageID #12987.) Further, she “[a]bsolutely” understood that this

obligation included information on her phone, which encompassed text messages.

(Id.)   The litigation record confirms that Ms. Buddenberg texted with Mix and

Andrews about the retaliation she experienced. (ECF No. 276, PageID #15378.)

        During the times relevant to the underlying events, from October 2016 to April

2017, Ms. Buddenberg used an iPhone 6. (ECF No. 238, PageID #13193, #13202,

#13206 & #13223.) In June 2017, she traded in that device through Verizon for an

iPhone 7 Plus. (Id.) When she did, she relied on Verizon to transfer data from the

old device to the new one. (ECF No. 238, PageID #13224.) At these times, she had

her phones set to backup to iCloud for which she had a paid subscription. (Id.; ECF

No. 237, PageID #12983–86.)

                     III.B.1.c. Ms. Buddenberg provided altered text messages
                                with Dan Mix and Darla Andrews to counsel.

        By April or May 2017, Ms. Buddenberg was working with her counsel. (ECF

No. 227-17, PageID #12301; see also ECF No. 208-2, PageID #10455; ECF No. 238,

PageID #13178.) From the beginning of the litigation, Ms. Buddenberg knew that

Mix and Andrews would be important witnesses for her. (ECF No. 237, PageID

#12980 & #13038–40.)

        To offer background to her counsel, Ms. Buddenberg started providing text

messages to her lawyers. (ECF No. 238, PageID #13182.) She did this by taking

screenshots of what she considered relevant text messages, which she printed out at

                                         152
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 153 of 183. PageID #: 15755




home and gave to her counsel. (Id., PageID #13188–89 & #13209.) She did not know

of any other way to share text messages with her lawyers. (Id., PageID #13190 &

#13209–10.) Some text threads she altered by making “it so that it was more concise

with dates” to fit on a single page to print. (Id., PageID #13188 & 13300.) She saved

the original screen shots and the altered photos of them. (Id., PageID #13188 &

#13210.) These screenshots were created within a one-hour window on May 6, 2017.

(ECF No. 237, PageID #13128 & #13143.) Two days later, she provided them to her

counsel. (ECF No. 208-2, PageID #10455.)

                   III.B.1.d. She also deleted other text messages.

      Ms. Buddenberg did not provide her attorneys with “everything,” just the

electronically stored information she thought was relevant. (ECF No. 238, PageID

#13189.) She admitted to deleting text messages with Mix:

      Q.     Did you purposely delete any Dan Mix text messages off your
             phone?

      A.     I did not purposefully delete any text messages that I felt to be
             relevant.

(ECF No. 237, PageID #12988.) Similarly, Ms. Buddenberg admitted to deleting text

messages from Andrews. (Id., PageID #12989–90.) This testimony in court stands

at odds with Ms. Buddenberg’s denials in deposition of deleting any text messages.

(ECF No. 205-1, PageID #9050–51.)

      Based on her qualified answers to these questions on the witness stand in

March 2023, along with her demeanor at the hearing, the Court finds that

Ms. Buddenberg deliberately deleted text messages with Mix and Andrews. The

documentary record supports this finding too. Despite the volume of text messages

                                        153
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 154 of 183. PageID #: 15756




ultimately produced between Ms. Buddenberg and Mix, the first text message

between the two produced at any time during this litigation is dated October 25,

2016—the day after Ms. Buddenberg’s report to the Board. (ECF No. 227-17, PageID

#12278.) That text appears to start midstream, “That is a relief.” (Id.) Assuming

the date makes the context clear, and even accounting for the proximity of the offices

of Mix and Ms. Buddenberg such that extensive texting was not necessary, the Court

finds it not credible that the two did not text at all before October 25, 2016, at the

very least on the date Ms. Buddenberg went to the Board or in the days leading up to

her report to the Board.

                   III.B.1.e. Counsel produced the text messages that
                              Ms. Buddenberg provided.

      In June 2018, the parties filed a report of their planning meeting pursuant to

Rule 26(f). (ECF No. 39; see also ECF No. 227, PageID #12150.) In the recommended

discovery plan, Ms. Buddenberg represented that she had “identified personal

devices” containing discoverable electronically stored information. (ECF No. 39,

PageID #490.)

      On her initial disclosures, Plaintiff listed Mix and Andrews as individuals with

discoverable information. (ECF No. 41, PageID #497 & #499.) Also, she identified

text messages with Mix and other District employees as documents supporting her

claims. (Id., PageID #502.) She even produced some, totaling 17 pages of screenshots

of text messages, with her initial disclosures. (ECF No. 227-3; ECF No. 227-5.) These

text messages consist of 55 text messages with Mix and 54 with Andrews.




                                         154
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 155 of 183. PageID #: 15757




      In discovery, Defendants requested relevant communications, specifically

including text messages. (ECF No. 227-6, PageID #12208; see also ECF No. 227-7,

PageID #12216–17.) In response, Plaintiff produced no new documents and referred

Defendants to the documents produced with her initial disclosures. (Id.) In July

2021, Plaintiff made a supplemental production that included 5 additional text

messages from Mix and 16 from Andrews. (See ECF No. 227-8; ECF No. 227-9.)

                     III.B.1.f.   After the close of discovery, supplemental
                                  productions of numerous text messages led to
                                  further investigation.

      In January 2022, Ms. Buddenberg traded in her iPhone 7 Plus for an iPhone

13. (ECF No. 227-29, PageID #12696; ECF No. 238, PageID #13226.) Again, she

relied on Verizon to transfer the data from her old device to the new one. (ECF

No. 238, PageID #13226.)

      After the close of discovery, the day before the conclusion of the deposition of

the Board’s chair, Plaintiff made a supplemental production of emails that Mix and

Ms. Buddenberg exchanged on their personal accounts. (ECF No. 227-10.) This

production triggered ongoing discussions between counsel to identify the reason for

the production and to ensure its completeness.         (Id.; ECF No. 227-11; ECF

No. 227-12.)

      By the end of February 2022, Plaintiff produced 132 new documents, including

over 100 text messages with Mix and nearly 90 with Andrews. (See ECF No. 227-13;

ECF No. 227-14; ECF No. 227-15.) Plaintiff’s counsel explained the circumstances of

these productions.    (ECF No. 227-15.)    Specifically, Ms. Buddenberg provided a

document to counsel that counsel had not previously seen. (Id., PageID #12273.)
                                          155
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 156 of 183. PageID #: 15758




That document prompted a new search of Ms. Buddenberg’s email account, which

turned up additional information to produce that Ms. Buddenberg had not previously

provided to her lawyers and further discussions between counsel.             (Id.; ECF

No. 227-19.)

        In March 2022, Plaintiff made another supplemental production of 92 pages of

text messages with Mix containing over 1,300 messages and 117 pages of texts with

Andrews containing over 300 messages.           (ECF No. 227-17; ECF No. 227-18.)

Plaintiff’s counsel explained that a “text-extraction program was used to extract and

produce all texts between Ms. Buddenberg and Dan Mix, and Ms. Buddenberg and

Darla Andrews.” (ECF No. 227-19, PageID #12487.) But this production raised

further concerns for defense counsel because some of the texts produced in

Ms. Buddenberg’s previous discovery responses were missing from this extraction.

(ECF No. 238, PageID #13291–92.) Subsequent discussions between counsel resulted

in an agreement in April 2022 for additional forensic searches for electronically stored

information, including of Ms. Buddenberg’s personal cell phones and other devices,

by Vestige Digital Investigations. (See ECF No. 137, PageID #916.)

                    III.B.1.g. Ms. Buddenberg attempts to frustrate the
                               Court’s Order by obstructing forensic imaging
                               and review of her devices.

        According to the parties’ agreement, which the Court entered as an order,

Ms. Buddenberg was to make her devices available to Vestige for forensic imaging.

(ECF No. 137, PageID #916.) When she did so, her iPhone 13 was in factory reset

mode.      (ECF No. 229-1, PageID #12931; ECF No. 237, PageID #13085.)

Ms. Buddenberg testified that her iPhone 13, which she acquired a few months
                                          156
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 157 of 183. PageID #: 15759




earlier, became unresponsive shortly before Vestige was scheduled to image it. (ECF

No. 238, PageID #13231.) A Verizon customer service agent talked her through a

reboot and sent her to an Apple store to fix the issue. (Id., PageID #13231–34.) In

the meantime, so as not to be without a phone, Verizon activated Ms. Buddenberg’s

phone number on an old rose gold iPhone 7 that belonged to her stepdaughter. (ECF

No. 238, PageID #13235–26.)

      A few days before she was scheduled to turn her devices over to Vestige,

Ms. Buddenberg had an appointment with Best Buy which she scheduled through

Apple. (ECF No. 238, PageID #13238.) When she arrived, Ms. Buddenberg claims

that she informed the technician that she could not lose any data because of this

litigation. (ECF No. 238, PageID #13240.) She signed a form acknowledging that “IT

IS MY RESPONSIBILITY . . . TO BACK UP DATA” and waived any claim for loss of

data. (ECF No. 226-1, PageID #12134.) Ms. Buddenberg testified that she signed the

form but did not read it. (ECF No. 237, PageID #13090.) The technician took her

phone to a back room for about an hour. (ECF No. 238, PageID #13242–44.) When

he returned, the technician said he could not fix the iPhone 13 and returned it. (Id.,

PageID #13244.)

      When Ms. Buddenberg provided her iPhone 13 to Vestige, she also brought the

rose gold iPhone 7 she had been using and her iPad. (Id., PageID #13250.) Like the

iPhone 13, the rose gold iPhone 7 and iPad contained no usable relevant data. (ECF

No. 237, PageID #13133.) Ms. Buddenberg did not connect these devices—the rose

gold iPhone 7 and the iPad—to iCloud to synch them to the information she had



                                         157
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 158 of 183. PageID #: 15760




backed up there. (Id., PageID #13083 & #13133.) Accordingly, Ms. Buddenberg

appeared at the forensic examination with devices that yielded nothing of value to

this case. (Id., PageID #13133.)

      Based on her testimony at the hearing, and the opportunity to observe her on

direct and cross-examination, the Court finds that Ms. Buddenberg’s errata executed

five weeks after her deposition (ECF No. 227-29) amounts to little more than a self-

serving affidavit submitted in response to a motion for summary judgment and,

accordingly, discounts it. Further, the Court finds that Ms. Buddenberg displayed a

lack of candor about the circumstances involving the loss of data from her devices.

                   III.B.1.h. Fortuitously, Defendants obtain             access      to
                              Ms. Buddenberg’s iCloud account.

      Vestige obtained none of the information subject to the protocol for forensic

searches for electronically stored information that the Court entered as an Order from

Ms. Buddenberg herself. (ECF No. 137.) But some information came to light. At

Vestige’s request, a law clerk at the firm representing Ms. Buddenberg provided

access to her iCloud account, including the most recent backup of it. (ECF No. 238,

PageID #13250.)

      From review of the iCloud data (ECF No. 237, PageID #13132–35), Vestige

recovered 43 screenshots of texts from Ms. Buddenberg to Mix (ECF No. 227-26) and

74 screenshots of texts from her to Andrews (ECF No. 227-27). Many of these text

messages had not been previously produced. They show that Ms. Buddenberg deleted

relevant text conversations that bear directly on the parties’ respective claims and

defenses.


                                         158
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 159 of 183. PageID #: 15761




                    III.B.1.i.   Ms. Buddenberg deleted relevant text messages.

      To illustrate the point, the Court uses just two examples.

      First, on March 6, 2017, the day before Ms. Buddenberg filed a charge of

retaliation with the EEOC, she texted with Mix. She produced the following version

of that text conversation with her initial disclosures:




(ECF No. 227-3, PageID #12191.) This version of the text exchange provides evidence

directly supporting Ms. Buddenberg’s claim of retaliation.




                                          159
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 160 of 183. PageID #: 15762




      Vestige recovered three different versions of screenshots of this same text

conversation (with boxes showing deletions and arrows pointing to where that

content should be):




     ECF No. 227-26, PageID #12535   ECF No. 227-26, PageID #12536   ECF No. 227-26, PageID #12568



The right most text message is the one produced with the initial disclosures. At

minimum, these alterations to the text thread present material for further

investigation. At worst, they show Ms. Buddenberg intentionally altering content to

make her case appear stronger or even manufacturing facts to support her claims. In

between these extremes, lie a host of other possible explanations.

      Second, on November 2, 2016, Ms. Buddenberg texted with Andrews. She

produced the following text exchange, among others, with her initial disclosures:




                                               160
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 161 of 183. PageID #: 15763




(ECF No. 227-5, PageID #12201.) Again, this text message provides direct support

for Ms. Buddenberg’s version of events.

      Vestige retrieved another version of it (the version produced with Plaintiff’s

initial disclosures appears on the left):




                                            161
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 162 of 183. PageID #: 15764




The second version recovered shows that Ms. Buddenberg altered the content of this

exchange sometime after 2017 when she first provided it to her counsel by deleting

certain texts.

       These are just two of the many examples of such text messages at issue.

                    III.B.1.j.   Ms. Buddenberg also failed to produce relevant
                                 electronically stored information.

       Vestige’s analysis of the data stored in the iCloud identified 43 screenshots of

text   conversations   between    Ms.   Buddenberg    and    Mix   and   74   between

Ms. Buddenberg and Andrews, including 43 messages with Mix that were not

previously produced and 28 with Andrews. (ECF No. 227-26; ECF No. 227-27.)




                                         162
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 163 of 183. PageID #: 15765




      Technologically, Plaintiff’s expert identified only one way individual text

messages could be deleted. (ECF No. 228, ¶ 3(a), PageID #12922.) It requires

intentional action by a device’s user to select particular messages to delete.

Additionally, the record contains evidence of Ms. Buddenberg using this method to

delete particular text messages. (ECF No. 227-27, PageID #12583–85, #12619–20 &

#12625–26; ECF No. 227-26, PageID #12544–45.)

      There is much more to the technological ins and outs associated with the

parties’ respective positions on Ms. Buddenberg’s electronically stored information.

The Court has it reviewed it all, several times, and worked through it. The Court will

not get into all the technical parameters associated with data storage, its retrieval,

and how Ms. Buddenberg went about it here. Based on its review, and in the interest

of clarity, the Court limits its discussion of those matters to the following finding:

although there might be any number of innocent or inadvertent occurrences that

would explain a discrepancy here or there, or even categorical ones based on date or

the like, particularly for a technology user of typical or average competence for a

person of her age, as Ms. Buddenberg is, no such explanation accounts for the sheer

number of missing or deleted text messages in the record.

                   III.B.1.k. For Ms. Buddenberg, the ends justify the means.

      The Court addresses one last factual matter based on the opportunity to

observe Ms. Buddenberg and listen to her testimony over a protracted period of time

at the hearing in March 2023. During her testimony, Ms. Buddenberg was asked on

cross-examination about her deposition on July 8, 2022, in which she was questioned

about the deletion of text messages.       She and counsel sparred over whether
                                         163
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 164 of 183. PageID #: 15766




Ms. Buddenberg should have anticipated and been prepared to address that topic.

(ECF No. 238, PageID #13295.) Ms. Buddenberg testified that she “went in[to] it

knowing that I knew my truth, I know that I didn't do anything wrong, and I knew

that I could answer questions.” (Id., PageID #13296.)

      This testimony was not an isolated incident. For example, when discussing

what she considers false charges giving rise to her discipline, Ms. Buddenberg became

quite emotional and testified: “I offered so much fact to demonstrate that none of the

stuff that they were accusing me of was real, and I believed, I trusted that Mr. Budzik

was going to take that information and use the truth that I was giving him.” (Id.,

PageID #13184.)

      Watching Ms. Buddenberg’s testimony on these and other occasions leaves the

Court convinced that she feels wronged by the events at issue in this lawsuit. The

Court has no doubt that Ms. Buddenberg believes, perhaps with justification, that

Mr. Weisdack was an abusive and poor manager for the District and that Mix or

others would better serve the District, its employees, and ultimately the public. That

is the “my truth” to which she spoke. And she believes this version of the truth, her

truth, so strongly and so righteously that the Court finds that Ms. Buddenberg took

it upon herself to make sure the facts aligned with her truth. That is, when she had

difficulty finding a lawyer, Ms. Buddenberg edited text messages to make her truth

appear unassailable. Without doing so, she might not have found any lawyer to take

up her cause. When ordered to turn her devices over for forensic investigation, she

did what she could to ensure they were useless. And she took steps along the way to



                                         164
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 165 of 183. PageID #: 15767




curate the record, to make it more favorable to her or to ensure that it reflected her

truth.

         In this regard, Ms. Buddenberg can testify, truthfully from her perspective,

that she “did not purposefully delete any text messages that [she] felt to be relevant”

(ECF No. 237, PageID #12988) or that she did not intentionally delete any messages

to help her legal case (ECF No. 238, PageID #13210). But the objective facts do not

bear out her testimony or this version of events. When asked at the hearing about

missing text messages, Ms. Buddenberg’s pauses, lengthy at times, showed

knowledge of the reason for the missing or altered messages and the need to

articulate a plausible explanation consistent with “her truth.” Similarly, when asked

whether she ever wrote anything in a text that would benefit her if deleted, her

lengthy pauses spoke volumes.       Accordingly, the Court finds that the physical

evidence and Ms. Buddenberg’s dissembling when confronted with the actual truth

or with facts that contradict or call into question “her truth” leave little doubt about

the events that transpired with Ms. Buddenberg’s devices.

               III.B.2. Conclusions of Law

         An amendment to Rule 37(e) in 2015 worked major changes to the availability

of sanctions for a party’s spoliation of or failure to preserve electronically stored

information. Accordingly, cases interpreting or applying previous versions of the

Rule have little application outside of certain limited areas, such as when a party has

a duty to preserve or what amounts to prejudice. As the movants, Defendants bear

the burden of establishing whether sanctions are warranted on the record presented.

Courser v. Michigan House of Representatives, 831 F. App’x 161, 188 (6th Cir. 2020).
                                          165
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 166 of 183. PageID #: 15768




      Titled “Failure to Preserve Electronically Stored Information,” Rule 37

provides for sanctions where such information is lost, if it cannot be restored or

replaced through additional discovery. Fed. R. Civ. P. 37(e). Specifically, the Rule

applies to “electronically stored information that should have been preserved in the

anticipation or conduct of litigation.” Id. And its unavailability must result “because

a party failed to take reasonable steps to preserve it.” Id. Therefore, “the routine,

good-faith operation of an electronic information system” presents a relevant

consideration in evaluating whether a party failed to take reasonable steps to

preserve information.    Fed. R. Civ. P. 37(e) advisory committee’s note to 2015

amendment.     Reasonable steps to preserve do not require perfection.           Id.   In

particular, individual litigants might have less familiarity with preservation

obligations than those experienced in litigation. Id.

      Where the loss of information results from a failure to take reasonable steps to

preserve it, “upon a finding of prejudice to another party from loss of the information,”

a court “may order measures no greater than necessary to cure the prejudice.” Fed.

R. Civ. P. 37(e)(1). Even then, “the initial focus should be on whether the lost

information can be restored or replaced through additional discovery.” Fed. R. Civ.

P. 37(e) advisory committee’s note to 2015 amendment. Under subsection (e)(1), a

finding of prejudice requires “an evaluation of the [lost] information’s importance in

the litigation.” Courser, 831 F. App’x at 187–88 (quoting Fed. R. Civ. P. 37(e) advisory

committee’s note to 2015 amendment). The more severe sanctions available under

Rule 37(e)(2), including an adverse-inference jury instruction, may be imposed only



                                          166
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 167 of 183. PageID #: 15769




on a finding of specific intent “to deprive another party of the information's use in the

litigation.” Fed. R. Civ. P. 37(e)(2).

       Although Defendants seek sanctions under Rule 37(b)(2) and Rule 37(c)(2) in

addition to Rule 37(e), the Court limits its analysis, at least for now, to Rule 37(e) for

two reasons. First, the failure to obey a discovery order—in this case, the parties’

agreement, which the Court entered as an Order (ECF No. 137)—presents a narrower

and more limited issue that is a subset of the Rule 37(e) motion on this record.

Accordingly, addressing Rule 37(e) will subsume all the relevant conduct instead of

just part of it. So too with Rule 37(c)(1) and Plaintiff’s failure to supplement. In any

event, these provisions of Rule 37 carry many of the same sanctions potentially

available under Rule 37(e). Second, a basic rule of statutory interpretation is that

the specific controls the general. See Fourco Glass Co. v. Transmirra Prods. Corp.,

353 U.S. 222, 228–29 (1957). Here, Rule 37(e) specifically governs a party’s failure to

preserve electronically stored information. This specific rule governs the analysis,

not the more general provisions in other parts of Rule 37, because it regulates the

particular circumstances at issue.

       Finally, a word about inherent authority. A federal district court has inherent

authority to sanction bad-faith conduct. First Bank v. Hartford Underwriters Ins.

Co., 307 F.3d 501, 512 (6th Cir. 2002) (quoting Runfola & Assocs. v. Spectrum

Reporting II, 88 F.3d 368, 375 (6th Cir. 1996)). “[F]ederal courts have the inherent

power to impose sanctions to prevent the abuse of the judicial process.” Laukus v.

Rio Brands, Inc., 292 F.R.D. 485, 502 (N.D. Ohio 2013). Where a party litigates in



                                           167
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 168 of 183. PageID #: 15770




bad faith or for oppressive reasons, a court may invoke its inherent authority to

impose sanctions. Big Yank Corp. v. Liberty Mut. Fire Ins. Co., 125 F.3d 308, 313

(6th Cir. 1997) (quoting Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240,

247 (1975)). In the Court’s view, Rule 37(e) displaces resort to inherent authority as

a basis for sanctions in all but the most egregious of cases, at least with respect to a

failure to preserve electronically stored information. Nonetheless, some courts still

invoke their inherent authority after the 2015 amendment, see e.g., Ottoson v. SMBC

Leasing & Fin., Inc., 268 F. Supp. 3d 570, 579–80 (S.D.N.Y. 2017). But the detailed

provisions of the rule “foreclose[] reliance on inherent authority . . . .” Fed. R. Civ.

P. 37(e) advisory committee’s note to 2015 amendment; see also Newberry v. County

of San Bernardino, 750 F. App’x 534, 537 (9th Cir. 2018). Accordingly, the Court also

need not address inherent authority at this time.

                    III.B.2.a. Should Have Been Preserved

      Rule 37(e) only applies where electronically stored information “should have

been preserved in the anticipation or conduct of litigation.” Where a party destroys

or fails to preserve evidence in anticipation of litigation, a court may impose sanctions

for spoliation. Applebaum v. Target Corp., 831 F.3d 740, 744 (6th Cir. 2016) (citing

Adkins v. Wolever, 554 F.3d 650, 651 (6th Cir. 2009) (en banc)). Rule 37(e) does not

create a duty to preserve evidence, instead it is based on the common-law duty to

preserve. Fed. R. Civ. P. 37(e) advisory committee’s note to 2015 amendment. “[I]t

is beyond question that a party to civil litigation has a duty to preserve relevant

information, including [electronically stored information], when that party ‘has notice

that the evidence is relevant to litigation or . . . should have known that the evidence
                                          168
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 169 of 183. PageID #: 15771




may be relevant to future litigation.’” John B. v. Goetz, 531 F.3d 448, 459 (6th Cir.

2008) (quoting Fujitsu Ltd. v. Federal Express Corp., 247 F.3d 423, 436 (2d Cir. 2001)).

Any number of events put a party on notice of a duty to preserve: demand letters,

hold notices, preservation requests, litigation threats, or a party’s own decision to

pursue a claim. Gomez v. Metropolitan Gov’t of Nashville & Davidson Cnty., No. 3:19-

cv-00026, 2021 WL 3406687, at *2 (M.D. Tenn. Aug. 4, 2021) (citation omitted). Some

courts consider the filing of an EEOC charge a sufficient trigger for the duty to

preserve evidence. See Chatman v. Truegreen Ltd. P’ship, No. 22-cv-2705, 2023 WL

8284401, at *3 (W.D. Tenn. Nov. 30, 2023) (collecting cases).

      Here, the record leaves no doubt that by April 2017 (at the latest)—about a

year before commencing this lawsuit—Ms. Buddenberg had a duty to preserve her

electronically stored information and should have preserved text messages with Mix

and Andrews. By her own admission, she was contemplating litigation as of the date

of her disciplinary hearing and knew the importance of each of these witnesses.

Within a month or so of that hearing, at the latest, Ms. Buddenberg had counsel.

Shortly after having counsel, she provided text messages to her lawyers, recognizing

their importance. Ms. Buddenberg had a duty to preserve and should have preserved

her text messages with Mix and Andrews, as well as other electronically stored

information in anticipation of litigation. In this regard, the fact that no Defendant

requested production of electronically stored information until 2022 has no legal

significance. (ECF No. 227, PageID #12150.) Ms. Buddenberg had a duty to preserve

nonetheless.



                                          169
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 170 of 183. PageID #: 15772




                     III.B.2.b. Reasonable Steps to Preserve

         For a movant to obtain sanctions under Rule 37(e), the loss of electronically

stored information must be “because a party failed to take reasonable steps to

preserve it.” Fed. R. Civ. P. 37(e). Therefore, “the routine, good-faith operation of an

electronic information system” presents a relevant consideration in evaluating

whether a party failed to take reasonable steps to preserve information. Fed. R. Civ.

P. 37(e) advisory committee’s note to 2015 amendment. Reasonable steps to preserve

do not require perfection. Id. In particular, individual litigants might have less

familiarity with preservation obligations than those experienced in litigation. Id.

         On the one hand, Ms. Buddenberg backed up the contents of her iPhone to the

cloud.     Without more, such a reasonable step might ordinarily foreclose the

availability of Rule 37(e) sanctions. But here there is more. The record shows that

Ms. Buddenberg curated the text messages she provided to her counsel—she sent

certain threads, not everything, and selectively edited their content. Then, she failed

to produce the electronically stored information backed up in the cloud in discovery

or even provide it to her counsel. When ordered to produce her devices for imaging,

they contained no usable information, and her primary phone was in factory reset

mode. Although relevant data still resided in the cloud, Ms. Buddenberg did not

download it or provide it to Vestige or her counsel.

         This conduct on the part of Ms. Buddenberg shows a failure to take reasonable

steps to preserve electronically stored information for use in litigation consistent with

her duty to preserve this evidence and her obligations in discovery to produce it. See

Schnatter v. 247 Group, LLC, 3:20-cv-00003, 2022 WL 2402658, at *10–11 (W.D. Ky.
                                          170
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 171 of 183. PageID #: 15773




March 14, 2022) (finding that a plaintiff did not take reasonable steps to preserve

evidence where he deliberately deleted some text messages, even though other

electronic evidence was backed up to the cloud); see also Adamczyk v. School Dist. of

the City of Hamtramck Pub. Schs., No. 2:20-cv-12450, 2023 WL 2733385, at *14 (E.D.

Mich. Mar. 31, 2023) (finding that a school’s superintendent did not take reasonable

steps to preserve electronically stored information when he turned his phone over in

factory reset mode rather than “as is”).

      Plaintiff argues that there “was no reason she would have thought to save every

message” between herself, Mix, and Andrews. (ECF No. 276, PageID #15395.) A

litigant has no duty to retain every document in her possession. United States v.

Florence, No. 2:13-cv-00035, 2020 WL 1047377, at *4 (M.D. Tenn. Mar. 4, 2020)

(citations omitted).   But this is not a case of a party or court insisting on the

preservation or production of every scrap of paper or every electron, as the case may

be. To the contrary, the Court is not focused on marginal or de minimis gaps in the

production or the odd missing text here or there. This record shows a limited, curated

production and a wholesale effort to avoid any further discovery.

      Further, Plaintiff contends that “[s]he was required to preserve only

documents she knew were relevant to future potential litigation.” (ECF No. 276,

PageID #15396 (emphasis removed).) But Ms. Buddenberg admitted that her text

messages with Mix and Andrews were relevant. In any event, her duty extends

beyond what she knew—it extends to evidence which she should reasonably have

known had relevance. See Florence, 2020 WL 1047377, at *4.



                                           171
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 172 of 183. PageID #: 15774




      Finally, this part of Rule 37(e) focuses on the reasonableness of a party’s steps

to preserve electronically stored information considering her sophistication and level

of technological knowledge and familiarity. Without question, Ms. Buddenberg is not

sophisticated when it comes to technology, unlike a professional plaintiff or

corporation with its own information technology department. She possesses the

average technological skills of a person of her age. But the record shows that she has

enough technological knowledge to delete individual text messages and take screen

shots of them. Also, she knew enough to have the contents of her phone backed up to

the cloud. This level of knowledge suffices to show that Ms. Buddenberg knew how

to take steps to preserve and produce her electronically stored information. She failed

to do so not out of inadvertence, neglect, or even based on something outside her

control, such as the crash of a server, but instead through intentional actions and

deliberate decisions.

                    III.B.2.c. Restoration or Replacement of Information

      Before considering sanctions, Rule 37(e) focuses on whether electronically

stored information can be restored or replaced through additional discovery. Here,

the record shows, and the Court finds, that it cannot. Indeed, the parties undertook

efforts to restore the information by imaging Ms. Buddenbeg’s iCloud backup. Those

efforts failed to locate relevant information and data, for example, text messages

between Ms. Buddenberg and Mix on or before October 24, 2016. Moreover, discovery

from Mix or Andrews cannot provide those texts. When Mix left the District, he lost

access to the work content of his phone, and he testified that even its personal

contents were lost. (ECF No. 208-1, PageID #10267.) When she was deposed in
                                         172
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 173 of 183. PageID #: 15775




August 2022, Andrews testified that she no longer had text messages with, or other

documents related to Ms. Buddenberg. (ECF No. 212-1, PageID #11469–70.) She

checked her phone at the deposition, and it had no text messages with

Ms. Buddenberg. (Id., PageID #11470–72.) No party contends that either Mix or

Andrews still has relevant text massages that could be recovered.

      Plaintiff contends that she preserved the text messages produced with her

initial disclosures, which provided an alternative means for discovery of any evidence

spoliated during the conduct of this litigation—namely, the initial disclosures

themselves. (ECF No. 276, PageID #15391.) This argument misses the mark. The

initial disclosures are not true and accurate copies of the relevant text messages,

which Ms. Buddenberg curated and edited before providing them to her counsel.

They are not even all the relevant text messages. The fact that Defendants could use

the screenshots from the initial disclosures “cannot compensate for [their] inability

to obtain a complete record” of Plaintiff’s cell phone data. See Schnatter, 2022 WL

2402658, at *12 (citation omitted). And the record makes that fact clear.

      Moreover, a party typically images or otherwise preserves electronically stored

information within a reasonable time after a duty to preserve arises in a separate

mirror image file or other copy of the device or data. In such circumstances, whatever

that party does with the organic messages on her phone or email matters little if at

all because the imaged copy exists for use in the litigation. But that did not happen

here. Ms. Buddenberg did not provide her phone or iCloud back up to her counsel

until 2023.   Consequently, as she altered content—innocently, accidentally, or



                                         173
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 174 of 183. PageID #: 15776




otherwise—she was altering the only source of the electronic evidence in this case as

her actions overwrote her iCloud backup. In any event, Plaintiff’s argument fails to

account for the loss of electronically stored information and its manipulation in 2017,

including the key events in the case and the period when Ms. Buddenberg provided

some, but not all, of her relevant texts and emails to her counsel.

      Finally, Plaintiff’s expert on electronically stored information opines that the

deletions Ms. Buddenberg made “are likely irretrievable.” (ECF No. 228, ¶ 5, PageID

#12922.) For all these reasons, the record demonstrates, and the Court finds, that

the electronically stored information at issue cannot be restored or replaced through

additional discovery.

                    III.B.2.d. Prejudice

      Prejudice requires “an evaluation of the [lost] information’s importance in the

litigation.” Courser, 831 F. App’x at 187–88 (quoting Fed. R. Civ. P. 37(e) advisory

committee’s note to 2015 amendment). Plaintiff maintains that Defendants have not

suffered any prejudice because they merely “fantasize” about the content of the

allegedly spoliated messages and produced no evidence that the messages were

relevant. (ECF No. 276, PageID #15404). For purposes of spoliation, some courts

allow a showing of prejudice to be made with “plausible, concrete suggestions as to

what [the destroyed] evidence might have been.” Prudential Defense Sols., Inc. v.

Graham, No. 20-11785, 2021 WL 4810498, at *8 (E.D. Mich. Oct. 15, 2021). Before

the 2015 amendment to Rule 37(e), the Sixth Circuit recognized that circumstantial

evidence suffices. Automated Sols. Corp. v. Paragon Data Sys., Inc., 756 F.3d 504,



                                         174
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 175 of 183. PageID #: 15777




514 (6th Cir. 2014). Obviously, no one can know what evidence that no longer exists

might show.

      Defendants easily establish prejudice from the loss of the electronically stored

information at issue. At the outset, the prejudice in this case does not necessarily

result from the late disclosure of the electronically stored information, the normal

costs and burdens of litigation, or even the efforts the parties undertook to recover

what data and information they could. Instead, the information at issue materially

alters the presentation of this case and the claims and defenses available to the

parties—to the prejudice of Defendants. And the record shows as much. One example

of the electronically stored information actually produced illustrates the point.

      On Saturday, November 5, 2016, Ms. Buddenberg spoke with Ms. Livers by

phone and advised her, as a representative of the Board, of the retaliation she

experienced. (ECF No. 197-3, PageID #6050; ECF No. 203-1, PageID #8617–19.) On

its own, this fact provides support for Plaintiff’s claims. After the close of discovery,

however, Ms. Buddenberg’s counsel located and produced additional responsive

electronically stored information. (ECF No. 227-15.) That production included an

email that Ms. Buddenberg sent from her personnel email account to Mix earlier in

the day on November 5, 2016, before she called Ms. Livers. (ECF No. 208-4.) In that

email, Ms. Buddenberg proposes to Mix building a case to present to the Board to

“show them some ideas on how we can function without [Mr. Weisdack so] they may

feel more confident.”   (Id., PageID #10537.)     “We know we will be fine without

[Mr. Weisdack] but the board doesn’t know it until we show them.” (Id.)



                                          175
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 176 of 183. PageID #: 15778




      This email materially changes the context and character of Ms. Buddenberg’s

phone call with Ms. Livers later the same day. Without it, Ms. Buddenberg appears

to be taking an appropriate step to report retaliation to a member of the Board

responsible for supervising, hiring, and firing the Commissioner.          With this

additional information, Ms. Buddenberg’s conversation with Ms. Livers appears

contrived for ulterior motives. To be clear, even then, the email does not disprove

Ms. Buddenberg’s claim of retaliation. Two things can be true at once: she was in

fact retaliated against, and she worked to secure Mr. Weisdack’s ouster for that

and/or other reasons. If her claims otherwise survived summary judgment, the

parties could present and argue their respective positions on these (and other) facts

to a jury. But Ms. Buddenberg may not manipulate the record by withholding or

delaying production of this email, deleting some text messages, and curating the

content of others.

      Based on this example, which is representative of how the loss of electronically

stored information changes the complexion of the case, the Court finds that the loss

of electronically stored information, and in particular the text messages between

Ms. Buddenberg and Mix and Andrews at important times during the relevant

events, prejudices Defendants.

                     III.B.2.e. Intent to Deprive

      Under Rule 37(e)(2), “only upon finding that the party acted with the intent to

deprive another party of the information’s use in the litigation” may a court impose

more serious sanctions for the spoliation of electronically stored information. Based

on the record in this case, the Court makes this finding. Ms. Buddenberg’s conduct
                                        176
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 177 of 183. PageID #: 15779




goes beyond gross negligence or recklessness. She attempted to frustrate the forensic

investigation of her devices. She actively deleted specific text messages. During the

litigation, she altered the content of others. The facts show Ms. Buddenberg’s active

efforts to deprive Defendants of facts and information that they might be able to use

against her. Further, her testimony on the stand—including her demeanor, carefully

evasive answers, and pregnant pauses—bolsters this finding.

                    III.B.2.f. Unclean Hands

      Finally, Plaintiff contends that the doctrine of unclean hands precludes

Defendants from carrying their burden to warrant any sanction under Rule 37(e).

(ECF No. 276, PageID #15407.) Factually, Plaintiff points to a litany of bad acts on

Defendants’ part to support this argument. (Id., PageID #15407–08.) Several of these

instances overlap with conduct at issue in Plaintiff’s claims on summary judgment.

      At bottom, this argument turns on the contested authenticity of an email to

Andrews that Mr. Weisdack denies authoring and that the District did not produce

in discovery. (ECF No. 194-6.) For purposes of summary judgment, the Court already

assumed the authenticity of this email, construed it in Plaintiff’s favor, and

considered it. As a defense to sanctions under Rule 37(e), this email has no weight

for two reasons. Factually, at best, it presents a single instance of spoliation over

which the parties’ have good-faith disputes. Legally, Plaintiff directs the Court to no

authority that a party must have clean hands before seeking sanctions under

Rule 37(e). Each of the cases on which she relies relates instead to the general

proposition that a party may not obtain injunctive or other equitable relief with

unclean hands. But the Federal Rules of Civil Procedure abolish the distinction
                                         177
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 178 of 183. PageID #: 15780




between law and equity in favor of one cause of action. Fed. R. Civ. P. 2. Therefore,

is difficult to see how the equitable doctrine of unclean hands can bar the availability

of sanctions for which the same Rules make allowance in Rule 37(e). On a practical

level, permitting actionable conduct to defeat Rule 37(e) sanctions would make the

Rule categorically unavailable in a broad swath of litigation—a nonsensical result at

odds with the plain text of the Rule and its purpose.

             III.B.3. Appropriate Sanction(s) (Rule 37(e)(1)–(2))

      If “the party acted with the intent to deprive another party of the information’s

use in the litigation,” a court may order more serious sanctions, including instructions

to the jury or dismissal. Fed. R. Civ. P. 37(e)(2). “A showing of negligence or even

gross negligence will not do the trick.” Applebaum v. Target Corporation, 831 F.3d

740, 745 (6th Cir. 2016) (citation omitted). But the party’s intent is enough; no

finding of prejudice is necessary. Fed. R. Civ. P. 37(e) advisory committee’s note to

2015 amendment. In using the more serious sanctions available under Rule 37(e)(2),

courts must exercise caution. Id. Such remedies should not be used where lesser

measures, including those available under Rule 37(e)(1), would suffice to redress the

loss of the information at issue. Id.

      Application of Rule 37(e)(2) “requires a finding,” which “may be made by the

court when ruling on a pretrial motion . . . or when deciding whether to give an

adverse inference instruction at trial” under Rule 104(b). Fed. R. Civ. P. 37(e)(2)

advisory committee’s note to 2015 amendment; see also United States v. Maddox, 944

F.2d 1223, 1230 (6th Cir. 1991) (applying Rule 104(b) in the context of a spoliation

claim in a criminal case). Although the advisory committee’s note allows a court to
                                          178
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 179 of 183. PageID #: 15781




make findings for purposes of summary judgment, as already noted, the Court did

not do so in the interests of ruling on the merits.

       Because the Court finds that Ms. Buddenberg acted with the intent to deprive

her adversaries of electronically stored information, including her text messages with

Mix and Andrews, to help her case, a sanction under Rule 37(e)(2) might be

appropriate, subject to the limiting principle of Rule 37(e)(1). At the hearing, the

parties requested the opportunity for additional briefing on any sanction or remedy

following the Court’s findings.     (ECF No. 238, PageID #13333–36; see also ECF

No. 256, PageID #14647.)        Accordingly, determining the appropriate sanction

remains a matter for another day, and the Court will schedule additional proceedings

to address the matter at an appropriate time.

       As a final note on the issue, the Court emphasizes that nothing in the record

supports any sanction against counsel. To the contrary, Plaintiff’s counsel acted with

reasonable diligence upon learning of the issues with electronically stored

information, cooperated within the bounds of the Rules in their investigation, and

aggressively defended their client. Whatever sanction(s) the record might ultimately

necessitate, they are not appropriate against Plaintiff’s counsel and do not result from

counsel’s efforts on behalf of their client.

             FINAL JUDGMENT AND INTERLOCUTORY APPEAL

       A grant of summary judgment constitutes a final judgment, which may be

appealed. But further proceedings remain to determine the appropriate sanction for

Ms. Buddenberg’s spoliation, including the prospect of a case-dispositive sanction



                                           179
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 180 of 183. PageID #: 15782




under Rule 37(e)(2). In that respect, the Court’s ruling on Defendants’ motion under

Rule 37(e) remains interlocutory. Moreover, the imposition of a sanction short of

dismissal with prejudice constitutes an interlocutory order. See Mohawk Indus. v.

Carpenter, 558 U.S. 100, 111 (2009).

      Nonetheless, the interlocutory character of the Court’s ruling on Defendants’

motion for sanctions does not affect the finality of the summary judgment ruling

because any sanction under Rule 37(e) is collateral to the merits. Any such sanction

does “not signify a district court’s assessment of the legal merits” of a party’s claims

or defenses. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 396 (1990). Even a “case-

dispositive sanction that operates ‘on the merits’ under Rule 41(b)” remains

collateral. See Ben E. Keither Co. v. Dining Alliance, Inc., 80 F.4th 695, 700 (5th Cir.

2023) (considering the issues for jurisdictional purposes) (citing Ernst v. Rising, 427

F.3d 351, 367 (6th Cir. 2005), among other cases).

      Notwithstanding these formalities, the Court believes that it and the parties

would benefit from appellate review of the entirety of this ruling and all issues in the

case at one time. Though the Court finds that there is no just reason to delay an

immediate appeal of its ruling under Rule 37(e), that motion does not present an

independent cognizable claim for relief. See Curtiss-Wright Corp. v. General Elec.

Co., 446 U.S. 1, 7 (1980). Therefore, Rule 54(b) does not permit certification of an

immediate appeal. General Acquisition, Inc. v. GenCorp, Inc., 23 F.3d 1022, 1026 (6th

Cir. 1994).




                                          180
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 181 of 183. PageID #: 15783




       However, a district court may also certify an order for interlocutory appeal

under 28 U.S.C. § 1292(b). Swint v. Chambers Cnty. Comm’n, 514 U.S. 35, 36 (1995).

Certification under Section 1292(b) is granted sparingly and only in exceptional

cases. Kraus v. Board of Cnty. Rd. Comm’rs for Kent Cnty., 364 F.2d 919, 922 (6th

Cir. 1966). Certification is appropriate where (1) the order involves a controlling

question of law; (2) a substantial ground for difference of opinion exists regarding the

correctness of the decision; and (3) an immediate appeal may materially advance the

ultimate termination of the litigation. West Tenn. Chapter of Associated Builders &

Contractors, Inc. v. City of Memphis (In re City of Memphis), 293 F.3d 345, 350 (6th

Cir. 2002) (citing 28 U.S.C. § 1292(b) and Cardwell v. Chesapeake & Ohio Ry. Co.,

504 F.2d 444, 446 (6th Cir. 1974)).

       With respect to Section 1292(b), the Court finds that the issue of sanctions

under Rule 37(e) in this case presents an exceptional matter that warrants immediate

appeal because of the procedural history of the case, including two previous

interlocutory appeals, the closeness of the legal questions (on the underlying merits,

which a sanction under Rule 37(e) might affect), and the matters of public concern

that they implicate.      Further, the Court finds that an immediate appeal will

materially advance the ultimate resolution of this litigation, either by bringing it to

finality (or close to it) if the Sixth Circuit affirms or by allowing one trial on all issues

following remand.

       As for the controlling questions of law that the Rule 37(e) issues present, there

are many. The Court sees them falling into three broad categories. First, since



                                            181
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 182 of 183. PageID #: 15784




enactment of the amendment to Rule 37(e) in 2015, there are few appellate cases

explaining the correct legal standards attending application of the amended Rule.

Indeed, some courts continue to apply case law that predates the amendment,

potentially creating a trap for unwary courts and litigants when evaluating the

availability of sanctions for spoliation of electronically stored information. And few

cases apply Rule 37(e)(2) at all. Second, the parties have substantial differences of

opinion regarding whether Ms. Buddenberg had a duty to preserve electronically

stored information, the availability the doctrine of unclean hands as a defense to

sanctions, and what sanctions might be available based on the interaction of Rule

37(e)(1) and (2). Third, the Court and the parties will benefit from the Sixth Circuit

identifying the correct legal standards that govern a finding of intent to deprive under

Rule 37(e)(2), in particular, the allocation of responsibility between judge and jury

under Rule 104(b). Indeed, little case law explains how, if at all, the Court’s finding

of intent to deprive operates or applies at trial when it comes to conditional relevance

under Rule 104(b).    There is substantial ground for disagreement on these issues.

Indeed, the parties disagree on many, if not all, of them. Accordingly, the Court

certifies its Rule 37 Order for interlocutory review under Section 1292(b).

                                   CONCLUSION

      For the foregoing reasons, the Court GRANTS Mr. Budzik’s motion for

summary judgment (ECF No. 216); GRANTS the District Defendants’ motion for

summary judgment (ECF No. 217); GRANTS IN PART AND DENIES IN PART

Plaintiff’s motion for partial summary judgment (ECF No. 218; ECF No. 221; ECF



                                          182
 Case: 1:18-cv-00522-JPC Doc #: 297 Filed: 01/16/24 183 of 183. PageID #: 15785




No. 221-1); GRANTS Defendants’ joint motion for sanctions and will schedule

further proceedings by separate order at a later date to determine the appropriate

sanction (ECF No. 256); GRANTS the District Defendants’ motion to strike (ECF

No. 270); DENIES Plaintiff’s motion for discovery of materials and information

within the crime-fraud exception to attorney-client privilege (ECF No. 283); and

DENIES AS MOOT Defendants’ joint motion to strike (ECF No. 292). Further,

pursuant to 28 U.S.C. § 1292(b), the Court CERTIFIES its Order under Rule 37 for

interlocutory review.

      SO ORDERED.

Dated: January 16, 2024




                                     J. Philip Calabrese
                                     United States District Judge
                                     Northern District of Ohio




                                       183
